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EXHIBIT “B”
                                                                                                                             Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 2 of 28



Claimant Source   Claimant Name                Affected Property        City           State   Zip     Omni(s)        Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia     Markings # from      Product                                                                                                                                                      Counsel                              Counsel Address                     Counsel Phone    Counsel Email                                    NOTES
                                                                                                                                                                                                                       2017 Cost Per SF   2017 Remediation                                                                                     Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                           Prior Settlement
Identifier                                     Address                                                                 Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                         Taishan Product ID   Bucket(s)                                 Ownership Status of Named    Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                      [B = A x $109.85]       Damages                                                                                       May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                                Payment(s)-
                                                                                                                           Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                       Catalog                                                        Claimant Per Brown Greer                Greer                        Greer
                                                                                                                                                                                                                                              [SF x B]                                                                                                Greer                                                                                                              Greer                                                                                                                                     FORTHCOMING
                                                                                                                                                                                     Footage             [A]
   1    Omni XX   A&J Home Improvement         5760 Louis Prima Dr.     New Orleans LA         70128   [XX]             9/4/2015     Yes         1,619      Inspection Showing         Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Thornhill Law Firm, Fayard &         Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                  Co., Inc. (Kelly Tran)       East                                                                                                        Floor Plan and Under                                                                                                                                                                                                                                                                                                             Honeycutt APLC and N. Frank Elliot   Thornhill Law Firm
                                                                                                                                                                                                         0.86               94.47           $152,946.93                                                                                    LEWIS MICHAEL C              Previous Owner                City or County Tax Records           3/14/2007                  12/12/2015
                                                                                                                                                            Air Square Footage                                                                                                                                                                                                                                                                                                              III, LLC                             1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Slidell, LA 70458
   2    Omni XX   Adair, Natalie               11122 Ancient Futures    Tampa          FL      33647   [XX]             9/4/2015     Yes         1,924        Property Tax             Yes                                                                   C&K                      Photo               34                   B                                                                                                                                                            Roberts & Durkee PA Milstein         C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           MADANI YUSUF &
                                               Drive                                                                                                       Assessor's Document                           0.83               91.18           $175,430.32                                                                                                                 Previous Owner                Tax Records + Title/Deed              9/17/2008                  11/1/2013            Adelman LLP                          2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                           HUSNEIN KHADEEJAH
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   300
   3    Omni XX   Adams, Francis & Susan       110 Duthu Road           Waveland       MS      39576   [XX], [XXXI]     9/4/2015     Yes         1,222            Other                Yes                                                                   Taihe                    Photo               21                   I                                                                                                                                                            Reeves & Mestayer                    Jim Reeves, Esq.                    (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                         0.84               92.27           $112,753.94                                                                                    ADAMS FRANCIS W ETUX         Current Owner                 City or County Tax Records              2006                  Current Owner                                                160 Main St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Biloxi, MS 39530
   4    Omni XX   Advantage Acquisitions,      5910 Memphis St.         New Orleans LA         70124   [XX]             9/4/2015     Yes           0              N/A                  N/A                                                                   Crescent City            Affidavit of Andrew N/A                  D                                                                                                                                                            Lemmon Law Firm                      Andrew Lemmon, Esq.                 985-783-6789     andrew@lemmonlawfirm.c                           See Diane Craik on 10/79
                  LLC                                                                                                                                                                                                                                                                 Lemmon                                               AKERS MICHAEL J                                                                                                                                                                       PO Box 904 (mailing address)                         om
                                                                                                                                                                                                         0.86               94.47              $0.00                                                                                                                    Previous Owner                City or County Tax Records           12/14/2006                  7/21/2011
                                                                                                                                                                                                                                                                                                                                           AKERS LAURA C                                                                                                                                                                         15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Hahnville, LA 70057
   5    Omni XX   Albert, Serge                850 Gulf Lane            Lehigh Acres FL        33974   [XX]             9/4/2015     Yes         2,191      Appraisal Showing          Yes                                                                   Taishan                  Affidavit of Lori   6, 11                J                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                           ALBERT SERGE S +
                                                                                                                                                             Floor Plan and                              0.80               87.88           $192,545.08                               Streit                                                                     Current Owner                        Tax Records + Title/Deed             7/26/2006                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                           CLEMENT GHISLAINE H/W
                                                                                                                                                             Square Footage                                                                                                                                                                                                                                                                                                                                                      650
   6    Omni XX   Albornoz, Alfonso            8039 Bellagio Lane       Boynton        FL      33472   [XX]             9/4/2015     Yes         1,514      Appraisal Showing          Yes                                                                   Chinese Manufacturer 2   Affidavit of Lori   37                   C                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                        Beach                                                                                Floor Plan and                              0.82               90.08           $136,381.12                               Streit                                               MANSFIELD REINNA             Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   2100 Southbridge Parkway, Suite
                                                                                                                                                             Square Footage                                                                                                                                                                                                                                                                                                                                                      650
   7    Omni XX   Allen, Lela & Melinda        5218 Lindsey Avenue      Pass Christian MS      39571   [XX], [XXXI]     9/4/2015     Yes         2,558            Other                Yes                                                                   Taihe                    Photo               13, 17               I                                                                                                                                                            Reeves & Mestayer                    Jim Reeves, Esq.                    (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                                                                                                                                                           ALLEN LELA ANN &
                                                                                                                                                                                                         0.84               92.27           $236,026.66                                                                                                                 Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                160 Main St
                                                                                                                                                                                                                                                                                                                                           MELINDA G
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Biloxi, MS 39530
   8    Omni XX   Allende, Elsa                3002 White Cedar Circle Kissimmee       FL      34741   [XX]             9/4/2015     No          1,894     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                           Assessor's Document                           0.83               91.18           $172,694.92                                                                                    ALLENDE ELSA                 Current Owner                 Tax Records + Title/Deed             8/24/2004                Current Owner                                                12800 University Drive, Suite 600                    om
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   Fort Myers, FL 33907
   9    Omni XX   Ambroise, Donald &           17869 SW 54th Street     Miramar        FL      33029   [XX]             9/4/2015     Yes         3,652      Appraisal Showing          Yes                                                                   C&K                      Photo               34                   B                                                                                                                                                            VM Diaz and Partners                 Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                                                                                                                                                                                                                                           AMBROISE,DONALD &
                  Arliomey                                                                                                                                    Floor Plan and                             0.81               88.98           $324,954.96                                                                                                                 Current Owner                 Tax Records + Title/Deed             2/20/2007                Current Owner                                                1900 Washington Ave., Suite 402
                                                                                                                                                                                                                                                                                                                                           ARLIOMEY
                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                                                     Miami Beach, FL 33139
  10    Omni XX   American IRA, LLC o/b/o 3504 East 13th Street         Lehigh Acres FL        33972   [XX]             9/4/2015     Yes         1,452         Property Tax            Yes                                                                   ProWall                  Photo               43                   G                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                  Lawrence Brewer Roth IRA                                                                                                                 Assessor's Document                           0.80               87.88           $127,601.76                                                                                    BOONE DAVID W                Previous Owner                Tax Records + Title/Deed             9/28/2012                   6/28/2013                                                 2100 Southbridge Parkway, Suite
                  Trust                                                                                                                                    with Square Footage                                                                                                                                                                                                                                                                                                                                                   650
  11    Omni XX   Anderson, Jason          2815 Newbern Way             Clearwater     FL      33761   [XX]             9/4/2015     Yes         1,740     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                           PROPERTY KING SERVICES
                                                                                                                                                           Assessor's Document                           0.82               90.08           $156,739.20                                                                                                           Previous Owner                      Tax Records + Title/Deed             11/17/2004                 12/28/2015                                                 12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                           LLC
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   Fort Myers, FL 33907
  12    Omni XX   Araujo, Marcos and           11221 N.W. 84th Street   Doral          FL      33178   [XX]             9/4/2015     Yes         2,348             Other               Yes                                                                   Taishan                  Photo               12                   L                                                                                                                                                            Baron & Budd, P.C.                   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                  Fernanda                                                                                                                                                                                                                                                                                                                 MARCOS ARAUJO &W                                                                                                                                                                      Baron & Budd
                                                                                                                                                                                                         0.81               88.98           $208,925.04                                                                                                                 Current Owner                 Tax Records + Title/Deed             12/14/2006               Current Owner
                                                                                                                                                                                                                                                                                                                                           FERNANDA G                                                                                                                                                                            3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Dallas, TX 75219
  13    Omni XX   Archer, Kent & Lindsey       10424 Gallant Road       Gallant        AL      35972   [XX],            9/4/2015     Yes         1,692        Property Tax             Yes                                                                   Taihe                    Photo               18                   I                                                                                                                                                            Collins & Horsley                    W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                       [XXVIII]                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                                   Collins Law Firm                                     .com
                                                                                                                                                                                                         0.82               90.08           $152,415.36                                                                                    ARCHER, KENT                 Current Owner                 City or County Tax Records           2/25/2005                Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Hoover, AL 35226
  14    Omni XX   Aria Properties, LLC         516 Hendricks Isle, Unit Ft. Lauderdale FL      33301   [XX]             9/4/2015     Yes         3,246        Property Tax             Yes                                                                   Taishan                  Photo               12                   L                                                                                                                                                            Allison Grant, P.A. Baron & Budd,    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                               2A(1)                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                              P.C.                                 Baron & Budd
                                                                                                                                                                                                         0.81               88.98           $288,829.08                                                                                    ARIA PROPERTIES LLC          Current Owner                 Tax Records + Title/Deed             11/11/2008               Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Dallas, TX 75219
  15    Omni XX   Aria Properties, LLC         516 Hendricks Isle, Unit Ft. Lauderdale FL      33301   [XX]             9/4/2015     Yes         2,394        Property Tax             Yes                                                                   Taishan                  Photo               12                   L                                                                                                                                                            Allison Grant, P.A. Baron & Budd,    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                               5C(12)                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                              P.C.                                 Baron & Budd
                                                                                                                                                                                                         0.81               88.98           $213,018.12                                                                                    ARIA PROPERTIES LLC          Current Owner                 Tax Records + Title/Deed             11/11/2008               Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Dallas, TX 75219
  16    Omni XX   Avalon Preserve Master       11900 Avalon Preserve    Ft. Myers      FL      33908   [XX]             9/4/2015     Yes         3,094         Property Tax            Yes                                                                   Taishan                  Photo               2                    J           AVALON PRESERVE                                                                                                                                  Parker Waichman                      Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                  Association, Inc.            Boulevard                                                                                                   Assessor's Document                           0.80               87.88           $271,900.72                                                                                    MASTER ASSN c/o SENTRY Current Owner                       Tax Records + Title/Deed             1/17/2013                Current Owner                                                27300 Riverview Center Blvd
                                                                                                                                                           with Square Footage                                                                                                                                                             MANAGEMENT INC                                                                                                                                                                        Bonita Springs, FL 34134
  17    Omni XX   Avello, Daniel               19871 NW 77th Court      Miami          FL      33015   [XX]             9/4/2015     Yes         1,621         Property Tax            Yes                                                                   Taishan                  Photo               2, 9                 J                                                                                                                                                            Roberts & Durkee PA Milstein         C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                           DANIEL O AVELLO &W
                                                                                                                                                           Assessor's Document                           0.81               88.98           $144,236.58                                                                                                                 Current Owner                 Tax Records + Title/Deed             12/8/2006                Current Owner           Adelman LLP                          2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                           ISBEL BASULTO
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   300
  18    Omni XX   Bailey, Gary                 2529 Deerfield Lake      Cape Coral     FL      33909   [XX]             9/4/2015     Yes         1,838         Property Tax            Yes                                                                   Taihe                    Photo               13                   I                                                                                                                                                            Roberts & Durkee PA Milstein         C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                               Court                                                                                                       Assessor's Document                           0.80               87.88           $161,523.44                                                                                    SCHWATKA WALTER              Previous Owner                Tax Records + Title/Deed             6/20/2008                   3/4/2014             Adelman LLP                          2665 South Bayshore Drive Suite
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   300
  19    Omni XX   Baker, Christopher S.        34131 Pennacook Drive Dade City         FL      33523   [XX]             9/4/2015     Yes         3,766     Property Tax        Yes                                                                           Taihe                    Photo               21                   I                                                                                                                                                            Michael A. Serrano, Esquire          Michael Serrano, Esq.               (813) 929-4231   mike@mikeserranolaw.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                   25275 Wesley Chapel Boulevard
                                                                                                                                                           with Square Footage                           0.83               91.18           $343,383.88                                                                                    BAKER CHRISTOPHER S          Current Owner                 Tax Records + Title/Deed              4/4/2002                Current Owner                                                Lutz, Florida 33559



  20    Omni XX   Barnett, Bessie              11419 Morrison Road      New Orleans LA         70128   [XX]             9/4/2015     Yes         1,680          Property Tax           Yes                                                                   Taihe                    Photo               20                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                           Assessor's Document                           0.86               94.47           $158,709.60                                                                                    BARNETT BESSIE M             Current Owner                 City or County Tax Records           1/29/1988                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   650
  21    Omni XX   Bartholomae, James and       2104 Emilie Oak Drive    Meraux         LA      70075   [XX]             9/4/2015     Yes         4,651      Inspection Showing         Yes                                                                   Taihe                    Photo               18                   I                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                           BARTHOLOMAE, JAMES
                  Cynthia                                                                                                                                  Floor Plan and Under                          0.86               94.47           $439,379.97                                                                                                                 Current Owner                 City or County Tax Records            8/3/2011                Current Owner                                                820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                           FREDERICK
                                                                                                                                                            Air Square Footage                                                                                                                                                                                                                                                                                                                                                   New Orleans, LA 70113
  22    Omni XX   Bayne, Randy                 507 Thomas Ave.          Boaz           AL      35957   [XX],            9/4/2015     Yes         1,908          Property Tax           Yes                                                                   Taihe                    Photo               13                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                       [XXVIII]                                            Assessor's Document                           0.82               90.08           $171,872.64                                                                                    BAYNE, RANDY & KAREN         Current Owner                 City or County Tax Records           11/6/2007                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   650
  23    Omni XX   Bearden, Thomas              951 Junkins Road         Guntersville   AL      35976   [XX],            9/4/2015     Yes         1,545      Appraisal Showing          Yes                                                                   Taihe                    Photo               20                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                       [XXVIII]                                                Floor Plan and                            0.82               90.08           $139,173.60                                                                                    BEARDEN, THOMAS EARL Current Owner                         City or County Tax Records           12/14/2009               Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  24    Omni XX   Belitz, David                3522 Baudin Street       New Orleans LA         70119   [XX]             9/4/2015     Yes         1,492      Appraisal Showing          Yes                                                                   Taihe                    Photo               21                   I                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                                                               Floor Plan and                                                                                                                                                                                                                                                                                                                                                    2800 Energy Centre
                                                                                                                                                                                                         0.86               94.47           $140,949.24                                                                                    BELITZ DAVID P               Current Owner                 City or County Tax Records           12/30/2002               Current Owner
                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 New Orleans, LA 70163
  25    Omni XX   Bentz, Kelly                 308 Stalling Drive       McDonough      GA      30252   [XX], [XXX]      9/4/2015     Yes         1,827      Appraisal Showing          Yes                                                                   Venture Supply           Photo               39                   K                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                           BENTZ KELLY M & SHERRI
                                                                                                                                                             Floor Plan and                              0.89               97.77           $178,625.79                                                                                                           Current Owner                       City or County Tax Records           7/31/2012                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                           L
                                                                                                                                                             Square Footage                                                                                                                                                                                                                                                                                                                                                      650
  26    Omni XX   Bertucci, Elizabeth          5927 Patton Street       New Orleans LA         70115   [XX]             9/4/2015     Yes         1,882      Appraisal Showing          Yes                                                                   Taihe                    Photo               20                   I                                                                                                                                                            Baron & Budd, P.C.                   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                             Floor Plan and                                                                                                                                                                                                                                                                                                                                                      Baron & Budd
                                                                                                                                                                                                         0.86               94.47           $177,792.54                                                                                    PATTON STREET LLC            Previous Owner                City or County Tax Records           1/30/2009                  10/22/2013
                                                                                                                                                             Square Footage                                                                                                                                                                                                                                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Dallas, TX 75219
  27    Omni XX   Bishop, Robert               529 57th Street S        Birmingham     AL      35212   [XX],            9/4/2015     Yes         2,232        Property Tax             Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Collins & Horsley                    W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                       [XXVIII]                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                                   Collins Law Firm                                     .com
                                                                                                                                                                                                         0.84               92.27           $205,946.64                                                                                    BISHOP ROBERT L              Current Owner                 City or County Tax Records           9/30/1996                Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Hoover, AL 35226
  28    Omni XX   Blackenship, James           275 Sagamore Cove        Sugar Hill     GA      30518   [XX], [XXX]      9/4/2015     Yes         3,776      Appraisal Showing          Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                              Floor Plan and                             0.82               90.08           $340,142.08                                                                                    AMH ROMAN TWO GA LLC Previous Owner                        City or County Tax Records           12/28/2001                  12/2/2014                                                 2100 Southbridge Parkway, Suite
                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  29    Omni XX   Blackson, Trent              3106 South Canal Drive Palm Harbor FL           34684   [XX]             9/4/2015     Yes         1,612     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                           Assessor's Document                           0.83               91.18           $146,982.16                                                                                    BLACKSON, TRENT              Current Owner                 Tax Records + Title/Deed             5/24/2002                Current Owner                                                12800 University Drive, Suite 600                    om
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   Fort Myers, FL 33907
  30    Omni XX   Blue Water Coach Homes   202 Shadroe Cove             Cape Coral     FL      33991   [XX]             9/4/2015     Yes         2,381             Other               Yes                                                                   Taishan                  Photo               2, 7                 J                                                                                                                                                            Allison Grant, P.A. Baron & Budd,    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                                                                                                                                                                                                           ZAREMBA YVONNE E TR
                  Condominium Association, Circle, Unit 403                                                                                                                                                                                                                                                                                                                                                                                                                                 P.C.                                 Baron & Budd
                                                                                                                                                                                                         0.80               87.88           $209,242.28                                                                                    FOR YVONNE E ZAREMBA Previous Owner                        Tax Records + Title/Deed              1/5/2005                   4/27/2010
                  Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           TRUST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Dallas, TX 75219
  31    Omni XX   Bolling, Jeremy              968 Highway 29           Wiggins        MS      39577   [XX], [XXXI]     9/4/2015     Yes         1,797            Other                Yes                                                                   Taishan                  Photo               12                   L                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                                                                                                                                                                                                                                           LANDRY, HENRY B ETUX                                                                                                                                                                  2800 Energy Centre
                                                                                                                                                                                                         0.84               92.27           $165,809.19                                                                                                                 Previous Owner                Tax Records + Title/Deed             12/12/2006                  2/10/2014
                                                                                                                                                                                                                                                                                                                                           JENNIFER                                                                                                                                                                              1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 New Orleans, LA 70163
  32    Omni XX   Bourlet, Joseph              4501 Fairfield Street    Metairie       LA      70006   [XX]             9/4/2015     Yes         1,761      Appraisal Showing          Yes                                                                   Taihe                    Photo               21                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                              Floor Plan and                             0.86               94.47           $166,361.67                                                                                    BOURLET,JOSEPH A             Current Owner                 Tax Records + Title/Deed             7/27/2006                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                             Square Footage                                                                                                                                                                                                                                                                                                                                                      650
  33    Omni XX   Brasher, Robert              43 Pleasant Circle       Odenville      AL      35120   [XX],            9/4/2015     Yes         1,819         Property Tax            Yes                                                                   Venture Supply           Photo               39                   K                                                                                                                                                            Collins & Horsley                    W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                       [XXVIII]                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                                   Collins Law Firm                                     .com
                                                                                                                                                                                                         0.84               92.27           $167,839.13                                                                                    BRASHER APRIL                Current Owner                 City or County Tax Records           5/28/2014                Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Hoover, AL 35226
  34    Omni XX   Brasseur, Dino & Florinda    429 Triton Street        Crestview      FL      32536   [XX]             9/4/2015     Yes         2,240     Builder's Floor Plan        Yes                                                                   Taishan/ Taihe           Photo               9, 19                I, J                                                                                                                                                         Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                           BRASSEUR DINO A &                                                                                                                                                                     12800 University Drive, Suite 600                    om
                                                                                                                                                                                                         0.85               93.37           $209,148.80                                                                                                                 Current Owner                 City or County Tax Records           11/15/2006               Current Owner
                                                                                                                                                                                                                                                                                                                                           FLORINDA I                                                                                                                                                                            Fort Myers, FL 33907

  35    Omni XX   Bridges, Joe and Stephanie   107 Finland Place        New Orleans LA         70131   [XX]             9/4/2015     Yes         4,176        Property Tax             No                                                                    Taihe                    Photo               17                   I                                                                                                                                                            Steckler, LLP                        Bruce Steckler, Esq.                (972) 387-4040   Bruce@stecklerlaw.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                   12720 Hillcrest Road, Suite 1045
                                                                                                                                                                                                         0.86               94.47           $394,506.72                                                                                    BRIDGES JOE JR               Current Owner                 City or County Tax Records           3/11/2002                Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   Dallas, TX 75230

  36    Omni XX   Brooke, Stephen and Diane    29 Fairway Road          Rotunda West FL        33947   [XX]             9/4/2015     Yes         2,432     Builder's Floor Plan        Yes                                                                   Taishan                  Photo               8                    J                                                                                                                                                            Allison Grant, P.A.                  Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                         0.80               87.88           $213,724.16                                                                                    HAMER PHYLLIS J              Previous Owner                Tax Records + Title/Deed             7/11/2005                  10/20/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Boca Raton, Florida 33432

  37    Omni XX   Broussard, Maria             125-7 West Harrison      New Orleans LA         70124   [XX]             9/4/2015     Yes         1,896        Property Tax             Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                           BROUSSARD MARIA L
                                               Avenue                                                                                                      Assessor's Document                           0.86               94.47           $179,115.12                                                                                                                 Current Owner                 City or County Tax Records           10/8/1984                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                           LUCIA LINETTE C
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   650
  38    Omni XX   Brown, Faith                 1935 SE 22nd Drive       Homestead      FL      33035   [XX]             9/4/2015     Yes         2,756        Property Tax             Yes                                                                   Taishan                  Photo               2                    J                                                                                                                                                            VM Diaz and Partners                 Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                                                                                                                                           Assessor's Document                           0.81               88.98           $245,228.88                                                                                    FAITH BROWN                  Current Owner                 Tax Records + Title/Deed              9/1/2006                Current Owner                                                1900 Washington Ave., Suite 402
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                   Miami Beach, FL 33139
                                                                                                                           Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 3 of 28



Claimant Source   Claimant Name              Affected Property        City          State   Zip     Omni(s)         Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia     Markings # from      Product                                                                                                                                                      Counsel                                Counsel Address                     Counsel Phone    Counsel Email                                    NOTES
                                                                                                                                                                                                                     2017 Cost Per SF   2017 Remediation                                                                                     Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                             Prior Settlement
Identifier                                   Address                                                                 Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                         Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                    [B = A x $109.85]       Damages                                                                                       May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                                  Payment(s)-
                                                                                                                         Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                       Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                            [SF x B]                                                                                                Greer                                                                                                              Greer                                                                                                                                       FORTHCOMING
                                                                                                                                                                                   Footage             [A]
  39    Omni XX   Brown, John and Tearny D. 4942 Goad Drive           New Orleans LA        70127   [XX]              9/4/2015     Yes         1,430         Property Tax            Yes                                                                   Taihe                    Photo               17, 20               I                                                                                                                                                            Herman, Herman & Katz                  Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                  Brown                                                                                                                                  Assessor's Document                                                                                                                                                                                                                                                                                                                                                     820 O'Keefe Avenue
                                                                                                                                                                                                       0.86               94.47           $135,092.10                                                                                    REED ALFRED HENRY            Previous Owner                City or County Tax Records           4/20/2005                   9/26/2016
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113

  40    Omni XX   Brown, Lukas               174 Grandview Drive      Altonna       AL      35952   [XX],             9/4/2015     Yes         1,659        Property Tax             Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                    [XXVIII]                                             Assessor's Document                           0.82               90.08           $149,442.72                                                                                    KING, CIRA N                 Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  41    Omni XX   Brown, Roseann L.          2815 NW 15th Street      Cape Coral    FL      33993   [XX]              9/4/2015     Yes         2,693        Property Tax             Yes                                                                   Taishan                  Photo               2, 9                 J                                                                                                                                                            Parker Waichman                        Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         BROWN ROBERT P +
                                                                                                                                                         Assessor's Document                           0.80               87.88           $236,660.84                                                                                                                 Current Owner                 Tax Records + Title/Deed             9/18/2003                Current Owner                                                  27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                         ROSEANN
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Bonita Springs, FL 34134
  42    Omni XX   Bruce, Patricia            603 Darden Road          Brent         AL      35034   [XX],             9/4/2015     Yes         1,600        Property Tax             Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Collins & Horsley                      W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                    [XXVIII]                                             Assessor's Document                                                                                                                                                             BRUCE BENNY & PATRICIA                                                                                                                                                                  Collins Law Firm                                     .com
                                                                                                                                                                                                       0.84               92.27           $147,632.00                                                                                                           Current Owner                       City or County Tax Records           8/27/2007                Current Owner
                                                                                                                                                         with Square Footage                                                                                                                                                             (LE) PATRICIA BRUCE                                                                                                                                                                     1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Hoover, AL 35226
  43    Omni XX   Burch, Joseph and Paula    4670 County Road 200     Danville      AL      35619   [XX],             9/4/2015     Yes         3,049     Inspection Showing          Yes                                                                   Taihe                    Photo               19                   I                                                                                                                                                            Pittman, Dutton & Hellums              Booth Samuels, Esq.                 (205) 322-8880   BoothS@pittmandutton.co
                                                                                                    [XXVIII]                                             Floor Plan and Under                          0.84               92.27           $281,331.23                                                                                    BISHOP, JEFF & CANDAS D Unable to Confirm Ownership        City or County Tax Records            Unknown                    Unknown                                                     2001 Park Pl #1100                                   m
                                                                                                                                                         Air Square Footage                                                                                                                                                                                                                                                                                                                                                      Birmingham, AL 35203
  44    Omni XX   C&S Properties             3412-14 Cleveland        New Orleans LA        70119   [XX]              9/4/2015     Yes         2,448     Property Tax         Yes                                                                          Taihe                    Photo               18                   I                                                                                                                                                            Lemmon Law Firm                        Andrew Lemmon, Esq.                 985-783-6789     andrew@lemmonlawfirm.c
                                             Avenue                                                                                                      Assessor's Document                                                                                                                                                             EHLINGER STEPHEN F                                                                                                                                                                      PO Box 904 (mailing address)                         om
                                                                                                                                                                                                       0.86               94.47           $231,262.56                                                                                                                 Current Owner                 City or County Tax Records            1/5/2007                Current Owner
                                                                                                                                                         with Square Footage                                                                                                                                                             ET AL                                                                                                                                                                                   15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Hahnville, LA 70057
  45    Omni XX   Calhoun, Gina              3070 Bayshore Drive      Spring Hill   FL      34608   [XX]              9/4/2015     Yes         2,096      Appraisal Showing          Yes                                                                   Taihe                    Photo               18                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                         VO THUOC TTEE
                                                                                                                                                            Floor Plan and                             0.83               91.18           $191,113.28                                                                                                                 Previous Owner                Title/Deed                            3/28/2007                  2/18/2016                                                   2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                         VO HAI TTEE
                                                                                                                                                           Square Footage                                                                                                                                                                                                                                                                                                                                                        650
  46    Omni XX   Callahan, Donald           2545 Deerfield Lake Ct. Cape Coral     FL      33909   [XX]              9/4/2015     Yes         1,630         Property Tax            Yes                                                                   Taihe                    Photo               18                   I                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                         CALLAHAN DONALD G +
                                                                                                                                                         Assessor's Document                           0.80               87.88           $143,244.40                                                                                                                 Current Owner                 Tax Records + Title/Deed             4/23/2008                Current Owner           Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                         JOANNA E
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  47    Omni XX   Cameron, Leslie and        280 Sagamore Cove        Sugar Hill    GA      30518   [XX], [XXX]       9/4/2015     Yes         4,114         Property Tax            Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                  Cameron, Andy                                                                                                                          Assessor's Document                           0.82               90.08           $370,589.12                                                                                    FIELDS ANDREW                Previous Owner                City or County Tax Records           11/20/2001                  8/1/2016                                                    2100 Southbridge Parkway, Suite
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  48    Omni XX   Castell, Maurice           1049 W. 36th Street      Norfolk       VA      23502   [XX]              9/4/2015     Yes         1,958            Other                Yes                                                                   Venture Supply           Delivery Invoice/   39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                       0.94              103.26           $202,183.08                               Photo                                                CASTELL, MAURICE D           Current Owner                 City or County Tax Records           5/26/2006                Current Owner                                                  580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  49    Omni XX   Castoe, George             116 Castoe Lane          Buras         LA      70041   [XX]              9/4/2015     Yes         2,347      Appraisal Showing          Yes                                                                   Taihe                    Photo               15                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                            Floor Plan and                             0.86               94.47           $221,721.09                                                                                    CASTOE, GEORGE D             Current Owner                 City or County Tax Records           5/13/1998                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                            Square Footage                                                                                                                                                                                                                                                                                                                                                       650
  50    Omni XX   Catalano, Thomas and Faye 2643 SW Harem Circle      Port St. Lucie FL     34953   [XX]              9/4/2015     Yes         2,601     Property Tax        Yes                                                                           Taishan                  Photo               6                    J                                                                                                                                                            Mrachek, Fitzgerald, Rose, Konopka,    Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                                                                                                                                                                                                                                                                                                                         TREASURE COAST
                                                                                                                                                         Assessor's Document                           0.82               90.08           $234,298.08                                                                                                         Previous Owner                        Tax Records + Title/Deed              12/8/2003                  9/27/2013            Thomas & Weiss, P.A.                   505 S. Flagler Drive, Suite 600
                                                                                                                                                                                                                                                                                                                                         AFFORDABLE HOMES LLC
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     West Palm Beach, FL 33401
  51    Omni XX   Cecchi, Clifford           5818 Deer Crossing       Sugar Hill    GA      30518   [XX], [XXX]       9/4/2015     Yes         3,239             Other               Yes                                                                   Chinese Manufacturer 2   Photo               37                   C           MACKENZIE DONALD                                                                                                                                 Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                             Drive                                                                                                                                                     0.82               90.08           $291,769.12                                                                                    STEPHEN & MACKENZIE          Previous Owner                City or County Tax Records           12/17/2001                  6/3/2014                                                    2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                         DIANE ALICE                                                                                                                                                                             650
  52    Omni XX   CG Stony Point             9301 Creek's Crossing    Richmond      VA      23235   [XX]              9/4/2015     Yes         2,140         Property Tax            Yes                                                                   Venture Supply           Photo               38                   K           MORCK ANNE N TRUSTEE                                                                                                                             Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                  Townhomes, LLC             Blvd.                                                                                                       Assessor's Document                           0.96              105.46           $225,684.40                                                                                    ANNE NELSON H MORCK Previous Owner                         City or County Tax Records              2006                     10/4/2010                                                   580 East Main Street, Suite 310
                                                                                                                                                         with Square Footage                                                                                                                                                             TRUST AG                                                                                                                                                                                Norfolk, VA 23510
  53    Omni XX   CG Stony Point             9303 Creek's Crossing    Richmond      VA      23235   [XX]              9/4/2015     Yes         1,986         Property Tax            Yes                                                                   Venture Supply           Photo               38                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                         CHANDLER WILLIAM L JR
                  Townhomes, LLC             Blvd.                                                                                                       Assessor's Document                           0.96              105.46           $209,443.56                                                                                                          Previous Owner                       City or County Tax Records              2006                    10/29/2007                                                   580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                         & SUSAN K
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Norfolk, VA 23510
  54    Omni XX   CG Stony Point             9305 Creek's Crossing    Richmond      VA      23235   [XX]              9/4/2015     Yes         1,986         Property Tax            Yes                                                                   Venture Supply           Photo               38                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                  Townhomes, LLC             Blvd.                                                                                                       Assessor's Document                           0.96              105.46           $209,443.56                                                                                    LIFSON OLGA TRUSTEE          Previous Owner                City or County Tax Records              2006                    12/30/2009                                                   580 East Main Street, Suite 310
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Norfolk, VA 23510
  55    Omni XX   CG Stony Point             9307 Creek's Crossing    Richmond      VA      23235   [XX]              9/4/2015     Yes         2,160         Property Tax            Yes                                                                   Venture Supply           Photo               38                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                         MORET PHYLLISS M
                  Townhomes, LLC             Blvd.                                                                                                       Assessor's Document                           0.96              105.46           $227,793.60                                                                                                                 Previous Owner                City or County Tax Records              2006                     2/2/2010                                                    580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                         TRUSTEE
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Norfolk, VA 23510
  56    Omni XX   CG Stony Point             9309 Creek's Crossing    Richmond      VA      23235   [XX]              9/4/2015     Yes         2,160         Property Tax            Yes                                                                   Venture Supply           Photo               38                   K           DUNCAN THOMAS                                                                                                                                    Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                  Townhomes, LLC             Blvd.                                                                                                       Assessor's Document                           0.96              105.46           $227,793.60                                                                                    PATRICK AND MARTHA P         Previous Owner                City or County Tax Records              2006                     12/1/2010                                                   580 East Main Street, Suite 310
                                                                                                                                                         with Square Footage                                                                                                                                                             TRUSTEES                                                                                                                                                                                Norfolk, VA 23510
  57    Omni XX   CG Stony Point             9311 Creek's Crossing    Richmond      VA      23235   [XX]              9/4/2015     Yes         1,986         Property Tax            Yes                                                                   Venture Supply           Photo               38                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                         WILKINSON STEPHEN
                  Townhomes, LLC             Blvd.                                                                                                       Assessor's Document                           0.96              105.46           $209,443.56                                                                                                                 Previous Owner                City or County Tax Records              2006                    12/30/2008                                                   580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                         HENRY
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Norfolk, VA 23510
  58    Omni XX   CG Stony Point             9313 Creek's Crossing    Richmond      VA      23235   [XX]              9/4/2015     Yes         2,002         Property Tax            Yes                                                                   Venture Supply           Photo               39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                         HESTER JAMES JOSEPH
                  Townhomes, LLC             Blvd.                                                                                                       Assessor's Document                           0.96              105.46           $211,130.92                                                                                                                 Previous Owner                City or County Tax Records              2006                     4/28/2010                                                   580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                         AND ANN E
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Norfolk, VA 23510
  59    Omni XX   CG Stony Point             9315 Creek's Crossing    Richmond      VA      23235   [XX]              9/4/2015     Yes         2,140         Property Tax            Yes                                                                   Venture Supply           Photo               39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                  Townhomes, LLC             Blvd.                                                                                                       Assessor's Document                           0.96              105.46           $225,684.40                                                                                    CARTER LAURIE C              Previous Owner                City or County Tax Records              2006                     12/7/2006                                                   580 East Main Street, Suite 310
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Norfolk, VA 23510
  60    Omni XX   Chambers, Camille          10306 Stone Moss         Tamps         FL      33647   [XX]              9/4/2015     Yes         1,278     Property Tax                Yes                                                                   Taihe                    Photo               13                   I                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                         BAY TO GULF HOLDINGS
                                             Avenue                                                                                                      Assessor's Document                           0.83               91.18           $116,528.04                                                                                                                 Previous Owner                Tax Records + Title/Deed              4/2/2008                   1/31/2017                                                   12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                         LLC
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  61    Omni XX   Chanderdat, Jairaj &       3981 SW Jarmer Road      Port St. Lucie FL     34953   [XX]              9/4/2015     Yes         2,425     Property Tax        Yes                                                                           Taishan                  Photo               6                    J                                                                                                                                                            Krupnick Cambell                       Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                  Taijranee                                                                                                                              Assessor's Document                           0.82               90.08           $218,444.00                                                                                    JAIRAJ CHANDERDAT            Current Owner                 Tax Records + Title/Deed             8/16/2013                Current Owner                                                  12 SE 7th St #801
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Lauderdale, FL 33301-3434
  62    Omni XX   Cheadle, David G. and      2602 S.W. 41st Street    Cape Coral    FL      33914   [XX]              9/4/2015     Yes         2,210         Property Tax            Yes                                                                   Taishan                  Photo               7                    J                                                                                                                                                            Allison Grant, P.A.                    Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                  Jeanne                                                                                                                                 Assessor's Document                                                                                                                                                             CHEADLE DAVID G +                                                                                                                                                                       14 Southeast 4th Street
                                                                                                                                                                                                       0.80               87.88           $194,214.80                                                                                                                 Current Owner                 Tax Records + Title/Deed              1/8/1997                Current Owner
                                                                                                                                                         with Square Footage                                                                                                                                                             JEANNE R                                                                                                                                                                                Boca Raton, Florida 33432

  63    Omni XX   Chen, Han-Yu               2825 NW 21st Ave         Cape Coral    FL      33993   [XX]              9/4/2015     Yes         1,558        Property Tax             Yes                                                                   Taishan                  Photo               2, 9                 J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                         Assessor's Document                           0.80               87.88           $136,917.04                                                                                    CHEN HAN-YU                  Current Owner                 Tax Records + Title/Deed             6/13/2006                Current Owner           Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  64    Omni XX   Chrusz, Kelli              3035 Lake Manatee        Cape Coral    FL      33909   [XX]              9/4/2015     Yes         2,712        Property Tax             Yes                                                                   Taishan                  Photo               2, 9                 J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                             Court                                                                                                       Assessor's Document                           0.80               87.88           $238,330.56                                                                                    DUBOIS MICHAEL + LYNN Previous Owner                       Tax Records + Title/Deed             11/9/2006                   2/8/2013             Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  65    Omni XX   Civello, Barbara           4501 Olive               Meraux        LA      70075   [XX]              9/4/2015     Yes           0               N/A                 N/A                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com                           See Robert Flanagan on RP
                                                                                                                                                                                                                                                                                                                                         CIVELLO, BARBARA
                                                                                                                                                                                                       0.86               94.47              $0.00                                                                                                                    Current Owner                 City or County Tax Records           12/12/2014               Current Owner                                                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                                                                                                                                         MOLERO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 303
  66    Omni XX   Clark, Christopher         4933 S. Prieur St.       New Orleans LA        70125   [XX]              9/4/2015     Yes         1,785     Property Tax        Yes                                                                           Taihe                    Photo               17                   I                                                                                                                                                            Lemmon Law Firm                        Andrew Lemmon, Esq.                 985-783-6789     andrew@lemmonlawfirm.c
                                                                                                                                                         Assessor's Document                                                                                                                                                             CLARKE SHAMON C                                                                                                                                                                         PO Box 904 (mailing address)                         om
                                                                                                                                                                                                       0.86               94.47           $168,628.95                                                                                                                 Current Owner                 City or County Tax Records            6/5/2006                Current Owner
                                                                                                                                                         with Square Footage                                                                                                                                                             CLARKE KEVIN                                                                                                                                                                            15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Hahnville, LA 70057
  67    Omni XX   Cobblestone on the Lake    4351 Bellaria Way, Unit Fort Myers     FL      33916   [XX]              9/4/2015     Yes         1,228            Other                Yes                                                                   ProWall                  Photo               43, 44               G                                                                                                                                                            Allison Grant, P.A. Baron & Budd,      Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                  Master Association, Inc.   441                                                                                                                                                                                                                                                                                                                                                                                                                                          P.C.                                   Baron & Budd
                                                                                                                                                                                                       0.80               87.88           $107,916.64                                                                                    GESTION SEBRING IB LLC       Unable to Confirm Ownership   Tax Records + Title/Deed              Unknown                    Unknown
                  (Webster, Stephen W.)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Dallas, TX 75219
  68    Omni XX   Cobblestone on the Lake    4351 Bellaria Way, Unit Fort Myers     FL      33916   [XX]              9/4/2015     Yes           0              N/A                  N/A                                                                   ProWall                  Photo               43, 44               G                                                                                                                                                            Allison Grant, P.A. Baron & Budd,      Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                              See Remi Victor on RP
                  Master Association, Inc.   440                                                                                                                                                                                                                                                                                                                                                                                                                                          P.C.                                   Baron & Budd
                                                                                                                                                                                                       0.80               87.88              $0.00                                                                                       ROACH DANIEL S               Unable to Confirm Ownership   Tax Records + Title/Deed              Unknown                    Unknown
                  (Victor Remi L., Jr.)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Dallas, TX 75219
  69    Omni XX   Conway Centre LLC          1629 Port St. Lucie      Port St. Lucie FL     34986   [XX]              9/4/2015     Yes         1,000     Builder's Floor Plan        Yes                                                                   Taishan                  Photo               9                    J                                                                                                                                                            Allison Grant, P.A.                    Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                             Boulevard (Suite 1629)                                                                                                                                                                                                                                                                                                                                                                                                                                                              14 Southeast 4th Street
                                                                                                                                                                                                       0.82               90.08            $90,080.00                                                                                    CONWAY CENTRE LLC            Current Owner                 Tax Records + Title/Deed             7/31/2008                Current Owner
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Boca Raton, Florida 33432

  70    Omni XX   Cordier, Bonnie            11429 Maxine Drive       New Orleans LA        70128   [XX]              9/4/2015     Yes         3,708        Property Tax             Yes                                                                   Taihe                    Photo               21                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                         CORDIER CARL J JR
                                                                                                                                                         Assessor's Document                           0.86               94.47           $350,294.76                                                                                                                 Current Owner                 City or County Tax Records            1/5/1999                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                         CORDIER BONNIE D
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  71    Omni XX   Corvin, Patrick            1495 Milner Cresent      Birmingham    AL      35205   [XV], [XVI],      7/5/2011     Yes         2,620        Property Tax             Yes                                                                   Taihe                    Photo               20                   I                                                                                                                                                            Collins & Horsley                      W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                    [XVII], [XX],                                        Assessor's Document                                                                                                                                                             CORVIN PATRICK L &                                                                                                                                                                      Collins Law Firm                                     .com
                                                                                                                                                                                                       0.84               92.27           $241,747.40                                                                                                                 Current Owner                 City or County Tax Records           11/1/1983                Current Owner
                                                                                                    [XXI],                                               with Square Footage                                                                                                                                                             GEORGIA C                                                                                                                                                                               1461 Shades Crest Road
                                                                                                    [XXVIII]                                                                                                                                                                                                                                                                                                                                                                                                                     Hoover, AL 35226
  72    Omni XX   Costa, Stephen             19261 Stone Hedge        Tampa         FL      33647   [XX]              9/4/2015     Yes         1,587        Property Tax             Yes                                                                   Taihe                    Photo               21                   I                                                                                                                                                            Parker Waichman                        Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                         COSTA STEPHEN A &
                                             Drive                                                                                                       Assessor's Document                           0.83               91.18           $144,702.66                                                                                                                 Current Owner                 Tax Records + Title/Deed             4/14/2010                Current Owner                                                  27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                         COSTA MELISSA D
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Bonita Springs, FL 34134
  73    Omni XX   Coster, Mary I             97 Harrison Road         Bay St. Louis MS      39520   [XX], [XXXI]      9/4/2015     Yes          576      Builder's Floor Plan        Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Reeves & Mestayer                      Jim Reeves, Esq.                    (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 160 Main St
                                                                                                                                                                                                       0.84               92.27            $53,147.52                                                                                    PERSICA RANDY J              Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Biloxi, MS 39530

  74    Omni XX   Cotrone, Kathleen          3012 West Barcelona      Tampa         FL      33629   [XX]              9/4/2015     Yes         1,622        Property Tax             Yes                                                                   Taishan                  Photo               6                    J                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                         BERGER ANTHONY C &
                                             Street, Unit #2                                                                                             Assessor's Document                           0.83               91.18           $147,893.96                                                                                                                 Previous Owner                Tax Records + Title/Deed              7/13/2007                  9/28/2015                                                   2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                         BERGER TANIA I
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  75    Omni XX   Cross, Gregory             284 Vintage Drive        Covington     LA      70433   [XX]              9/4/2015     Yes         1,607        Property Tax             Yes                                                                   Taihe                    Photo               21                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                                                                       0.79               86.78           $139,455.46                                                                                    CROSS, GREGORY M ETUX Current Owner                        Tax Records + Title/Deed              1/5/2007                Current Owner
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Birmingham, AL 35209
  76    Omni XX   Cruz, Jr., Ignacio         2740 12th Avenue SE      Naples        FL      34117   [XX]              9/4/2015     Yes         1,834     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                         DELAROSA JR, FIDEL=&
                                                                                                                                                         Assessor's Document                           0.80               87.88           $161,171.92                                                                                                                 Previous Owner                Tax Records + Title/Deed              5/15/2014                  3/10/2017                                                   12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                         DELIA
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  77    Omni XX   Cuddapah, Prabhakara       3317 Ceitus Parkway      Cape Coral    FL      33991   [XX]              9/4/2015     Yes         2,335         Property Tax            Yes                                                                   Taishan                  Photo               2                    J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                         ESHELMAN BRADLEY D &
                                                                                                                                                         Assessor's Document                           0.80               87.88           $205,199.80                                                                                                         Previous Owner                        Tax Records + Title/Deed              4/23/2004                  7/26/2016            Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                         ESHELMAN KELLY L
                                                                                                                                                         with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  78    Omni XX   Cummins, Chris             13623 Johns Road         Vance         AL      35490   [XX],             9/4/2015     Yes                                                                                                                     Taihe                    Photo               17                   I                                                                                                                                                            Collins & Horsley                      W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                    [XXVIII]                                                                                                                                                                                                                                                                                                                                                                                                                     Collins Law Firm                                     .com
                                                                                                                                                                                                       0.85               93.37              $0.00                                                                                       UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Hoover, AL 35226
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 4 of 28



Claimant Source   Claimant Name                Affected Property      City          State   Zip     Omni(s)      Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia   Markings # from      Product                                                                                                                                                      Counsel                              Counsel Address                   Counsel Phone    Counsel Email                                    NOTES
                                                                                                                                                                                                                  2017 Cost Per SF   2017 Remediation                                                                                   Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                         Prior Settlement
Identifier                                     Address                                                            Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                       Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                 [B = A x $109.85]       Damages                                                                                     May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                              Payment(s)-
                                                                                                                      Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                     Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                         [SF x B]                                                                                              Greer                                                                                                              Greer                                                                                                                                   FORTHCOMING
                                                                                                                                                                                Footage             [A]
  79    Omni XX   Curvin, Tyler                2771 County Road 3     Delta         AL      36258   [XX],          9/4/2015     Yes         2,656      Appraisal Showing          Yes                                                                   Taihe                    Photo             17                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                                                                                                    [XXVIII]                                             Floor Plan and                                                                                                                                                             CURVIN TYLER & TYLOR                                                                                                                                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                                                                    0.82               90.08           $239,252.48                                                                                                               Current Owner                 City or County Tax Records           11/19/2010               Current Owner
                                                                                                                                                         Square Footage                                                                                                                                                             SHAY (HOMESTEAD)                                                                                                                                                                      650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Birmingham, AL 35209
  80    Omni XX   Darnell, Bobby Lynn and      127 Hidden Lakes Drive Boaz          AL      35957   [XX],          9/4/2015     Yes         4,319        Property Tax             Yes                                                                   Taihe                    Photo             20                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                  Darnell, Lori Suzanne                                                             [XXVIII]                                          Assessor's Document                           0.82               90.08           $389,055.52                                                                                  DARNELL, LYNN & LORI         Current Owner                 City or County Tax Records           3/18/2011                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  81    Omni XX   Davis, Anita                 2513 Repose            Violet        LA      70092   [XX]           9/4/2015     Yes         1,200        Property Tax             No                                                                    Taihe                    Photo             19                   I                                                                                                                                                            Collins & Horsley                    W. Brian Collins, Esquire         (205) 529-4988   thecollinslawoffices@gmail
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                 Collins Law Firm                                   .com
                                                                                                                                                                                                    0.86               94.47           $113,364.00                                                                                  DAVIS, ANITA M.              Current Owner                 City or County Tax Records           5/10/2011                Current Owner
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                 1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Hoover, AL 35226
  82    Omni XX   Degree, Angel                3806 Holland Court     Phenix City   AL      36867   [XX],          9/4/2015     Yes         1,312         Property Tax            Yes                                                                   Chinese Manufacturer 2   Photo             37                   C           US BANK NATIONAL                                                                                                                                 Doyle Law Firm                       Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                                                                                                    [XXVIII]                                          Assessor's Document                           0.84               92.27           $121,058.24                                                                                  ASSOCIATION AS TRUSTEE Previous Owner                      City or County Tax Records           4/22/2003                  12/21/2015                                                 2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                                                                                                                                                           FOR PROF 2 BC/O AREI LLC                                                                                                                                                              650
  83    Omni XX   Deibel, Estelle I.           1609 Esteban Street    Arabi         LA      70032   [XX]           9/4/2015     Yes         1,876      Inspection Showing         Yes                                                                   Crescent City            Photo             27                   D                                                                                                                                                            Thornhill Law Firm, Fayard &         Tom Thornhill, Esq.               800-989-2707     tom@thornhilllawfirm.com
                                                                                                                                                      Floor Plan and Under                                                                                                                                                          NESSER, LORI MARIE                                                                                                                               Honeycutt APLC and N. Frank Elliot   Thornhill Law Firm
                                                                                                                                                                                                    0.86               94.47           $177,225.72                                                                                                               Previous Owner                City or County Tax Records           10/18/2011                 12/29/2015
                                                                                                                                                       Air Square Footage                                                                                                                                                           ALBARAL                                                                                                                                          III, LLC                             1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Slidell, LA 70458
  84    Omni XX   Del Mar Condominium          5400 A1A, Unit E-1     Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,107            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    O'CONNELL, LYNN AND
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27           $102,142.89                                                                                                               Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    JOSEPH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  85    Omni XX   Del Mar Condominium          5400 A1A, Unit E-10    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,107            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27           $102,142.89                                                                                  FISHER, RICHARD S            Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  86    Omni XX   Del Mar Condominium          5400 A1A, Unit E-11    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    FERNANDEZ, THOMAS J
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                                               Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    AND BARBARA A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  87    Omni XX   Del Mar Condominium          5400 A1A, Unit E-12    Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                  CENTRONE, MAURICE            Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  88    Omni XX   Del Mar Condominium          5400 A1A, Unit E-16    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,107            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    MCNAMARA, KEVIN M
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27           $102,142.89                                                                                                               Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    AND MARYELLEN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  89    Omni XX   Del Mar Condominium          5400 A1A, Unit E-17    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                  5400 A1A LLC                 Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  90    Omni XX   Del Mar Condominium          5400 A1A, Unit E-19    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Photo             6                    J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                  MCGUIRL, SUSAN M &           Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  91    Omni XX   Del Mar Condominium          5400 A1A, Unit E-22    Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Photo             6                    J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    INTERRANTE MARIO AND
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                                               Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    KATHLEEN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  92    Omni XX   Del Mar Condominium          5400 A1A, Unit E-3     Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,107            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    MCINERNEY LINDA S AND
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27           $102,142.89                                                                                                        Unable to Confirm Ownership          City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    GERALD O
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  93    Omni XX   Del Mar Condominium          5400 A1A, Unit E-4     Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                  CAREY LOUISE (TR)            Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  94    Omni XX   Del Mar Condominium          5400 A1A, Unit E-7     Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                  NEP PROPERTIES LLC           Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  95    Omni XX   Del Mar Condominium          5400 A1A, Unit H-10    Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                  JONES BARBARA B (TR)         Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  96    Omni XX   Del Mar Condominium          5400 A1A, Unit H-23    Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                  LOMENZO, JUSTINE             Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  97    Omni XX   Del Mar Condominium          5400 A1A, Unit H-9     Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                  RUSSELL, CHARLES A III       Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  98    Omni XX   Del Mar Condominium          5400 A1A, Unit I-1     Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,107            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27           $102,142.89                                                                                  CRAWFORD, ARLENE F (LE) Unable to Confirm Ownership        City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  99    Omni XX   Del Mar Condominium          5400 A1A, Unit I-11    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                  PACKER, LOUIS M &            Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  100   Omni XX   Del Mar Condominium          5400 A1A, Unit I-18    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                  MILLS, MARY G                Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  101   Omni XX   Del Mar Condominium          5400 A1A, Unit I-19    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,107            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    MARTORANA, DOMINICK
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27           $102,142.89                                                                                                               Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    AND MONICA RUSSO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  102   Omni XX   Del Mar Condominium          5400 A1A, Unit I-2     Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                  CAHOW ALAN K                 Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  103   Omni XX   Del Mar Condominium          5400 A1A, Unit I-20    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,107            Other                Yes                                                                   Taishan                  Photo             6                    J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27           $102,142.89                                                                                  STIER, DAVID H (1/2) &       Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  104   Omni XX   Del Mar Condominium          5400 A1A, Unit I-21    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                  BRENNAN, RICHARD K &         Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  105   Omni XX   Del Mar Condominium          5400 A1A, Unit I-27    Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    BARTLESON, MARGARET N
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                                        Unable to Confirm Ownership          City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    (TR)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  106   Omni XX   Del Mar Condominium          5400 A1A, Unit I-3     Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                  ATFIELD WAYNE                Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  107   Omni XX   Del Mar Condominium          5400 A1A, Unit I-4     Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    KAYKATY, MAURICE AND
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                                       Unable to Confirm Ownership           City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    FRANCES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  108   Omni XX   Del Mar Condominium          5400 A1A, Unit I-5     Vero Beach    FL      32963   [XX]           9/4/2015     Yes          881             Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $81,289.87                                                                                  NADEAU, RICHARD &            Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  109   Omni XX   Del Mar Condominium          5400 A1A, Unit I-6     Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                  FOSCALDI, LOUIS S            Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  110   Omni XX   Del Mar Condominium          5400 A1A, Unit I-8     Vero Beach    FL      32963   [XX]           9/4/2015     Yes         1,052            Other                Yes                                                                   Taishan                  Affidavit                              J                                                                                                                                                            Herman, Herman & Katz                Russ Herman, Esq.                 (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                    ARROYAVE FAMILY
                  Association (Gary Rollins)                                                                                                                                                        0.84               92.27            $97,068.04                                                                                                               Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                    INVESTMENT CO LTD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70113
  111   Omni XX   Delk, Don and Sandra         1895 Nrth Pimlico Point Crystal River FL     34429   [XX]           9/4/2015     No          2,041         Property Tax            No                                                                    Taishan                  Photo             12                   L                                                                                                                                                            Pro Se                               N/A                               N/A              N/A                                              BKC confirmed sq ft
                                                                                                                                                      Assessor's Document                           0.81               88.98           $181,608.18                                                                                  DELK DONALD F JR             Current Owner                 City or County Tax Records           6/18/2004                Current Owner
                                                                                                                                                      with Square Footage
  112   Omni XX   Della-Pietra, Ralph J. Jr.   5076 SE Mariner Garden Stuart        FL      34997   [XX]           9/4/2015     Yes         1,530          Benchmark              Yes                                                                   Taishan                  Photo             10                   J                                                                                                                                                            Allison Grant, P.A.                  Allison Grant, Esq.               (561) 994-9646   agrant@allisongrantpa.com
                                               Circle                                                                                                  Inspection Report                                                                                                                                                                                                                                                                                                                                                  14 Southeast 4th Street
                                                                                                                                                                                                    0.82               90.08           $137,822.40                                                                                  DELLA-PIETRA RALPH J JR Current Owner                      City or County Tax Records           12/29/2008               Current Owner
                                                                                                                                                      Using Zillow.com for                                                                                                                                                                                                                                                                                                                                                Boca Raton, Florida 33432
                                                                                                                                                        Square Footage
  113   Omni XX   Dennis, Cornelius            3514 Clematis          New Orleans LA        70122   [XX]           9/4/2015     Yes         1,097         Property Tax            Yes                                                                   Taihe                    Photo             18                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                      Assessor's Document                           0.86               94.47           $103,633.59                                                                                  DENNIS CORNELIUS JR          Current Owner                 City or County Tax Records           2/12/1973                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  114   Omni XX   Depetris, James              5343 SW 10th Avenue    Cape Coral    FL      33914   [XX]           9/4/2015     Yes         3,349         Property Tax            Yes                                                                   Taishan                  Photo             2, 9                 J                                                                                                                                                            Parker Waichman                      Jerrold Parker, Esq.              (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                      Assessor's Document                           0.80               87.88           $294,310.12                                                                                  DEPETRIS JAMES W             Current Owner                 City or County Tax Records           9/24/2004                Current Owner                                                27300 Riverview Center Blvd
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                 Bonita Springs, FL 34134
  115   Omni XX   Detweiler, Gerald            11501 Hammocks Glade Riverview       FL      33569   [XX]           9/4/2015     Yes         1,655         Property Tax            Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                            Roberts & Durkee PA Milstein         C. David Durkee, Esq.             (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                    AMH 2014-1 BORROWER
                                               Drive                                                                                                  Assessor's Document                           0.83               91.18           $150,902.90                                                                                                               Previous Owner                City or County Tax Records           10/3/2006                   1/4/2013             Adelman LLP                          2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                    LLC
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                 300
  116   Omni XX   Diaz, Fernando               20338 SW 88 Court      Cutler Bay    FL      33189   [IX], [XX]     5/5/2011     Yes         2,075         Property Tax            Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                            Colson Hicks Eidson                  Patrick Montoya, Esq.             (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                    OLIVER ORTIZ
                                                                                                                                                      Assessor's Document                           0.81               88.98           $184,633.50                                                                                                               Previous Owner                City or County Tax Records           3/13/2009                   1/28/2014                                                 255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                    CATALINA DANIES
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                 Coral Gables, FL 33134
  117   Omni XX   Dixon, Stanley               1715 Bristow Cove Road Boaz          AL      35956   [XX],          9/4/2015     Yes                                                                                                                     Taihe                    Photo             13, 17               I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                                                                                                    [XXVIII]                                                                                        0.82               90.08              $0.00                                                                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          650
  118   Omni XX   Doan 2, LLC                  3210 Cottonwood Bend, Fort Myers     FL      33905   [XX]           9/4/2015     Yes         1,958     Builder's Floor Plan        Yes                                                                   Taishan                  Photo             6                    J                                                                                                                                                            Allison Grant, P.A.                  Allison Grant, Esq.               (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                                                                                                                                                                                                                                    SANDBLOM CRAIG C &
                                               Unit 803                                                                                                                                                                                                                                                                                                                                                                                                                                                                   14 Southeast 4th Street
                                                                                                                                                                                                    0.80               87.88           $172,069.04                                                                                  KRAUSE ROBERT J +            Previous Owner                City or County Tax Records           3/19/2012                   8/25/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Boca Raton, Florida 33432
                                                                                                                                                                                                                                                                                                                                    SANDBLOM CARL A

  119   Omni XX   Dobbs, Kevin                 102 Camerons Way       Lincoln       AL      35096   [XX],          9/4/2015     Yes         1,261      Appraisal Showing          Yes                                                                   Venture Supply           Photo             38                   K           SECRETARY OF HOUSING                                                                                                                             Doyle Law Firm                       Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                    & URBAN DEVELOPMENT
                                                                                                    [XXVIII]                                             Floor Plan and                             0.84               92.27           $116,352.47                                                                                                               Previous Owner                City or County Tax Records           2/16/2013                  11/19/2015                                                 2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                    C/O INFO SYS NETWORKS
                                                                                                                                                        Square Footage                                                                                                                                                                                                                                                                                                                                                    650
                                                                                                                                                                                                                                                                                                                                    CORP
  120   Omni XX   Downing, David               320 West Riverside     Jupiter       FL      33469   [XX]           9/4/2015     Yes         2,368         Property Tax            Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                 (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                    PERRYMAN PAUL C &
                                               Drive                                                                                                  Assessor's Document                           0.82               90.08           $213,309.44                                                                                                               Previous Owner                City or County Tax Records           4/17/1995                  11/14/2012                                                 2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                    PERRYMAN SHARI
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
                                                                                                                        Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 5 of 28



Claimant Source   Claimant Name                Affected Property        City          State   Zip     Omni(s)    Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia     Markings # from      Product                                                                                                                                                      Counsel                                Counsel Address                     Counsel Phone    Counsel Email                                    NOTES
                                                                                                                                                                                                                  2017 Cost Per SF   2017 Remediation                                                                                     Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                             Prior Settlement
Identifier                                     Address                                                            Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                         Taishan Product ID   Bucket(s)                                 Ownership Status of Named    Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                 [B = A x $109.85]       Damages                                                                                       May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                                  Payment(s)-
                                                                                                                      Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                       Catalog                                                        Claimant Per Brown Greer                Greer                        Greer
                                                                                                                                                                                                                                         [SF x B]                                                                                                Greer                                                                                                              Greer                                                                                                                                       FORTHCOMING
                                                                                                                                                                                Footage             [A]
  121   Omni XX   Dusset, Lisa                 2804 Cherry St.          New Orleans LA        70118   [XX]         9/4/2015     Yes         2,085         Property Tax            Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Herman, Herman & Katz                  Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     820 O'Keefe Avenue
                                                                                                                                                                                                    0.86               94.47           $196,969.95                                                                                    DUSSET LISA N                Current Owner                 City or County Tax Records           11/19/2002               Current Owner
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113

  122   Omni XX   Economou, Monica             1343 Lyonshire Drive     Wesley        FL      33543   [XX]         9/4/2015     Yes         1,401     Appraisal Showing           Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                        Chapel                                                                        Floor Plan and                                0.83               91.18           $127,743.18                                                                                    MOHAMED AHMAD FAHMY Previous Owner                         City or County Tax Records           5/28/2004                   8/6/2013                                                    12800 University Drive, Suite 600                    om
                                                                                                                                                      Square Footage                                                                                                                                                                                                                                                                                                                                                          Fort Myers, FL 33907
  123   Omni XX   Elkins, Jr., George S.       10520 SW. Stephanie      Port St. Lucie FL     34987   [XX]         9/4/2015     Yes           0                N/A                N/A                                                                   Taishan                  Inspection Report   12                   L                                                                                                                                                            Allison Grant, P.A.                    Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com                        See Promenade at Tradition
                                               Way, Unit 212                                                                                                                                                                                                                                                                                                                                                                                                                                                                  14 Southeast 4th Street                                                                               Community Association, Inc.
                                                                                                                                                                                                    0.82               90.08              $0.00                                                                                       GEORGE S ELKINS JR           Current Owner                 City or County Tax Records           10/3/2009                Current Owner
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Boca Raton, Florida 33432

  124   Omni XX   Estrella de Alvarez Angel,   8013 W. 36th Ave., # 4 Hialeah         FL      33018   [XX]         9/4/2015     Yes         1,356        Property Tax             Yes                                                                   IMT                      Photo               33                   F                                                                                                                                                            Baron & Budd, P.C.                     Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                  Maria                                                                                                                               Assessor's Document                                                                                                                                                             BLUE WATER RENTAL                                                                                                                                                                       Baron & Budd
                                                                                                                                                                                                    0.81               88.98           $120,656.88                                                                                                                 Previous Owner                City or County Tax Records           1/30/2007                   4/18/2014
                                                                                                                                                      with Square Footage                                                                                                                                                             APARTMENTS LLC                                                                                                                                                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219
  125   Omni XX   Faber,Fred and Irene         12540 NW 83 Court        Parkland      FL      33076   [XX]         9/4/2015     Yes         3,011     Property Tax        Yes                                                                           Dragon Brand             Photo               26                   A                                                                                                                                                            Krupnick Cambell                       Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     12 SE 7th St #801
                                                                                                                                                                                                    0.81               88.98           $267,918.78                                                                                    FINK,JARED & MELISSA         Previous Owner                City or County Tax Records           9/27/2006                   9/30/2011
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Lauderdale, FL 33301-3434

  126   Omni XX   Farmer, Eva Pearl            521 Triumph Way          Winder        GA      30680   [XX]         9/4/2015     Yes         1,893        Property Tax             Yes                                                                   Venture Supply           Photo               39                   K                                                                                                                                                            Gentle, Turner & Sexton                K. Edward Sexton, II               (205)-716-3000    esexton@gtandslaw.com
                                                                                                                                                      Assessor's Document                           0.81               88.98           $168,439.14                                                                                    FARMER PEARL                 Current Owner                 City or County Tax Records           6/30/2006                Current Owner                                                  501 Riverchase Parkway East, Suite
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     100
  127   Omni XX   Favorth, Melissa             4900 Maid Marion Drive New Orleans LA          70128   [XX]         9/4/2015     Yes         1,521        Property Tax             Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Thornhill Law Firm, Fayard &           Tom Thornhill, Esq.                800-989-2707      tom@thornhilllawfirm.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                              Honeycutt APLC and N. Frank Elliot     Thornhill Law Firm
                                                                                                                                                                                                    0.86               94.47           $143,688.87                                                                                    SIDER MELISSA F              Current Owner                 Title/Deed                           2/12/2004                Current Owner
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                              III, LLC                               1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Slidell, LA 70458
  128   Omni XX   Fernandez, Jose              19911 NW 77th Court      Miami         FL      33015   [XX]         9/4/2015     Yes         1,627         Property Tax            Yes                                                                   Taishan                  Photo               2                    J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.              (305) 442-1700    durkee@rdlawnet.com
                                                                                                                                                      Assessor's Document                           0.81               88.98           $144,770.46                                                                                    ESTEBAN GALTES               Previous Owner                City or County Tax Records           8/28/2007                   2/15/2013            Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  129   Omni XX   Fincher, Nathan and Megan 1700 County Road 3949 Arley               AL      35541   [XX],        9/4/2015     Yes         3,184     Property Tax                Yes                                                                   Taihe                    Photo               13, 17               I                                                                                                                                                            Pittman, Dutton & Hellums              Booth Samuels, Esq.                (205) 322-8880    BoothS@pittmandutton.co
                                                                                                      [XXVIII]                                        Assessor's Document                           0.84               92.27           $293,787.68                                                                                    FINCHER NATHAN A             Current Owner                 City or County Tax Records            9/1/2006                Current Owner                                                  2001 Park Pl #1100                                   m
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35203
  130   Omni XX   First National Bank          1724-1726 Burdette       New Orleans LA        70118   [XX]         9/4/2015     Yes         2,637     Property Tax        Yes                                                                           Taihe                    Photo               19, 21               I                                                                                                                                                            Lemmon Law Firm                        Andrew Lemmon, Esq.                985-783-6789      andrew@lemmonlawfirm.c
                                                                                                                                                                                                                                                                                                                                      CHIU EDWARD KIN P
                                               Street                                                                                                 Assessor's Document                                                                                                                                                                                                                                                                                                                                                     PO Box 904 (mailing address)                         om
                                                                                                                                                                                                    0.86               94.47           $249,117.39                                                                                    CHIU SERENA L                Previous Owner                City or County Tax Records           9/18/2009                   3/11/2011
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     15058 River Road
                                                                                                                                                                                                                                                                                                                                      CHIU MELISSA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Hahnville, LA 70057
  131   Omni XX   First National Bank          3907-3909 Civic Street   New Orleans LA        70001   [XX]         9/4/2015     Yes         4,370     Property Tax        Yes                                                                           Taihe                    Photo               17, 19, 20           I                                                                                                                                                            Lemmon Law Firm                        Andrew Lemmon, Esq.                985-783-6789      andrew@lemmonlawfirm.c
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     PO Box 904 (mailing address)                         om
                                                                                                                                                                                                    0.86               94.47           $412,833.90                                                                                    3907 & 3909 CIVIC LLC        Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Hahnville, LA 70057
  132   Omni XX   First National Bank          4315 Annunciation St.    New Orleans LA        70115   [XX]         9/4/2015     Yes           0          Property Tax             Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Lemmon Law Firm                        Andrew Lemmon, Esq.                985-783-6789      andrew@lemmonlawfirm.c                           See Marc and Julie Bourgois
                                                                                                                                                      Assessor's Document                                                                                                                                                             SHOEMAKER MARC D                                                                                                                                                                        PO Box 904 (mailing address)                         om
                                                                                                                                                                                                    0.86               94.47              $0.00                                                                                                                    Previous Owner                City or County Tax Records            2/1/2011                   6/14/2011
                                                                                                                                                      with Square Footage                                                                                                                                                             SHOEMAKER SHERI L                                                                                                                                                                       15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Hahnville, LA 70057
  133   Omni XX   Fomby, Kenneth & Bonita      3500 McMurry Drive       Pinson        AL      35216   [XX],        9/4/2015     Yes         9,579        Property Tax             Yes                                                                   Taihe                    Photo               13                   I                                                                                                                                                            Collins & Horsley                      W. Brian Collins, Esquire          (205) 529-4988    thecollinslawoffices@gmail
                                                                                                      [XXVIII]                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                                     Collins Law Firm                                     .com
                                                                                                                                                                                                    0.84               92.27           $883,854.33                                                                                    FOMBY KENNETH G              Current Owner                 City or County Tax Records            8/1/1996                Current Owner
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Hoover, AL 35226
  134   Omni XX   Forero, Margarita            16274 SW 57th Lane       Miami         FL      33193   [XX]         9/4/2015     Yes         1,823     Property Tax                Yes                                                                   Taishan                  Photo               8                    J                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                 (239) 433-6880    PAlbanis@ForThePeople.c
                                                                                                                                                      Assessor's Document                           0.81               88.98           $162,210.54                                                                                    MARGARITA FORERO             Current Owner                 City or County Tax Records           4/20/2012                Current Owner                                                  12800 University Drive, Suite 600                    om
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  135   Omni XX   Foster, Sherman              3000 Nancy Street        Meraux        LA      70075   [XX]         9/4/2015     Yes         1,280         Property Tax            Yes                                                                   Taishan                  Photo               12                   L                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                  (205) 533-9500    jimmy@doylefirm.com
                                                                                                                                                      Assessor's Document                           0.86               94.47           $120,921.60                                                                                    WELLS FARGO BANK, N.A. Previous Owner                      City or County Tax Records           9/27/2011                   5/10/2017                                                   2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  136   Omni XX   Francois, Brandon            1730 Leon C. Simon       New Orleans LA        70122   [XX]         9/4/2015     Yes         2,385         Property Tax            Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                  (205) 533-9500    jimmy@doylefirm.com
                                               Drive                                                                                                  Assessor's Document                                                                                                                                                             FRANCOIS BRANDON A                                                                                                                                                                      2100 Southbridge Parkway, Suite
                                                                                                                                                                                                    0.86               94.47           $225,310.95                                                                                                                 Current Owner                 City or County Tax Records           8/18/2006                Current Owner
                                                                                                                                                      with Square Footage                                                                                                                                                             HOUSSER MICHEN M                                                                                                                                                                        650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Birmingham, AL 35209
  137   Omni XX   Frieze, Karen                10360 SW Stephanie       Port St. Lucie FL     34987   [XX]         9/4/2015     Yes         1,783         Property Tax            No                                                                    Taishan                  Photo               6                    J                                                                                                                                                            Pro Se                                 N/A                                N/A               N/A                                              BKC confirmed sq ft
                                                                                                                                                                                                                                                                                                                                      JOCHEN MERTL
                                               Way, #6-201                                                                                            Assessor's Document                           0.82               90.08           $160,612.64                                                                                                                 Previous Owner                City or County Tax Records           5/12/2006                   2/24/2017
                                                                                                                                                                                                                                                                                                                                      CHRISTINA MERTL
                                                                                                                                                      with Square Footage
  138   Omni XX   Fry, Joshua                  1210 SE 3rd Avenue       Cape Coral    FL      33990   [XX]         9/4/2015     Yes         2,081         Property Tax            Yes                                                                   ProWall                  Photo               43                   G                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                      MISCHLIWIETZ-
                                                                                                                                                      Assessor's Document                           0.80               87.88           $182,878.28                                                                                                                 Previous Owner                City or County Tax Records           10/26/2009                 11/25/2014            Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                      BOETTCHER TANJA
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  139   Omni XX   Gallardo, Henry              3113 Fable Street        Meraux        LA      70075   [XX]         9/4/2015     Yes         2,157         Property Tax            Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                      Assessor's Document                           0.86               94.47           $203,771.79                                                                                    BROWN, BRIAN K.              Previous Owner                City or County Tax Records           7/10/2007                   6/19/2017                                                   2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  140   Omni XX   Gaytan, Tayde                1151 Hudson Harbor       Poinciana     FL      34759   [XX]         9/4/2015     Yes         2,509     Property Tax                Yes                                                                   IMT                      Photo               33                   F                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                               Lane                                                                                                   Assessor's Document                           0.83               91.18           $228,770.62                                                                                    GAYTAN TAYDE                 Current Owner                 City or County Tax Records            6/3/2010                Current Owner                                                  12800 University Drive, Suite 600                    om
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  141   Omni XX   Gibson, Robert               197 Australian Dr        Rotunda West FL       33947   [XX]         9/4/2015     Yes         1,855         Property Tax            Yes                                                                   Taishan                  Photo               7                    J                                                                                                                                                            Parker Waichman                        Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                      Assessor's Document                           0.80               87.88           $163,017.40                                                                                    SERVA BRADLEY V              Previous Owner                City or County Tax Records           3/16/2007                   6/29/2017                                                   27300 Riverview Center Blvd
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Bonita Springs, FL 34134
  142   Omni XX   Gilmore, Marquesa Murray 10200 Flossmoor Dr.          New Orleans LA        70127   [XX]         9/4/2015     Yes           0           Property Tax            Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com                           See Marquesa and Shantez Bean
                                                                                                                                                                                                                                                                                                                                      U S SECRETARY OF
                                                                                                                                                      Assessor's Document                           0.86               94.47              $0.00                                                                                                                    Previous Owner                City or County Tax Records           4/16/2007                   2/1/2017                                                    8301 W. Judge Perez Drive, Suite                                                                      on Ex 10/79
                                                                                                                                                                                                                                                                                                                                      HOUSING
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     303
  143   Omni XX   Gonzalez, Elena              3417-3419 Skyline Blvd Cape Coral      FL      33914   [XX]         9/4/2015     Yes         2,196     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                      CAPE HOMES 3417 LAND
                                                                                                                                                      Assessor's Document                           0.80               87.88           $192,984.48                                                                                                                 Previous Owner                City or County Tax Records           12/26/2002                  1/8/2014                                                    12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      TRUST
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  144   Omni XX   Gonzalez, Manual             424-426 SE 24th Ave      Cape Coral    FL      33904   [XX]         9/4/2015     Yes         2,184     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                      MEG HOLDINGS 424 LAND
                                                                                                                                                      Assessor's Document                           0.80               87.88           $191,929.92                                                                                                          Previous Owner                       City or County Tax Records           11/16/2005                  1/9/2014                                                    12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      TRUST
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  145   Omni XX   Gonzalez, Victor             19851 NW 77th Court      Miami         FL      33015   [XX]         9/4/2015     Yes         1,578         Property Tax            Yes                                                                   Taishan                  Photo               2                    J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                      JACKSON CHYR
                                                                                                                                                      Assessor's Document                           0.81               88.98           $140,410.44                                                                                                                 Previous Owner                City or County Tax Records           12/20/2006                  2/27/2013            Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                      ELIZA CHYR
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  146   Omni XX   Goodson, Floyd               8060 NW 126th Terrace Parkland         FL      33076   [XX]         9/4/2015     Yes         2,725         Property Tax            Yes                                                                   Dragon Brand/ BNBM       Photo               25, 26               A                                                                                                                                                            Herman, Herman & Katz                  Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     820 O'Keefe Avenue
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                      GOODSON,FLOYD P II
                                                                                                                                                                                                    0.81               88.98           $242,470.50                                                                                                                 Current Owner                 City or County Tax Records           10/6/2009                Current Owner
                                                                                                                                                                                                                                                                                                                                      STORY,TRACY L




  147   Omni XX   Gordon, Wally                818 Avenue B             Marrero       LA      70072   [XX]         9/4/2015     Yes         1,572     Builder's Floor Plan        Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                    0.86               94.47           $148,506.84                                                                                    GORDON,WALLY W               Current Owner                 Tax Records + Title/Deed             6/16/1989                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              650
  148   Omni XX   Gossett, Kathryn             91 Cloverdale Road       Atmore        AL      36502   [XX],        9/4/2015     Yes         1,150         Property Tax            Yes                                                                   Taihe                    Photo               20, 21               I           CHAMPION JEFFERY L                                                                                                                               Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                      ETUX
                                                                                                      [XXVIII]                                        Assessor's Document                           0.84               92.27           $106,110.50                                                                                                                 Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                      C/O KATHRYN A
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
                                                                                                                                                                                                                                                                                                                                      CHAMPION
  149   Omni XX   Gray, Kevin & Amy            2990 Fawn Lake Blvd.     Mims          FL      32754   [XX]         9/4/2015     Yes         2,020     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                      2990 FAWN LAKE BLVD
                                                                                                                                                      Assessor's Document                           0.83               91.18           $184,183.60                                                                                                                 Previous Owner                City or County Tax Records           6/30/1999                   2/26/2015                                                   12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      TRUST #1
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  150   Omni XX   Green, James and Cyndee      2809-11 Orleans Ave.     New Orleans LA        70119   [XX]         9/4/2015     Yes         1,404         Property Tax                                                                                  Taishan                  Photo               12                   L                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                      Assessor's Document                           0.86               94.47           $132,635.88                                                                                    CVITANOVIC DOMINIK           Previous Owner                City or County Tax Records           4/27/2006                   2/18/2015                                                   2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  151   Omni XX   Greenhill, Lucille M.        4155 Amelia Plantation   Vero Beach    FL      32967   [XX]         9/4/2015     Yes         2,576         Property Tax            Yes                                                                   Taishan                  Photo               12                   L                                                                                                                                                            Allison Grant, P.A.                    Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                                               Court                                                                                                  Assessor's Document                                                                                                                                                                                                                                                                                                                                                     14 Southeast 4th Street
                                                                                                                                                                                                    0.84               92.27           $237,687.52                                                                                    REAL ESTATE 2017 LLC         Previous Owner                City or County Tax Records           5/11/2006                   4/17/2017
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Boca Raton, Florida 33432

  152   Omni XX   Gregerson, John & Charlotte 201 Roberts Lee Drive     Gadsden       AL      35903   [XX],        9/4/2015     Yes         2,922        Property Tax             Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Collins & Horsley                      W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                      [XXVIII]                                        Assessor's Document                                                                                                                                                             GREGERSON, JOHN M &                                                                                                                                                                     Collins Law Firm                                     .com
                                                                                                                                                                                                    0.82               90.08           $263,213.76                                                                                                                 Current Owner                 City or County Tax Records            6/6/2005                Current Owner
                                                                                                                                                      with Square Footage                                                                                                                                                             CHARLOTTE                                                                                                                                                                               1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Hoover, AL 35226
  153   Omni XX   Guinn, Larry D. & Lynne E. 3020 NW 7th Terrace        Cape Coral    FL      33993   [XX]         9/4/2015     Yes         2,497        Property Tax             Yes                                                                   Taishan                  Photo               8                    J                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                      Assessor's Document                           0.80               87.88           $219,436.36                                                                                    VOLKERT RICHARD A            Previous Owner                City or County Tax Records           3/17/2003                   5/24/2013                                                   12800 University Drive, Suite 600                    om
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  154   Omni XX   Gullette, Iris Marie         8840 - 8842 Morrison     New Orleans LA        70127   [XX]         9/4/2015     Yes         2,513        Property Tax             Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Herman, Herman & Katz                  Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                               Road                                                                                                   Assessor's Document                           0.86               94.47           $237,403.11                                                                                    GULLETTE IRIS M              Current Owner                 City or County Tax Records           7/15/2004                Current Owner                                                  820 O'Keefe Avenue
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
  155   Omni XX   Guraya, Harmeet              7800 Allison Road        New Orleans LA        70126   [XX]         9/4/2015     Yes         1,726            Other                Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                      HALL ALLEN
                                                                                                                                                                                                    0.86               94.47           $163,055.22                                                                                                                 Previous Owner                City or County Tax Records           5/31/2005                   4/3/2017                                                    2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                      SANTOS ROSALIND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              650
  156   Omni XX   Habel, Thomas & Linda        2527 Newbern Avenue      Clearwater    FL      33761   [XX]         9/4/2015     Yes         1,740     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                      HABEL, THOMAS
                                                                                                                                                      Assessor's Document                           0.82               90.08           $156,739.20                                                                                                                 Current Owner                 City or County Tax Records            6/4/2002                Current Owner                                                  12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      HABEL, LINDA S
                                                                                                                                                      with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  157   Omni XX   Haeffele, James F. and Lois 1419 NE 14th Ter.         Cape Coral    FL      33909   [XX]         9/4/2015     Yes         1,836         Property Tax            Yes                                                                   Taishan                  Photo               7                    J                                                                                                                                                            Allison Grant, P.A.                    Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                  E.                                                                                                                                  Assessor's Document                                                                                                                                                             HAEFFELE JAMES F + LOIS                                                                                                                                                                 14 Southeast 4th Street
                                                                                                                                                                                                    0.80               87.88           $161,347.68                                                                                                            Current Owner                      City or County Tax Records            9/5/2007                Current Owner
                                                                                                                                                      with Square Footage                                                                                                                                                             E                                                                                                                                                                                       Boca Raton, Florida 33432

  158   Omni XX   Hagan, Lester O.             11849 Bayport Lane #3    Ft. Myers     FL      33908   [XX]         9/4/2015     Yes         1,690     Builder's Floor Plan        Yes                                                                   Taishan                  Photo               2                    J           HAGAN LESTER O TR                                                                                                                                Parker Waichman                        Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                    0.80               87.88           $148,517.20                                                                                    FOR LESTER O HAGAN           Current Owner                 City or County Tax Records           10/13/2006               Current Owner                                                  27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                      TRUST                                                                                                                                                                                   Bonita Springs, FL 34134
                                                                                                                            Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 6 of 28



Claimant Source   Claimant Name                Affected Property        City          State   Zip     Omni(s)        Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia     Markings # from      Product                                                                                                                                                      Counsel                                Counsel Address                     Counsel Phone    Counsel Email                                    NOTES
                                                                                                                                                                                                                      2017 Cost Per SF   2017 Remediation                                                                                     Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                             Prior Settlement
Identifier                                     Address                                                                Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                         Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                     [B = A x $109.85]       Damages                                                                                       May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                                  Payment(s)-
                                                                                                                          Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                       Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                             [SF x B]                                                                                                Greer                                                                                                              Greer                                                                                                                                       FORTHCOMING
                                                                                                                                                                                    Footage             [A]
  159   Omni XX   Hall, Timothy & Sebrina      1426 Marvin Pearce       Boaz          AL      35957   [XX]             9/4/2015     Yes         1,216         Property Tax            Yes                                                                   Taihe                    Photo               13, 17               I                                                                                                                                                            Collins & Horsley                      W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                               Road                                                                                                       Assessor's Document                                                                                                                                                             HALL, TIMOTHY J &                                                                                                                                                                       Collins Law Firm                                     .com
                                                                                                                                                                                                        0.82               90.08           $109,537.28                                                                                                                 Current Owner                 City or County Tax Records            5/4/2007                Current Owner
                                                                                                                                                          with Square Footage                                                                                                                                                             SEBRINA L                                                                                                                                                                               1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Hoover, AL 35226
  160   Omni XX   Harden, Ashley               688 Highway 331          Columbiana    AL      35051   [XX],            9/4/2015     Yes         2,232            Other                Yes                                                                   Taihe                    Photo               19                   I           PIERCE ASHLEY HARDIN                                                                                                                             Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                      [XXVIII]                                                                                          0.84               92.27           $205,946.64                                                                                    AKA ELIZABETH ASHLEY         Current Owner                 City or County Tax Records           1/17/2012                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                          HARDIN                                                                                                                                                                                  650
  161   Omni XX   Hardy, Eric                  1622 Charlton Drive      New Orleans LA        70122   [XX]             9/4/2015     Yes         2,640        Property Tax             Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                                                                        0.86               94.47           $249,400.80                                                                                    HARDY ERIC                   Current Owner                 City or County Tax Records           1/31/2007                Current Owner
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Birmingham, AL 35209
  162   Omni XX   Hare, Michael M.             5546 Meadow Oaks         Titusville    FL      32780   [XX]             9/4/2015     Yes         1,589     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                               Avenue                                                                                                     Assessor's Document                           0.83               91.18           $144,885.02                                                                                    HARE, MICHAEL M              Current Owner                 Tax Records + Title/Deed             6/25/2001                Current Owner                                                  12800 University Drive, Suite 600                    om
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  163   Omni XX   Hayden, Tonya                7605 Penny Lane          Fort Pierce   FL      34951   [XX]             9/4/2015     Yes         1,300         Property Tax            Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Allison Grant, P.A. Baron & Budd,      Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                              P.C.                                   Baron & Budd
                                                                                                                                                                                                        0.82               90.08           $117,104.00                                                                                    US BANK NA (TR)              Previous Owner                City or County Tax Records            8/6/2003                   6/16/2016
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Dallas, TX 75219
  164   Omni XX   Heger, Scott and Deborah     4701 Royal Birkdale      Wesley        FL      33543   [XX]             9/4/2015     Yes         3,738        Property Tax             Yes                                                                   Taishan                  Photo               1                    H           HEGER SCOTT & DEBORAH                                                                                                                            Whitfield, Bryson & Mason              Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                               Way                      Chapel                                                                            Assessor's Document                           0.83               91.18           $340,830.84                                                                                    A                     Current Owner                        City or County Tax Records            6/2/2006                Current Owner                                                  900 W. Morgan Street
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Raleigh, NC 27603
  165   Omni XX   Held, Michael                2701 Kenilworth Drive    St. Bernard   LA      70085   [XX]             9/4/2015     Yes           0          Property Tax             Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com                           See NOAHH on RP
                                                                                                                                                          Assessor's Document                           0.86               94.47              $0.00                                                                                       HELD, MICHAEL D.             Current Owner                 City or County Tax Records           1/12/2007                Current Owner                                                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     303
  166   Omni XX   Henry, John                  3040 Sullen Place        New Orleans LA        70131   [XX]             9/4/2015     Yes         2,276        Property Tax             Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            The Lambert Firm                       Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                          Assessor's Document                           0.86               94.47           $215,013.72                                                                                    HENRY JOHN                   Current Owner                 City or County Tax Records           7/10/1987                Current Owner                                                  701 Magazine St,                                     om
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans LA 70130
  167   Omni XX   Hermann, Erik                9343 SW 227 St., Unit 5- Cutler Bay    FL      33190   [XX]             9/4/2015     Yes         1,459        Property Tax             Yes                                                                   Taishan                  Photo               8                    J                                                                                                                                                            Baron & Budd, P.C.                     Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                               20                                                                                                         Assessor's Document                                                                                                                                                             ERIK HERMANN &W                                                                                                                                                                         Baron & Budd
                                                                                                                                                                                                        0.81               88.98           $129,821.82                                                                                                                 Current Owner                 City or County Tax Records           10/1/2006                Current Owner
                                                                                                                                                          with Square Footage                                                                                                                                                             MARIA DEL PILAR LOPEZ                                                                                                                                                                   3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Dallas, TX 75219
  168   Omni XX   Hernandez, Bradley           7608 Birch Street        Violet        LA      70043   [XX]             9/4/2015     Yes         1,100        Property Tax             Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                          Assessor's Document                           0.86               94.47           $103,917.00                                                                                    BIRCH STREET TRUST           Previous Owner                City or County Tax Records            2/1/2013                   5/30/2013                                                   8301 W. Judge Perez Drive, Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     303
  169   Omni XX   Hernandez, Steve             1878 E. Nine Mile Road Pensacola       FL      32514   [XX]             9/4/2015     Yes         3,423        Property Tax             Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Parker Waichman                        Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                               #703                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                                     27300 Riverview Center Blvd
                                                                                                                                                                                                        0.85               93.37           $319,605.51                                                                                    JIK CREEK LLLP               Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Bonita Springs, FL 34134

  170   Omni XX   Herrera, Mercedes & Gina     1353 Lyonshire Drive     Wesley        FL      33543   [XX]             9/4/2015     Yes         1,401     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                          HERRERA MERCEDES M
                                                                        Chapel                                                                            Assessor's Document                           0.83               91.18           $127,743.18                                                                                                                 Current Owner                 City or County Tax Records           10/25/2002               Current Owner                                                  12800 University Drive, Suite 600                    om
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  171   Omni XX   Hill, Kathleen M.            672 Bremerhaven Street Palm Bay        FL      32907   [XX]             9/4/2015     Yes         1,814     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                               NW                                                                                                         Assessor's Document                           0.84               92.27           $167,377.78                                                                                    HILL, KATHLEEN M             Current Owner                 City or County Tax Records            3/4/2004                Current Owner                                                  12800 University Drive, Suite 600                    om
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  172   Omni XX   Hillard, Rochell             7143 Dorian St.          New Orleans LA        70126   [XX]             9/4/2015     Yes         1,085         Property Tax            Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Herman, Herman & Katz                  Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                          Assessor's Document                           0.86               94.47           $102,499.95                                                                                    HILLARD ROCHELL W            Current Owner                 City or County Tax Records           3/24/2004                Current Owner                                                  820 O'Keefe Avenue
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70113
  173   Omni XX   Hirsch, Mitchell & Lorri     7191 NW 126 Terrace      Parkland      FL      33076   [XX]             9/4/2015     Yes         6,251     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                          HIRSCH,MITCHELL H &
                                                                                                                                                          Assessor's Document                           0.81               88.98           $556,213.98                                                                                                                 Current Owner                 City or County Tax Records           1/11/2002                Current Owner                                                  12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                          HIRSCH,LORRI J
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  174   Omni XX   Holifield, Kent and Laurie   87 Red Holifield Road    Laurel        MS      39443   [XX], [XXXI]     9/4/2015     Yes         3,018         Property Tax            Yes                                                                   Taihe                    Photo               20, 21               I                                                                                                                                                            Whitfield, Bryson & Mason              Dan Bryson, Esq.                    919-600-5000     dan@wbmllp.com
                                                                                                                                                                                                                                                                                                                                          HOLIFIELD KENT E &
                                                                                                                                                          Assessor's Document                           0.79               86.78           $261,902.04                                                                                                                 Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                  900 W. Morgan Street
                                                                                                                                                                                                                                                                                                                                          LAURIE
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Raleigh, NC 27603
  175   Omni XX   Hopkins, Nancy               1004 Shelby Forest Trace Chelsea       AL      35043   [XX],            9/4/2015     Yes         1,610      Appraisal Showing          Yes                                                                   Taihe                    Photo               20                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          HAYNES DANIEL GRAHAM
                                                                                                      [XXVIII]                                               Floor Plan and                             0.84               92.27           $148,554.70                                                                                                         Previous Owner                        City or County Tax Records           2/24/2006                   7/30/2015                                                   2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                          & NEELY PATRICK
                                                                                                                                                             Square Footage                                                                                                                                                                                                                                                                                                                                                       650
  176   Omni XX   Hueschen, Jr., Lester L.     3118 Jackson Boulevard Chalmette       LA      70043   [XX]             9/4/2015     Yes         2,647         Property Tax            Yes                                                                   Taihe/ Crescent City     Photo               17, 27               D, I                                                                                                                                                         Thornhill Law Firm, Fayard &           Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                                                                                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                              Honeycutt APLC and N. Frank Elliot     Thornhill Law Firm
                                                                                                                                                          with Square Footage                           0.86               94.47           $250,062.09                                                                                    HUESCHEN, LESTER L., JR. Current Owner                     City or County Tax Records           9/19/2012                Current Owner           III, LLC                               1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Slidell, LA 70458

  177   Omni XX   Hutchins, Christopher        3612 Churchills Down     Davie         FL      33328   [XX]             9/4/2015     Yes         5,967         Property Tax            Yes                                                                   C&K                      Photo               34                   B                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                                                                                                                                                                                                          PAPAGEORGIOU,ALEXAND
                                               Drive                                                                                                      Assessor's Document                           0.81               88.98           $530,943.66                                                                                                         Previous Owner                        City or County Tax Records           2/15/2007                  11/26/2014                                                   255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                          RA
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Coral Gables, FL 33134
  178   Omni XX   Ingargiola, Brenda C.        2300 Emily Oaks Dr.      Meraux        LA      70075   [XX]             9/4/2015     Yes         2,728         Property Tax            Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                                                                                                                                                          Assessor's Document                           0.86               94.47           $257,714.16                                                                                    HUNT, ANDREW J., JR.         Current Owner                 City or County Tax Records           10/1/2015                Current Owner                                                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     303
  179   Omni XX   Inigo, Joaquin               10902 NW 83rd Street,    Doral         FL      33178   [XX]             9/4/2015     Yes         1,385         Property Tax            Yes                                                                   Taishan                  Inspection Report   12                   L                                                                                                                                                            VM Diaz and Partners                   Victor Diaz, Esq.                   (305) 704-3200   victor@diazpartners.com
                                               Unit #215                                                                                                  Assessor's Document                           0.81               88.98           $123,237.30                                                                                    JOAQUIN INIGO                Current Owner                 City or County Tax Records           11/5/2010                Current Owner                                                  1900 Washington Ave., Suite 402
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Miami Beach, FL 33139
  180   Omni XX   Jagat, Harry and Christine   12600 NW 79 Manor        Parkland      FL      33076   [XX]             9/4/2015     Yes         2,932     Property Tax        Yes                                                                           BNBMDB                   Photo               25                   A                                                                                                                                                            Krupnick Cambell                       Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                          Assessor's Document                           0.81               88.98           $260,889.36                                                                                    JAGAT,CHRISTINE              Current Owner                 City or County Tax Records           11/22/2006               Current Owner                                                  12 SE 7th St #801
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Lauderdale, FL 33301-3434
  181   Omni XX   Jarrett, Dave                1323 Lyonshire Drive     Wesley        FL      33543   [XX]             9/4/2015     Yes         1,401         Property Tax            Yes                                                                   Chinese Manufacturer 2   Photo               37                   C           JARRETT DAVID E &                                                                                                                                Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                        Chapel                                                                            Assessor's Document                           0.83               91.18           $127,743.18                                                                                    BEVERLEY R                   Current Owner                 City or County Tax Records           4/20/2005                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  182   Omni XX   Jasmund, Wilbert J. & Irma 2592 Clipper Circle        West Palm     FL      33411   [XX]             9/4/2015     Yes         1,617     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                          LEAVY GAIL &
                  L.                                                    Beach                                                                             Assessor's Document                           0.82               90.08           $145,659.36                                                                                                                 Previous Owner                City or County Tax Records           10/31/2001                  3/10/2014                                                   12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                          LEAVY HOWARD
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  183   Omni XX   Javed, Mohammad              1341 S.W. Oriole Lane    Port St. Lucie FL     34953   [XX]             9/4/2015     Yes         1,698         Property Tax            Yes                                                                   Taishan                  Photo               2                    J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                          Assessor's Document                           0.82               90.08           $152,955.84                                                                                    MIGUEL O FORERO              Previous Owner                City or County Tax Records           4/21/2005                  11/18/2013            Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  184   Omni XX   JGO Properties LLC -         203, 205 & 207 West      New Orleans LA        70124   [XX]             9/4/2015     Yes         4,228         Property Tax            No                                                                    Taihe                    Photo               21                   I                                                                                                                                                            Pro Se                                 N/A                                 N/A              N/A                                              BKC confirmed sq ft
                  Owner, Gary Quaintance       Harrison                                                                                                   Assessor's Document
                                                                                                                                                                                                        0.86               94.47           $399,419.16                                                                                    JGO PROPERTIES LLC           Current Owner                 City or County Tax Records           9/13/2006                Current Owner
                                                                                                                                                          with Square Footage

  185   Omni XX   Johnson, Micheal             351 County Road 6        Heflin        AL      36264   [XX],            9/4/2015     Yes         1,540            Other              No, Yes                                                                 Taihe                    Photo               17                   I                                                                                                                                                            Collins & Horsley                      W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                                                                                                                                                                                                                                                          NATIONSTAR MORTGAGE
                                                                                                      [XXVIII]                                                                                                                                                                                                                                                                                                                                                                                                                    Collins Law Firm                                     .com
                                                                                                                                                                                                        0.82               90.08           $138,723.20                                                                                    LLC C/O SAVANNAH    Unable to Confirm Ownership            City or County Tax Records            Unknown                    Unknown
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                          TAYLOR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Hoover, AL 35226
  186   Omni XX   Johnson, Raymond             2809 Newbern Way         Clearwater    FL      33761   [XX]             9/4/2015     Yes         1,740     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C           REIMONDEZ, JOSE JAVIER                                                                                                                           Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                          Assessor's Document                           0.82               90.08           $156,739.20                                                                                    REIMONDEZ, ANIUSHKA    Previous Owner                      City or County Tax Records           6/17/2002                   6/10/2016                                                   12800 University Drive, Suite 600                    om
                                                                                                                                                          with Square Footage                                                                                                                                                             CARABALL                                                                                                                                                                                Fort Myers, FL 33907
  187   Omni XX   Jones, George                5620 4th Street          Violet        LA      70092   [XX]             9/4/2015     Yes         1,000         Property Tax            Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                          Assessor's Document                           0.86               94.47            $94,470.00                                                                                    JONES, GEORGE                Current Owner                 City or County Tax Records           10/31/2012               Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  188   Omni XX   Jones, Howard C.             7911 Windward Court      New Orleans LA        70128   [XX]             9/4/2015     Yes         1,708         Property Tax            Yes                                                                   Taihe                    Photo               19                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                                                                        0.86               94.47           $161,354.76                                                                                    JONES HOWARD C               Current Owner                 City or County Tax Records            5/8/2007                Current Owner
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Birmingham, AL 35209
  189   Omni XX   Jones, Marian                2817 Newbern Way         Clearwater    FL      33761   [XX]             9/4/2015     Yes         1,740     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                          Assessor's Document                           0.82               90.08           $156,739.20                                                                                    JONES, MARIAN E              Current Owner                 City or County Tax Records           7/29/2002                Current Owner                                                  12800 University Drive, Suite 600                    om
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  190   Omni XX   Jones, Steve                 3316 Marietta Street     Chalmette     LA      70043   [XX]             9/4/2015     Yes         1,160         Property Tax            Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                          Assessor's Document                           0.86               94.47           $109,585.20                                                                                    JONES, STEPHEN G             Current Owner                 City or County Tax Records           7/19/2013                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  191   Omni XX   Kaiser nka Price, Kristen    12437 Country White      Tampa         FL      33635   [XX]             9/4/2015     Yes         1,134     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                          HERRAN HENRY A
                                               Circle                                                                                                     Assessor's Document                           0.83               91.18           $103,398.12                                                                                                                 Previous Owner                City or County Tax Records           1/11/2005                   7/23/2015                                                   12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                          HERRAN DORA A
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Fort Myers, FL 33907
  192   Omni XX   Kaplan, Wayne                17866 Lake Azure Way Boca Raton        FL      33496   [XX]             9/4/2015     Yes         4,661         Property Tax            Yes                                                                   Taishan                  Photo               2                    J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                          Assessor's Document                           0.82               90.08           $419,862.88                                                                                    WOODS PROPERTIES INC         Previous Owner                City or County Tax Records            1/1/2007                   12/1/2014            Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  193   Omni XX   Kardon, Anna                 1726 Burdette St.        New Orleans LA        70118   [XX]             9/4/2015     Yes         1,210     Property Tax        Yes                                                                           Taihe                    Photo               19, 21               I                                                                                                                                                            Lemmon Law Firm                        Andrew Lemmon, Esq.                 985-783-6789     andrew@lemmonlawfirm.c
                                                                                                                                                          Assessor's Document                                                                                                                                                             RAY JONATHAN H                                                                                                                                                                          PO Box 904 (mailing address)                         om
                                                                                                                                                                                                        0.86               94.47           $114,308.70                                                                                                                 Previous Owner                City or County Tax Records           7/14/2011                   5/10/2016
                                                                                                                                                          with Square Footage                                                                                                                                                             RAY ELIZABETH K                                                                                                                                                                         15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Hahnville, LA 70057
  194   Omni XX   Kelley, Laurie C.and David 11143 Pacifica St.         Wellington    FL      33449   [XX]             9/4/2015     Yes         2,951        Property Tax             Yes                                                                   Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Thornhill Law Firm, Fayard &           Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                  B.                                                                                                                                      Assessor's Document                                                                                                                                                             KELLEY DAVID B &                                                                                                                                 Honeycutt APLC and N. Frank Elliot     Thornhill Law Firm
                                                                                                                                                                                                        0.82               90.08           $265,826.08                                                                                                                 Current Owner                 City or County Tax Records           12/9/2013                Current Owner
                                                                                                                                                          with Square Footage                                                                                                                                                             KELLEY LAURIE C                                                                                                                                  III, LLC                               1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Slidell, LA 70458
  195   Omni XX   Kellogg, Jarmaal and Vicki   5801 Arden Street        Portsmouth    VA      23703   [XX]             9/4/2015     Yes         2,102        Property Tax             Yes                                                                   Venture Supply           Delivery Invoice    N/A                  K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                          Assessor's Document                           0.88               96.67           $203,200.34                                                                                    UNKNOWN                      Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     580 East Main Street, Suite 310
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     Norfolk, VA 23510
  196   Omni XX   Kennedy, John                16642 Lodge Road         Vance         AL      35490   [XX],            9/4/2015     Yes         1,200        Property Tax             Yes                                                                   Taihe                    Photo               20                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                      [XXVIII]                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                                                                        0.85               93.37           $112,044.00                                                                                    UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Birmingham, AL 35209
  197   Omni XX   King, Tracy                  238 Billy King Drive     Boaz          AL      35956   [XX],            9/4/2015     Yes         3,395        Property Tax             Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                      [XXVIII]                                            Assessor's Document                           0.82               90.08           $305,821.60                                                                                    KING, TRACY & TONYA          Current Owner                 City or County Tax Records            4/4/2007                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     650
  198   Omni XX   Kirby, Jay                   11001 Gulf Reflections   Ft. Myers     FL      33908   [XX]             9/4/2015     Yes         1,416        Property Tax             Yes                                                                   Taishan                  Photo               12                   L                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                               Drive, Unit A202                                                                                           Assessor's Document                           0.80               87.88           $124,438.08                                                                                    LAMMERS BRIAN                Previous Owner                City or County Tax Records           2/26/2007                   1/9/2012             Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                          with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
                                                                                                                            Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 7 of 28



Claimant Source   Claimant Name               Affected Property        City           State   Zip     Omni(s)        Date of Earliest PPF      Verified      Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia   Markings # from      Product                                                                                                                                                      Counsel                              Counsel Address                     Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                                        2017 Cost Per SF   2017 Remediation                                                                                   Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                          Prior Settlement
Identifier                                    Address                                                                 Filed Taishan (Yes/No)   Square       Provided Uploaded to    Declaration        Residential                                                                                       Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                       [B = A x $109.85]       Damages                                                                                     May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                               Payment(s)-
                                                                                                                          Omni                 Footage            Sharefile       Verifying Square   Location Factor                                                                                     Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                               [SF x B]                                                                                              Greer                                                                                                              Greer                                                                                                                                    FORTHCOMING
                                                                                                                                                                                      Footage             [A]
  199   Omni XX   Kirkconnell, Angelic        449 Scanlon Road SW      Palm Bay       FL      32908   [XX]             9/4/2015     Yes         1,784           Property Tax            Yes                                                                   Taishan                  Photo             2, 9                 J           MORRIS, ANTHONY                                                                                                                                  Roberts & Durkee PA Milstein         C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                            Assessor's Document                           0.84               92.27           $164,609.68                                                                                  LAMAR; MORRIS, SHANTA Previous Owner                       City or County Tax Records           6/23/2006                   3/21/2012            Adelman LLP                          2665 South Bayshore Drive Suite
                                                                                                                                                            with Square Footage                                                                                                                                                           J                                                                                                                                                                                     300
  200   Omni XX   Kolodziej, Maria            11615 Hammacks           Riverview      FL      33569   [XX]             9/4/2015     Yes         1,655           Property Tax            Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                            Parker Waichman                      Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                              Glades Drive                                                                                                  Assessor's Document                           0.83               91.18           $150,902.90                                                                                  PENIX JAIME                  Previous Owner                City or County Tax Records           10/30/2006                  3/31/2015                                                 27300 Riverview Center Blvd
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 Bonita Springs, FL 34134
  201   Omni XX   Kore Development, LLC       8121 NW 108th Place      Doral          FL      33178   [XX]             9/4/2015     Yes           0             Property Tax            Yes                                                                   IMT                      Photo             33                   F                                                                                                                                                            Allison Grant, P.A. Baron & Budd,    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                             See Amine El-Khoury on Ex
                                                                                                                                                            Assessor's Document                                                                                                                                                                                                                                                                                                            P.C.                                 Baron & Budd                                                                                         10/79
                                                                                                                                                                                                          0.81               88.98              $0.00                                                                                     KORE DEV GROUP LLC           Current Owner                 City or County Tax Records            8/4/2010                Current Owner
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Dallas, TX 75219
  202   Omni XX   Kupfer, Lawrence and Robin 9668 Ginger Court         Parkland       FL      33076   [XX]             9/4/2015     Yes         3,766       Property Tax        Yes                                                                           Dragon Brand             Photo             26                   A                                                                                                                                                            Krupnick Cambell                     Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                          KUPFER,LAWRENCE M &
                                                                                                                                                            Assessor's Document                           0.81               88.98           $335,098.68                                                                                                               Current Owner                 City or County Tax Records           12/5/2006                Current Owner                                                12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                          ROBIN L
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 Fort Lauderdale, FL 33301-3434
  203   Omni XX   La, No Thi                  9741 Reading Ave.        Garden Grove CA        92844   [XX], [XXIX]     9/4/2015     Yes         5,231           Property Tax            Yes                                                                   Crescent City            Photo             28, 29               D                                                                                                                                                            Burdman & Ward                       Scott Burdman, Esq.                 (888) 350-9080   sburdman@burdmanlaw.co
                                                                                                                                                            Assessor's Document                           1.14              125.23           $655,078.13                                                                                  UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     6370 Lusk Blvd., Suite F203                          m
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 San Diego, CA 92121
  204   Omni XX   Ladow, Dolores              2561 Deerfield Lake Ct. Cape Coral      FL      33909   [XX]             9/4/2015     Yes         1,630           Property Tax            Yes                                                                   ProWall                  Photo             43                   G                                                                                                                                                            Roberts & Durkee PA Milstein         C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                            Assessor's Document                           0.80               87.88           $143,244.40                                                                                  LADOW DOLORES R              Current Owner                 Tax Records + Title/Deed             4/29/2008                Current Owner           Adelman LLP                          2665 South Bayshore Drive Suite
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 300
  205   Omni XX   Landel, Beth and Fetterman, 7083 Lost Garden         Parkland       FL      33076   [XX]             9/4/2015     Yes         5,799           Property Tax            Yes                                                                   C&K                      Photo             34                   B                                                                                                                                                            Allison Grant, P.A.                  Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                  Adam                        Terrace                                                                                                       Assessor's Document                                                                                                                                                           FETTERMAN,ADAM                                                                                                                                                                        14 Southeast 4th Street
                                                                                                                                                                                                          0.81               88.98           $515,995.02                                                                                                               Current Owner                 City or County Tax Records           9/13/2007                Current Owner
                                                                                                                                                            with Square Footage                                                                                                                                                           LANDEL,BETH                                                                                                                                                                           Boca Raton, Florida 33432

  206   Omni XX   Lanier, Barbara             271 Jack Floyd Street    Boaz           AL      35956   [XX],            9/4/2015     Yes         1,623           Property Tax            Yes                                                                   Taihe                    Photo             13                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          LANIER, DONNY D & WF
                                                                                                      [XXVIII]                                              Assessor's Document                           0.82               90.08           $146,199.84                                                                                                               Current Owner                 City or County Tax Records           7/16/2006                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                          BARBARA
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  207   Omni XX   Latona, Jennifer            931 Golden Pond Court    Cape Coral     FL      33909   [XX]             9/4/2015     Yes         2,471           Property Tax            Yes                                                                   ProWall                  Photo             44                   G                                                                                                                                                            Parker Waichman                      Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          GUDELMAN PAUL A +
                                                                                                                                                            Assessor's Document                           0.80               87.88           $217,151.48                                                                                                               Previous Owner                Tax Records + Title/Deed              7/7/2010                   6/18/2013                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                          MARIA N
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 Bonita Springs, FL 34134
  208   Omni XX   Lee, Peter & Marie          2118 State St.           New Orleans LA         70118   [XX]             9/4/2015     Yes          710        Property Tax        Yes                                                                           Taihe                    Photo             21                   I                                                                                                                                                            Lemmon Law Firm                      Andrew Lemmon, Esq.                 985-783-6789     andrew@lemmonlawfirm.c
                                                                                                                                                                                                                                                                                                                                          LEE PETER W
                                                                                                                                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                                 PO Box 904 (mailing address)                         om
                                                                                                                                                                                                          0.86               94.47            $67,073.70                                                                                  LEE JUSTIN L                 Current Owner                 City or County Tax Records           8/17/2007                Current Owner
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 15058 River Road
                                                                                                                                                                                                                                                                                                                                          LEE PUI-HUNG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Hahnville, LA 70057
  209   Omni XX   Levi, Billie Jo             12644 Astor Place        Fort Myers     FL      33913   [XX]             9/4/2015     Yes         2,508           Property Tax            Yes                                                                   C&K                      Photo             34, 35               B                                                                                                                                                            Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                          CALKINS CHARLES A +
                                                                                                                                                            Assessor's Document                           0.80               87.88           $220,403.04                                                                                                               Previous Owner                City or County Tax Records           8/15/2007                  11/30/2015                                                 12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                          BEVERLY M
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 Fort Myers, FL 33907
  210   Omni XX   Lich, Jim                   213 North Mestre Place   North Venice FL        34275   [XX]             9/4/2015     Yes         1,683           Property Tax            Yes                                                                   Venture Supply           Photo             38, 39               K                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          MYLOTT CHRISTINE F
                                                                                                                                                            Assessor's Document                           0.83               91.18           $153,455.94                                                                                                               Previous Owner                City or County Tax Records           7/25/2006                   8/5/2015                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                          MYLOTT STEVEN M
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  211   Omni XX   Lightsey, Jeff              393 Deer Crossing Lane Chelsea          AL      35043   [XX],            9/4/2015     Yes         1,909        Appraisal Showing          Yes                                                                   Taihe                    Photo             20                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                      [XXVIII]                                                 Floor Plan and                             0.84               92.27           $176,143.43                                                                                  LIGHTSEY JEFFREY P           Current Owner                 City or County Tax Records           12/29/2005               Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                              Square Footage                                                                                                                                                                                                                                                                                                                                                    650
  212   Omni XX   Little, Donna               24968 Steadfast Court    Daphne         AL      36526   [XX],            9/4/2015     Yes         2,192           Property Tax            Yes                                                                   Taihe                    Photo             20                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          SMITH, DANA S ETAL
                                                                                                      [XXVIII]                                              Assessor's Document                           0.84               92.27           $202,255.84                                                                                                               Previous Owner                City or County Tax Records           12/22/2006                    2015                                                    2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                          SMITH, MARIE
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  213   Omni XX   Little, Gene                717 North Parkell        Hueytown       AL      35023   [XX],            9/4/2015     Yes         1,359           Property Tax            Yes                                                                   Taihe                    Photo             17                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          LITTLE ZACHARIAH
                                              Avenue                                                  [XXVIII]                                              Assessor's Document                                                                                                                                                                                                                                                                                                                                                 2100 Southbridge Parkway, Suite
                                                                                                                                                                                                          0.84               92.27           $125,394.93                                                                                  HARSON EUGENE &              Current Owner                 City or County Tax Records              2014                  Current Owner
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
                                                                                                                                                                                                                                                                                                                                          NATHANIEL LEE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Birmingham, AL 35209
  214   Omni XX   Little, Zacharia            4100 Boston Road         Adger          AL      35006   [XX],            9/4/2015     Yes         1,912              Other                Yes                                                                   Taihe                    Photo             17                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                      [XXVIII]                                                                                            0.84               92.27           $176,420.24                                                                                  LITTLE ZACHARIAH H           Current Owner                 City or County Tax Records              2010                  Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                650
  215   Omni XX   Lochhead, Kenneth D. &      1303 Lake View Drive     Mission        TX      78572   [XX],            9/4/2015     Yes         1,667          Property Tax             Yes                                                                   ProWall                  Photo             43                   G                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                          LOCHHEAD KENNETH
                  Webster, Maria L.                                                                   [XXXII]                                               Assessor's Document                           0.84               92.27           $153,814.09                                                                                                               Current Owner                 City or County Tax Records           1/26/2009                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                          DONALD
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  216   Omni XX   LoGrasso, Azucena           529 E. Sheridan St., Unit Dania Beach   FL      33004   [XX]             9/4/2015     Yes           0            Property Tax             Yes                                                                   Taishan                  Photo             12                   L                                                                                                                                                            Allison Grant, P.A. Baron & Budd,    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                             See Sheridan Beach Club
                                              404                                                                                                           Assessor's Document                                                                                                                                                           LOGRASSO,ANTHONY                                                                                                                                 P.C.                                 Baron & Budd                                                                                         Condominium Number Three,
                                                                                                                                                                                                          0.81               88.98              $0.00                                                                                                                  Current Owner                 City or County Tax Records           1/30/2009                Current Owner
                                                                                                                                                            with Square Footage                                                                                                                                                           LOGRASSO,AZUCENA                                                                                                                                                                      3102 Oak Lawn Ave., Ste. 1100                                                                        Inc. on Ex 10/79
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Dallas, TX 75219
  217   Omni XX   Lopez-Santiago, Victor &    361 NE 35th Avenue       Homestead      FL      33033   [XX]             9/4/2015     Yes         1,537       Property Tax                Yes                                                                   Taishan                  Photo             12                   L                                                                                                                                                            Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                          FARB HOLDINGS GROUP
                  Rodriguez, Jenny                                                                                                                          Assessor's Document                           0.81               88.98           $136,762.26                                                                                                               Previous Owner                City or County Tax Records           11/8/2006                   5/20/2016                                                 12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                          LLC
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 Fort Myers, FL 33907
  218   Omni XX   Lott, Dolly                 2607 Nina Drive          Picayune       MS      39466   [XX], [XXXI]     9/4/2015     Yes           0             Property Tax            Yes                                                                   Taihe                    Photo             21                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com                             See Robert and Elizabeth
                                                                                                                                                                                                                                                                                                                                          LOTT DOLLY E & RODNEY
                                                                                                                                                            Assessor's Document                           0.79               86.78              $0.00                                                                                                           Current Owner                        City or County Tax Records           1/21/2015                Current Owner                                                2100 Southbridge Parkway, Suite                                                                      Johnson on Ex 10/79
                                                                                                                                                                                                                                                                                                                                          C
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  219   Omni XX   Lu, Jian                    1333 Lyonshire Drive     Wesley         FL      33543   [XX]             9/4/2015     Yes         1,455           Property Tax            Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                            Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                       Chapel                                                                               Assessor's Document                           0.83               91.18           $132,666.90                                                                                  LU JIAN & JINLI XIE          Current Owner                 City or County Tax Records           9/27/2002                Current Owner                                                12800 University Drive, Suite 600                    om
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 Fort Myers, FL 33907
  220   Omni XX   Lustberg, Gary and Patricia 17842 Lake Azure Way Boca Raton         FL      33496   [XX]             9/4/2015     Yes         4,273       Property Tax        Yes                                                                           Taishan                  Photo             2                    J                                                                                                                                                            Krupnick Cambell                     Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                            Assessor's Document                           0.82               90.08           $384,911.84                                                                                  STANO MARC                   Previous Owner                City or County Tax Records           11/27/2006                  3/25/2016                                                 12 SE 7th St #801
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 Fort Lauderdale, FL 33301-3434
  221   Omni XX   Mack, Jr., Betty W. and     9834 East Rockton Circle New Orleans LA         70127   [XX]             9/4/2015     Yes         1,476           Property Tax            Yes                                                                   Taihe                    Photo             18                   I                                                                                                                                                            Thornhill Law Firm, Fayard &         Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                  Curtis                                                                                                                                    Assessor's Document                                                                                                                                                           MACK CURTIS JR                                                                                                                                   Honeycutt APLC and N. Frank Elliot   Thornhill Law Firm
                                                                                                                                                                                                          0.86               94.47           $139,437.72                                                                                                               Current Owner                 City or County Tax Records           9/11/1995                Current Owner
                                                                                                                                                            with Square Footage                                                                                                                                                           MACK BETTY W                                                                                                                                     III, LLC                             1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Slidell, LA 70458
  222   Omni XX   MacMillan, Cameron and      6466 33rd Pl.            Vero Beach     FL      32966   [XX]             9/4/2015     Yes         1,869          Property Tax             Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                            Allison Grant, P.A. Baron & Budd,    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                  Amy                                                                                                                                       Assessor's Document                                                                                                                                                           MACMILLAN, CAMERON                                                                                                                               P.C.                                 Baron & Budd
                                                                                                                                                                                                          0.84               92.27           $172,452.63                                                                                                               Current Owner                 City or County Tax Records            3/9/2001                Current Owner
                                                                                                                                                            with Square Footage                                                                                                                                                           AND AMY                                                                                                                                                                               3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Dallas, TX 75219
  223   Omni XX   MacNeil, Dolores            2018 NW 11th Court       Cape Coral     FL      33993   [XX]             9/4/2015     Yes         1,564          Property Tax             Yes                                                                   ProWall                  Photo             43, 44               G                                                                                                                                                            Parker Waichman                      Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                          MACNEIL HERMAN +
                                                                                                                                                            Assessor's Document                           0.80               87.88           $137,444.32                                                                                                               Current Owner                 Tax Records + Title/Deed             9/15/2008                Current Owner                                                27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                          DOLORES D
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 Bonita Springs, FL 34134
  224   Omni XX   Madary, Stephen             8553-5 Valor Street      Chalmette      LA      70043   [XX]             9/4/2015     Yes         1,900          Property Tax                                                                                   Taishan/ Crescent City   Photo             12, 27               D, L                                                                                                                                                         Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                            Assessor's Document                           0.86               94.47           $179,493.00                                                                                  MADARY, STEPHEN              Current Owner                 City or County Tax Records            3/5/2013                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  225   Omni XX   Madary, William             1100 Perrin Drive        Arabi          LA      70032   [XX]             9/4/2015     Yes         3,293              Other                Yes                                                                   Taihe                    Photo             18                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                          0.86               94.47           $311,089.71                                                                                  MADARY, WILLIAM G., II       Current Owner                 City or County Tax Records           11/10/1959               Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                650
  226   Omni XX   Magalhaes, Tony             395 Albatross Road       Rotunda West FL        33047   [XX]             9/4/2015     Yes         1,631          Property Tax             Yes                                                                   Taishan                  Photo             8                    J                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                            Assessor's Document                           0.81               88.98           $145,126.38                                                                                  MAGALHAES ANTONIO S          Current Owner                 City or County Tax Records           3/26/2009                Current Owner                                                2100 Southbridge Parkway, Suite
                                                                                                                                                            with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  227   Omni XX   Magee, Sonia                4651 Longfellow Drive    New Orleans LA         70127   [XX]             9/4/2015     Yes         1,387          Property Tax             Yes                                                                   Taihe                    Photo             17                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                            Assessor's Document                                                                                                                                                           ROBERTS SONIA M                                                                                                                                                                       2100 Southbridge Parkway, Suite
                                                                                                                                                                                                          0.86               94.47           $131,029.89                                                                                                               Current Owner                 City or County Tax Records           3/24/1988                Current Owner
                                                                                                                                                            with Square Footage                                                                                                                                                           ROBERTS TROY M                                                                                                                                                                        650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Birmingham, AL 35209
  228   Omni XX   Magnolia Gardens - Bekirov, 3406 SE 6th Street       Pompano        FL      33062   [XX]             9/4/2015     Yes         2,915      Property Tax                 Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                            Roberts & Durkee PA Milstein         C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                          RIVARD,ANDRE
                  Askel                                                Beach                                                                            Assessor's Document                               0.81               88.98           $259,376.70                                                                                                               Previous Owner                City or County Tax Records            4/7/2008                   8/11/2011            Adelman LLP                          2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                          MALONEY,FRANCE
                                                                                                                                                        with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  229   Omni XX   Magnolia Gardens - Bekirov, 3408 SE 6th Street       Pompano        FL      33062   [XX]             9/4/2015     Yes         2,915      Property Tax                 Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                            Roberts & Durkee PA Milstein         C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                  Askel                                                Beach                                                                            Assessor's Document                               0.81               88.98           $259,376.70                                                                                  GRUBER,ALLEN & JULIE         Previous Owner                City or County Tax Records            4/7/2008                   8/11/2011            Adelman LLP                          2665 South Bayshore Drive Suite
                                                                                                                                                        with Square Footage                                                                                                                                                                                                                                                                                                                                                     300
  230   Omni XX   Mahaffey, James dba         8510 Jamestown Drive     Winter Haven FL        33884   [XX]             9/4/2015     Yes           1,150    Property Tax                 Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                                Assessor's Document                                                                                                                                                               CARLTON ARMS OF                                                                                                                                                                       2800 Energy Centre
                                                                                                                                                                                                          0.80               87.88           $101,062.00                                                                                                               Current Owner                 City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                            with Square Footage                                                                                                                                                               WINTER HAVEN LLP                                                                                                                                                                      1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
  231   Omni XX   Mahaffey, James dba         8511 Jamestown Drive     Winter Haven FL        33884   [XX]             9/4/2015     Yes               790      Property Tax             Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                                    Assessor's Document                                                                                                                                                           CARLTON ARMS OF                                                                                                                                                                       2800 Energy Centre
                                                                                                                                                                                                          0.80               87.88            $69,425.20                                                                                                               Current Owner                 City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                                with Square Footage                                                                                                                                                           WINTER HAVEN LLP                                                                                                                                                                      1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
  232   Omni XX   Mahaffey, James dba         8512 Jamestown Drive     Winter Haven FL        33884   [XX]             9/4/2015     Yes           1,150        Property Tax             Yes                                                                   Taihe                    Photo             14                   H                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                                    Assessor's Document                                                                                                                                                           CARLTON ARMS OF                                                                                                                                                                       2800 Energy Centre
                                                                                                                                                                                                          0.80               87.88           $101,062.00                                                                                                               Current Owner                 City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                                with Square Footage                                                                                                                                                           WINTER HAVEN LLP                                                                                                                                                                      1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
  233   Omni XX   Mahaffey, James dba         8514 Jamestown Drive     Winter Haven FL        33884   [XX]             9/4/2015     Yes               790      Property Tax             Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                                    Assessor's Document                                                                                                                                                           CARLTON ARMS OF                                                                                                                                                                       2800 Energy Centre
                                                                                                                                                                                                          0.80               87.88            $69,425.20                                                                                                               Current Owner                 City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                                with Square Footage                                                                                                                                                           WINTER HAVEN LLP                                                                                                                                                                      1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
  234   Omni XX   Mahaffey, James dba         8515 Jamestown Drive     Winter Haven FL        33884   [XX]             9/4/2015     Yes           1,150        Property Tax             Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                                    Assessor's Document                                                                                                                                                           CARLTON ARMS OF                                                                                                                                                                       2800 Energy Centre
                                                                                                                                                                                                          0.80               87.88           $101,062.00                                                                                                               Current Owner                 City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                                with Square Footage                                                                                                                                                           WINTER HAVEN LLP                                                                                                                                                                      1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
  235   Omni XX   Mahaffey, James dba         8518 Jamestown Drive     Winter Haven FL        33884   [XX]             9/4/2015     Yes           1,150        Property Tax             Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                                    Assessor's Document                                                                                                                                                           CARLTON ARMS OF                                                                                                                                                                       2800 Energy Centre
                                                                                                                                                                                                          0.80               87.88           $101,062.00                                                                                                               Current Owner                 City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                                with Square Footage                                                                                                                                                           WINTER HAVEN LLP                                                                                                                                                                      1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
  236   Omni XX   Mahaffey, James dba         8519 Jamestown Drive     Winter Haven FL        33884   [XX]             9/4/2015     Yes               790      Property Tax             Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                                    Assessor's Document                                                                                                                                                           CARLTON ARMS OF                                                                                                                                                                       2800 Energy Centre
                                                                                                                                                                                                          0.80               87.88            $69,425.20                                                                                                               Current Owner                 City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                                with Square Footage                                                                                                                                                           WINTER HAVEN LLP                                                                                                                                                                      1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
  237   Omni XX   Mahaffey, James dba         8522 Jamestown Drive     Winter Haven FL        33884   [XX]             9/4/2015     Yes               790      Property Tax             Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                            Gainsburgh Benjamin                  Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                                    Assessor's Document                                                                                                                                                           CARLTON ARMS OF                                                                                                                                                                       2800 Energy Centre
                                                                                                                                                                                                          0.80               87.88            $69,425.20                                                                                                               Current Owner                 City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                                with Square Footage                                                                                                                                                           WINTER HAVEN LLP                                                                                                                                                                      1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                New Orleans, LA 70163
                                                                                                               Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 8 of 28



Claimant Source   Claimant Name            Affected Property      City        State   Zip     Omni(s)   Date of Earliest PPF      Verified  Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                    Counsel               Counsel Address         Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                                       2017 Cost Per SF   2017 Remediation                                                                               Current Owner as of                                                                                            Sell Date if Applicable or                                                                                           Prior Settlement
Identifier                                 Address                                                       Filed Taishan (Yes/No)   Square   Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                      [B = A x $109.85]       Damages                                                                                 May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                Payment(s)-
                                                                                                             Omni                 Footage        Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                       Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                              [SF x B]                                                                                          Greer                                                                                                             Greer                                                                                                     FORTHCOMING
                                                                                                                                                                     Footage             [A]
  238   Omni XX   Mahaffey, James dba      8523 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150     Property Tax            Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                   Assessor's Document                                                                                                                                                        CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                               with Square Footage                                                                                                                                                        WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  239   Omni XX   Mahaffey, James dba      8532 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $112,486.40                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  240   Omni XX   Mahaffey, James dba      8534 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  241   Omni XX   Mahaffey, James dba      8535 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  242   Omni XX   Mahaffey, James dba      8536 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  243   Omni XX   Mahaffey, James dba      8537 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe/ C&K         Photo                14, 35               B, H                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  244   Omni XX   Mahaffey, James dba      8538 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taishan/ Taihe     Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $112,486.40                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  245   Omni XX   Mahaffey, James dba      8539 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taishan/ Taihe     Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $112,486.40                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  246   Omni XX   Mahaffey, James dba      8550 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  247   Omni XX   Mahaffey, James dba      8551 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  248   Omni XX   Mahaffey, James dba      8552 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  249   Omni XX   Mahaffey, James dba      8553 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo                14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  250   Omni XX   Mahaffey, James dba      8555 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taishan/ C&K       Photo                1, 35                B, H                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  251   Omni XX   Mahaffey, James dba      8560 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  252   Omni XX   Mahaffey, James dba      8561 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  253   Omni XX   Mahaffey, James dba      8562 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  254   Omni XX   Mahaffey, James dba      8563 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  255   Omni XX   Mahaffey, James dba      8564 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  256   Omni XX   Mahaffey, James dba      8565 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  257   Omni XX   Mahaffey, James dba      8566 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  258   Omni XX   Mahaffey, James dba      8567 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  259   Omni XX   Mahaffey, James dba      8568 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  260   Omni XX   Mahaffey, James dba      8569 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
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                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  261   Omni XX   Mahaffey, James dba      8570 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  262   Omni XX   Mahaffey, James dba      8571 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  263   Omni XX   Mahaffey, James dba      8572 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  264   Omni XX   Mahaffey, James dba      8573 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  265   Omni XX   Mahaffey, James dba      8574 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  266   Omni XX   Mahaffey, James dba      8575 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  267   Omni XX   Mahaffey, James dba      8580 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  268   Omni XX   Mahaffey, James dba      8581 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  269   Omni XX   Mahaffey, James dba      8582 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  270   Omni XX   Mahaffey, James dba      8583 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
                                                                                                               Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 9 of 28



Claimant Source   Claimant Name            Affected Property      City        State   Zip     Omni(s)   Date of Earliest PPF      Verified  Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                    Counsel               Counsel Address         Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                                       2017 Cost Per SF   2017 Remediation                                                                               Current Owner as of                                                                                            Sell Date if Applicable or                                                                                           Prior Settlement
Identifier                                 Address                                                       Filed Taishan (Yes/No)   Square   Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                      [B = A x $109.85]       Damages                                                                                 May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                Payment(s)-
                                                                                                             Omni                 Footage        Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                       Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                              [SF x B]                                                                                          Greer                                                                                                             Greer                                                                                                     FORTHCOMING
                                                                                                                                                                     Footage             [A]
  271   Omni XX   Mahaffey, James dba      8584 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500     Property Tax            Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                   Assessor's Document                                                                                                  Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                               with Square Footage                                                                                                                                                        WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  272   Omni XX   Mahaffey, James dba      8585 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  273   Omni XX   Mahaffey, James dba      8586 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  274   Omni XX   Mahaffey, James dba      8587 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  275   Omni XX   Mahaffey, James dba      8595 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  276   Omni XX   Mahaffey, James dba      8596 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  277   Omni XX   Mahaffey, James dba      8597 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  278   Omni XX   Mahaffey, James dba      8598 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  279   Omni XX   Mahaffey, James dba      8599 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  280   Omni XX   Mahaffey, James dba      8600 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  281   Omni XX   Mahaffey, James dba      8605 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  282   Omni XX   Mahaffey, James dba      8606 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            890       Property Tax           Yes                                                                   Taishan/ Taihe     Photo                1, 14                H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $78,213.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  283   Omni XX   Mahaffey, James dba      8607 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  284   Omni XX   Mahaffey, James dba      8608 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            890       Property Tax           Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $78,213.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  285   Omni XX   Mahaffey, James dba      8609 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            890       Property Tax           Yes                                                                   Taishan/ Taihe     Photo                1, 21                H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $78,213.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  286   Omni XX   Mahaffey, James dba      8610 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  287   Omni XX   Mahaffey, James dba      8611 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            890       Property Tax           Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $78,213.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  288   Omni XX   Mahaffey, James dba      8612 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  289   Omni XX   Mahaffey, James dba      8615 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  290   Omni XX   Mahaffey, James dba      8616 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $82,958.72                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  291   Omni XX   Mahaffey, James dba      8617 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  292   Omni XX   Mahaffey, James dba      8618 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $82,958.72                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  293   Omni XX   Mahaffey, James dba      8619 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $82,958.72                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  294   Omni XX   Mahaffey, James dba      8620 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            984       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $86,473.92                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  295   Omni XX   Mahaffey, James dba      8621 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $82,958.72                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  296   Omni XX   Mahaffey, James dba      8622 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            984       Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $86,473.92                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  297   Omni XX   Mahaffey, James dba      8623 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $82,958.72                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  298   Omni XX   Mahaffey, James dba      8624 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  299   Omni XX   Mahaffey, James dba      8625 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $82,958.72                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  300   Omni XX   Mahaffey, James dba      8626 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  301   Omni XX   Mahaffey, James dba      8630 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  302   Omni XX   Mahaffey, James dba      8631 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  303   Omni XX   Mahaffey, James dba      8632 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                      CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                      WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
                                                                                                             Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 10 of 28



Claimant Source   Claimant Name            Affected Property       City        State   Zip     Omni(s)   Date of Earliest PPF      Verified Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                    Counsel               Counsel Address         Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                                       2017 Cost Per SF   2017 Remediation                                                                               Current Owner as of                                                                                            Sell Date if Applicable or                                                                                           Prior Settlement
Identifier                                 Address                                                        Filed Taishan (Yes/No)   Square  Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                      [B = A x $109.85]       Damages                                                                                 May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                Payment(s)-
                                                                                                              Omni                 Footage       Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                       Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                              [SF x B]                                                                                          Greer                                                                                                             Greer                                                                                                     FORTHCOMING
                                                                                                                                                                     Footage             [A]
  304   Omni XX   Mahaffey, James dba      8633 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            790     Property Tax            Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                   Assessor's Document                                                                                                  Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                               with Square Footage                                                                                                                                                        WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  305   Omni XX   Mahaffey, James dba      8634 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  306   Omni XX   Mahaffey, James dba      8635 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  307   Omni XX   Mahaffey, James dba      8636 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  308   Omni XX   Mahaffey, James dba      8637 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                               Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  309   Omni XX   Mahaffey, James dba      8638 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                               Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  310   Omni XX   Mahaffey, James dba      8639 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 18, 21           H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  311   Omni XX   Mahaffey, James dba      8640 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                               Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  312   Omni XX   Mahaffey, James dba      8641 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  313   Omni XX   Mahaffey, James dba      8642 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  314   Omni XX   Mahaffey, James dba      8643 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan/ Taihe     Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  315   Omni XX   Mahaffey, James dba      8644 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  316   Omni XX   Mahaffey, James dba      8645 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  317   Omni XX   Mahaffey, James dba      8650 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taihe              Photo                14, 18, 21           H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  318   Omni XX   Mahaffey, James dba      8651 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  319   Omni XX   Mahaffey, James dba      8652 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  320   Omni XX   Mahaffey, James dba      8653 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  321   Omni XX   Mahaffey, James dba      8654 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  322   Omni XX   Mahaffey, James dba      8674 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax          Yes                                                                   Taihe              Photo                14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  323   Omni XX   Mahaffey, James dba      8680 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  324   Omni XX   Mahaffey, James dba      8682 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  325   Omni XX   Mahaffey, James dba      8685 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                               Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  326   Omni XX   Mahaffey, James dba      8693 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  327   Omni XX   Mahaffey, James dba      8694 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taihe              Photo                14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  328   Omni XX   Mahaffey, James dba      8695 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  329   Omni XX   Mahaffey, James dba      8700 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taishan/ Taihe     Photo                1, 14, 21            H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  330   Omni XX   Mahaffey, James dba      8701 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  331   Omni XX   Mahaffey, James dba      8702 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  332   Omni XX   Mahaffey, James dba      8703 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $145,002.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  333   Omni XX   Mahaffey, James dba      8704 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $131,820.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  334   Omni XX   Mahaffey, James dba      8715 Jamestown Drive,   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  335   Omni XX   Mahaffey, James dba      8716 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  336   Omni XX   Mahaffey, James dba      8717 Jamestown Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
                                                                                                            Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 11 of 28



Claimant Source   Claimant Name            Affected Property      City        State   Zip     Omni(s)   Date of Earliest PPF      Verified Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                    Counsel               Counsel Address         Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                                      2017 Cost Per SF   2017 Remediation                                                                               Current Owner as of                                                                                            Sell Date if Applicable or                                                                                           Prior Settlement
Identifier                                 Address                                                       Filed Taishan (Yes/No)   Square  Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                     [B = A x $109.85]       Damages                                                                                 May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                Payment(s)-
                                                                                                             Omni                 Footage       Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                       Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                             [SF x B]                                                                                          Greer                                                                                                             Greer                                                                                                     FORTHCOMING
                                                                                                                                                                    Footage             [A]
  337   Omni XX   Mahaffey, James dba      8718 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790     Property Tax            Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                  Assessor's Document                                                                                                                                                        CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                              with Square Footage                                                                                                                                                        WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  338   Omni XX   Mahaffey, James dba      8719 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  339   Omni XX   Mahaffey, James dba      8720 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  340   Omni XX   Mahaffey, James dba      8721 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  341   Omni XX   Mahaffey, James dba      8722 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  342   Omni XX   Mahaffey, James dba      8723 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  343   Omni XX   Mahaffey, James dba      8724 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  344   Omni XX   Mahaffey, James dba      8725 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  345   Omni XX   Mahaffey, James dba      8726 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  346   Omni XX   Mahaffey, James dba      8727 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  347   Omni XX   Mahaffey, James dba      8728 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
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                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  348   Omni XX   Mahaffey, James dba      8729 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  349   Omni XX   Mahaffey, James dba      8730 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  350   Omni XX   Mahaffey, James dba      8740 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  351   Omni XX   Mahaffey, James dba      8741 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  352   Omni XX   Mahaffey, James dba      8742 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                               Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  353   Omni XX   Mahaffey, James dba      8743 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                               Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  354   Omni XX   Mahaffey, James dba      8744 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  355   Omni XX   Mahaffey, James dba      8745 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  356   Omni XX   Mahaffey, James dba      8746 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  357   Omni XX   Mahaffey, James dba      8747 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  358   Omni XX   Mahaffey, James dba      8748 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  359   Omni XX   Mahaffey, James dba      8749 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  360   Omni XX   Mahaffey, James dba      8750 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  361   Omni XX   Mahaffey, James dba      8751 Jamestown Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes            612       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $53,782.56                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  362   Omni XX   Mahaffey, James dba      8784 Colonial Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $82,958.72                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  363   Omni XX   Mahaffey, James dba      8862 Colonial Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  364   Omni XX   Mahaffey, James dba      8871 Colonial Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  365   Omni XX   Mahaffey, James dba      8872 Colonial Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $112,486.40                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  366   Omni XX   Mahaffey, James dba      8875 Colonial Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taihe              Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  367   Omni XX   Mahaffey, James dba      8876 Colonial Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  368   Omni XX   Mahaffey, James dba      8877 Colonial Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
  369   Omni XX   Mahaffey, James dba      8878 Colonial Drive    Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax          Yes                                                                   Taishan            Photo                12                   L                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                     Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $112,486.40                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                 with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          New Orleans, LA 70163
                                                                                                           Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 12 of 28



Claimant Source   Claimant Name            Affected Property     City        State   Zip     Omni(s)   Date of Earliest PPF      Verified  Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia   Markings # from      Product                                                                                                                                                    Counsel               Counsel Address         Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                                      2017 Cost Per SF   2017 Remediation                                                                            Current Owner as of                                                                                            Sell Date if Applicable or                                                                                           Prior Settlement
Identifier                                 Address                                                      Filed Taishan (Yes/No)   Square   Provided Uploaded to    Declaration        Residential                                                                                 Taishan Product ID   Bucket(s)                                Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                     [B = A x $109.85]       Damages                                                                              May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                Payment(s)-
                                                                                                            Omni                 Footage        Sharefile       Verifying Square   Location Factor                                                                               Catalog                                                       Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                             [SF x B]                                                                                       Greer                                                                                                             Greer                                                                                                     FORTHCOMING
                                                                                                                                                                    Footage             [A]
  370   Omni XX   Mahaffey, James dba      8879 Colonial Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280     Property Tax            Yes                                                                   Taishan            Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                  Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $112,486.40                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                              with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  371   Omni XX   Mahaffey, James dba      8880 Colonial Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  372   Omni XX   Mahaffey, James dba      8881 Colonial Drive   Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taishan            Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  373   Omni XX   Mahaffey, James dba      9344 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taishan            Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  374   Omni XX   Mahaffey, James dba      9347 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            682       Property Tax           Yes                                                                   Taishan            Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $59,934.16                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  375   Omni XX   Mahaffey, James dba      9354 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taishan            Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  376   Omni XX   Mahaffey, James dba      9385 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  377   Omni XX   Mahaffey, James dba      9396 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  378   Omni XX   Mahaffey, James dba      9397 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   C&K                Photo             35                   B                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  379   Omni XX   Mahaffey, James dba      9399 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $112,486.40                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  380   Omni XX   Mahaffey, James dba      9430 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $94,031.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  381   Omni XX   Mahaffey, James dba      9431 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo             14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $82,958.72                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  382   Omni XX   Mahaffey, James dba      9432 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $94,031.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  383   Omni XX   Mahaffey, James dba      9433 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $82,958.72                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  384   Omni XX   Mahaffey, James dba      9434 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $82,958.72                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  385   Omni XX   Mahaffey, James dba      9435 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            984       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $86,473.92                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  386   Omni XX   Mahaffey, James dba      9436 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $82,958.72                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  387   Omni XX   Mahaffey, James dba      9437 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            984       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $86,473.92                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  388   Omni XX   Mahaffey, James dba      9438 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $82,958.72                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  389   Omni XX   Mahaffey, James dba      9439 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $94,031.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  390   Omni XX   Mahaffey, James dba      9440 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes            944       Property Tax           Yes                                                                   Taihe              Photo             14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $82,958.72                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  391   Omni XX   Mahaffey, James dba      9441 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $94,031.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  392   Omni XX   Mahaffey, James dba      9450 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  393   Omni XX   Mahaffey, James dba      9451 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  394   Omni XX   Mahaffey, James dba      9452 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $112,486.40                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  395   Omni XX   Mahaffey, James dba      9453 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $112,486.40                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  396   Omni XX   Mahaffey, James dba      9454 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  397   Omni XX   Mahaffey, James dba      9455 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  398   Omni XX   Mahaffey, James dba      9456 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  399   Omni XX   Mahaffey, James dba      9457 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  400   Omni XX   Mahaffey, James dba      9458 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $112,486.40                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  401   Omni XX   Mahaffey, James dba      9459 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88           $112,486.40                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
  402   Omni XX   Mahaffey, James dba      9460 Oxford Drive     Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                        0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       New Orleans, LA 70163
                                                                                                             Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 13 of 28



Claimant Source   Claimant Name            Affected Property      City         State   Zip     Omni(s)   Date of Earliest PPF      Verified  Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia   Markings # from      Product                                                                                                                                                    Counsel               Counsel Address         Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                                        2017 Cost Per SF   2017 Remediation                                                                            Current Owner as of                                                                                            Sell Date if Applicable or                                                                                           Prior Settlement
Identifier                                 Address                                                        Filed Taishan (Yes/No)   Square   Provided Uploaded to    Declaration        Residential                                                                                 Taishan Product ID   Bucket(s)                                Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                       [B = A x $109.85]       Damages                                                                              May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                Payment(s)-
                                                                                                              Omni                 Footage        Sharefile       Verifying Square   Location Factor                                                                               Catalog                                                       Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                               [SF x B]                                                                                       Greer                                                                                                             Greer                                                                                                     FORTHCOMING
                                                                                                                                                                      Footage             [A]
  403   Omni XX   Mahaffey, James dba      9461 Oxford Drive      Winter Haven FL      33884   [XX]        9/4/2015     Yes           1,120     Property Tax            Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                    Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $98,425.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  404   Omni XX   Mahaffey, James dba      9470 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  405   Omni XX   Mahaffey, James dba      9471 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  406   Omni XX   Mahaffey, James dba      9472 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taishan            Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $145,002.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  407   Omni XX   Mahaffey, James dba      9473 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $145,002.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  408   Omni XX   Mahaffey, James dba      9474 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  409   Omni XX   Mahaffey, James dba      9475 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  410   Omni XX   Mahaffey, James dba      9480 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  411   Omni XX   Mahaffey, James dba      9481 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  412   Omni XX   Mahaffey, James dba      9482 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $145,002.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  413   Omni XX   Mahaffey, James dba      9483 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,650      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $145,002.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  414   Omni XX   Mahaffey, James dba      9484 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  415   Omni XX   Mahaffey, James dba      9485 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,500      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $131,820.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  416   Omni XX   Mahaffey, James dba      9490 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  417   Omni XX   Mahaffey, James dba      9491 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            625       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $54,925.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  418   Omni XX   Mahaffey, James dba      9492 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  419   Omni XX   Mahaffey, James dba      9493 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            595       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $52,288.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  420   Omni XX   Mahaffey, James dba      9494 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  421   Omni XX   Mahaffey, James dba      9495 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            625       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $54,925.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  422   Omni XX   Mahaffey, James dba      9496 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  423   Omni XX   Mahaffey, James dba      9497 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            682       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $59,934.16                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  424   Omni XX   Mahaffey, James dba      9498 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  425   Omni XX   Mahaffey, James dba      9499 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            595       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $52,288.60                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  426   Omni XX   Mahaffey, James dba      9500 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  427   Omni XX   Mahaffey, James dba      9501 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            625       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $54,925.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  428   Omni XX   Mahaffey, James dba      9502 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  429   Omni XX   Mahaffey, James dba      9503 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            682       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $59,934.16                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  430   Omni XX   Mahaffey, James dba      9504 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            550       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $48,334.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  431   Omni XX   Mahaffey, James dba      9505 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            625       Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $54,925.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  432   Omni XX   Mahaffey, James dba      9510 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taishan            Photo             1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $101,062.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  433   Omni XX   Mahaffey, James dba      9511 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taishan/ Taihe     Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $69,425.20                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  434   Omni XX   Mahaffey, James dba      9512 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax           Yes                                                                   Taihe              Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88           $101,062.00                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
  435   Omni XX   Mahaffey, James dba      9513 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax           Yes                                                                   Taishan/ Taihe     Photo             14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                   CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                          0.80               87.88            $69,425.20                                                                                                        Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                   WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         New Orleans, LA 70163
                                                                                                             Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 14 of 28



Claimant Source   Claimant Name            Affected Property      City         State   Zip     Omni(s)   Date of Earliest PPF      Verified Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                    Counsel               Counsel Address         Counsel Phone    Counsel Email                               NOTES
                                                                                                                                                                                                       2017 Cost Per SF   2017 Remediation                                                                               Current Owner as of                                                                                            Sell Date if Applicable or                                                                                           Prior Settlement
Identifier                                 Address                                                        Filed Taishan (Yes/No)   Square  Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                      [B = A x $109.85]       Damages                                                                                 May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                Payment(s)-
                                                                                                              Omni                 Footage       Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                       Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                              [SF x B]                                                                                          Greer                                                                                                             Greer                                                                                                     FORTHCOMING
                                                                                                                                                                     Footage             [A]
  436   Omni XX   Mahaffey, James dba      9514 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790     Property Tax            Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                   Assessor's Document                                                                                                                                                        CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                               with Square Footage                                                                                                                                                        WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  437   Omni XX   Mahaffey, James dba      9515 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  438   Omni XX   Mahaffey, James dba      9516 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan/ Taihe     Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  439   Omni XX   Mahaffey, James dba      9517 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan/ Taihe     Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  440   Omni XX   Mahaffey, James dba      9518 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  441   Omni XX   Mahaffey, James dba      9519 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  442   Omni XX   Mahaffey, James dba      9520 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan/ Taihe     Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  443   Omni XX   Mahaffey, James dba      9521 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  444   Omni XX   Mahaffey, James dba      9522 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  445   Omni XX   Mahaffey, James dba      9523 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  446   Omni XX   Mahaffey, James dba      9524 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  447   Omni XX   Mahaffey, James dba      9525 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  448   Omni XX   Mahaffey, James dba      9530 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  449   Omni XX   Mahaffey, James dba      9552 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            775       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $68,107.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  450   Omni XX   Mahaffey, James dba      9559 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            775       Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $68,107.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  451   Omni XX   Mahaffey, James dba      9579 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  452   Omni XX   Mahaffey, James dba      9581 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,070      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $94,031.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  453   Omni XX   Mahaffey, James dba      9590 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taishan/ Taihe     Inspection Report/   N/A                  I, J                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                               Affidavit                                             CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  454   Omni XX   Mahaffey, James dba      9591 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  455   Omni XX   Mahaffey, James dba      9592 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  456   Omni XX   Mahaffey, James dba      9593 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  457   Omni XX   Mahaffey, James dba      9596 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  458   Omni XX   Mahaffey, James dba      9597 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  459   Omni XX   Mahaffey, James dba      9598 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  460   Omni XX   Mahaffey, James dba      9599 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  461   Omni XX   Mahaffey, James dba      9602 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes            790       Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $69,425.20                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  462   Omni XX   Mahaffey, James dba      9603 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,150      Property Tax          Yes                                                                   Taihe              Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $101,062.00                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  463   Omni XX   Mahaffey, James dba      9610 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taishan/ Taihe     Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           New Orleans, LA 70163
  464   Omni XX   Mahaffey, James dba      9611 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taishan/ Taihe     Photo                14, 21               H, I                                                                                                                                                       Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  465   Omni XX   Mahaffey, James dba      9612 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $112,486.40                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  466   Omni XX   Mahaffey, James dba      9613 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,280      Property Tax          Yes                                                                   Taishan/ Taihe     Photo                14                   H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88           $112,486.40                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  467   Omni XX   Mahaffey, James dba      9614 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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  468   Omni XX   Mahaffey, James dba      9615 Williamsburg Drive Winter Haven FL     33884   [XX]        9/4/2015     Yes           1,120      Property Tax          Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                          Gainsburgh Benjamin   Gerald Meunier, Esq.    (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                      Assessor's Document                                                                                                                                                     CARLTON ARMS OF                                                                                                                                                      2800 Energy Centre
                                                                                                                                                                                         0.80               87.88            $98,425.60                                                                                                           Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                  with Square Footage                                                                                                                                                     WINTER HAVEN LLP                                                                                                                                                     1100 Poydras Street
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                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 15 of 28



Claimant Source   Claimant Name              Affected Property       City          State   Zip     Omni(s)        Date of Earliest PPF      Verified  Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia   Markings # from      Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                    NOTES
                                                                                                                                                                                                                 2017 Cost Per SF   2017 Remediation                                                                                   Current Owner as of                                                                                            Sell Date if Applicable or                                                                                                                     Prior Settlement
Identifier                                   Address                                                               Filed Taishan (Yes/No)   Square   Provided Uploaded to    Declaration        Residential                                                                                       Taishan Product ID   Bucket(s)                                 Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                [B = A x $109.85]       Damages                                                                                     May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                                          Payment(s)-
                                                                                                                       Omni                 Footage        Sharefile       Verifying Square   Location Factor                                                                                     Catalog                                                        Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                        [SF x B]                                                                                              Greer                                                                                                             Greer                                                                                                                               FORTHCOMING
                                                                                                                                                                               Footage             [A]
  469   Omni XX   Mahaffey, James dba        9616 Williamsburg Drive Winter Haven FL       33884   [XX]             9/4/2015     Yes           1,120     Property Tax            Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                             Assessor's Document                                                                                                                                                           CARLTON ARMS OF                                                                                                                                                                2800 Energy Centre
                                                                                                                                                                                                   0.80               87.88            $98,425.60                                                                                                               Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                         with Square Footage                                                                                                                                                           WINTER HAVEN LLP                                                                                                                                                               1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70163
  470   Omni XX   Mahaffey, James dba        9617 Williamsburg Drive Winter Haven FL       33884   [XX]             9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taishan/ Taihe           Photo             14, 21               H, I                                                                                                                                                        Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                               Assessor's Document                                                                                                                                                         CARLTON ARMS OF                                                                                                                                                                2800 Energy Centre
                                                                                                                                                                                                   0.80               87.88            $98,425.60                                                                                                               Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                           with Square Footage                                                                                                                                                         WINTER HAVEN LLP                                                                                                                                                               1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70163
  471   Omni XX   Mahaffey, James dba        9618 Williamsburg Drive Winter Haven FL       33884   [XX]             9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                               Assessor's Document                                                                                                                                                         CARLTON ARMS OF                                                                                                                                                                2800 Energy Centre
                                                                                                                                                                                                   0.80               87.88           $112,486.40                                                                                                               Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                           with Square Footage                                                                                                                                                         WINTER HAVEN LLP                                                                                                                                                               1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70163
  472   Omni XX   Mahaffey, James dba        9619 Williamsburg Drive Winter Haven FL       33884   [XX]             9/4/2015     Yes           1,280      Property Tax           Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                               Assessor's Document                                                                                                                                                         CARLTON ARMS OF                                                                                                                                                                2800 Energy Centre
                                                                                                                                                                                                   0.80               87.88           $112,486.40                                                                                                               Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                           with Square Footage                                                                                                                                                         WINTER HAVEN LLP                                                                                                                                                               1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70163
  473   Omni XX   Mahaffey, James dba        9620 Williamsburg Drive Winter Haven FL       33884   [XX]             9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                               Assessor's Document                                                                                                                                                         CARLTON ARMS OF                                                                                                                                                                2800 Energy Centre
                                                                                                                                                                                                   0.80               87.88            $98,425.60                                                                                                               Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                           with Square Footage                                                                                                                                                         WINTER HAVEN LLP                                                                                                                                                               1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70163
  474   Omni XX   Mahaffey, James dba        9621 Williamsburg Drive Winter Haven FL       33884   [XX]             9/4/2015     Yes           1,120      Property Tax           Yes                                                                   Taishan                  Photo             1                    H                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Carlton Arms of Winter                                                                                                               Assessor's Document                                                                                                                                                         CARLTON ARMS OF                                                                                                                                                                2800 Energy Centre
                                                                                                                                                                                                   0.80               87.88            $98,425.60                                                                                                               Current Owner                City or County Tax Records           3/15/2004                Current Owner
                  Haven, LLP                                                                                                                           with Square Footage                                                                                                                                                         WINTER HAVEN LLP                                                                                                                                                               1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  New Orleans, LA 70163
  475   Omni XX   Maharaj, Debbieann         17012 Ongar Court       Land O'Lakes FL       34638   [XX]             9/4/2015     Yes         2,157         Property Tax          Yes                                                                   Taishan                  Photo             7                    J                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                   MAHARAJ DEBBIE A &
                                                                                                                                                       Assessor's Document                         0.83               91.18           $196,675.26                                                                                                               Current Owner                City or County Tax Records           12/20/2006               Current Owner                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                   RICKEY
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        650
  476   Omni XX   MARCOR Enterprises, FLP 12439 Country White        Tampa         FL      33635   [XX]             9/4/2015     Yes         1,146     Property Tax              Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                   ROMERO DANIEL A
                                          Circle                                                                                                       Assessor's Document                         0.83               91.18           $104,492.28                                                                                                               Previous Owner               City or County Tax Records           10/10/2002                  8/1/2012                                            12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                   RUIZ KAREN V GARCIA
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  477   Omni XX   MARCOR Enterprises, FLP 12441 Country White        Tampa         FL      33635   [XX]             9/4/2015     Yes         1,146     Property Tax              Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                   ORJUELA SHIRLEY
                                          Circle                                                                                                       Assessor's Document                         0.83               91.18           $104,492.28                                                                                                               Previous Owner               City or County Tax Records           8/20/2002                   8/1/2012                                            12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                   ORJUELA IVAN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  478   Omni XX   MARCOR Enterprises, FLP 12445 Country White        Tampa         FL      33635   [XX]             9/4/2015     Yes         1,252     Property Tax              Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                   ACEVEDO AMANDA
                                          Circle                                                                                                       Assessor's Document                         0.83               91.18           $114,157.36                                                                                                               Previous Owner               City or County Tax Records           10/10/2002                  8/1/2012                                            12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                   PARDO
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  479   Omni XX   Mariner Village Investments 5027 Mariner Garden    Stuart        FL      34997   [XX]             9/4/2015     Yes         1,530     Property Tax        Yes                                                                         IMT                      Photo             30                   F                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                   MARCHI MARINER REAL
                  , LLC                       Circle Unit F-43                                                                                         Assessor's Document                         0.82               90.08           $137,822.40                                                                                                               Previous Owner               City or County Tax Records           11/19/2008                  1/29/2015                                           12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                   ESTATE INVESTMEN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  480   Omni XX   Mariner Village Investments, 5108 Mariner Garden   Stuart        FL      34997   [XX]             9/4/2015     Yes         1,507     Property Tax        Yes                                                                         IMT                      Photo             30                   F                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                   MARCHI MARINER REAL
                  LLC                          Circle Unit J-72                                                                                        Assessor's Document                         0.82               90.08           $135,750.56                                                                                                               Previous Owner               City or County Tax Records           11/19/2008                  11/7/2013                                           12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                   ESTATE INVESTMEN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  481   Omni XX   Mariner Village Investments, 5112 Mariner Garden   Stuart        FL      34997   [XX]             9/4/2015     Yes         1,530     Property Tax        Yes                                                                         IMT                      Photo             30                   F                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                   MARCHI MARINER REAL
                  LLC                          Circle J-71                                                                                             Assessor's Document                         0.82               90.08           $137,822.40                                                                                                               Previous Owner               City or County Tax Records           11/19/2008                  11/7/2013                                           12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                   ESTATE INVESTMEN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  482   Omni XX   Mariner Village Investments, 5136 Mariner Garden   Stuart        FL      34997   [XX]             9/4/2015     Yes         1,507     Property Tax        Yes                                                                         IMT                      Photo             30, 31, 32           F                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                   MARCHI MARINER REAL
                  LLC                          Circle Unit I-66                                                                                        Assessor's Document                         0.82               90.08           $135,750.56                                                                                                               Previous Owner               City or County Tax Records           11/19/2008                  1/29/2015                                           12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                   ESTATE INVESTMEN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  483   Omni XX   Mariner Village Investments, 5148 Mariner Garden   Stuart        FL      34997   [XX]             9/4/2015     Yes         1,530     Property Tax        Yes                                                                         IMT                      Photo             30                   F                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                   MARCHI MARINER REAL
                  LLC                          Circle Unit I-63                                                                                        Assessor's Document                         0.82               90.08           $137,822.40                                                                                                               Previous Owner               City or County Tax Records           11/19/2008                  1/29/2015                                           12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                   ESTATE INVESTMEN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  484   Omni XX   Mariner Village Investments, 5152 Mariner Garden   Stuart        FL      34997   [XX]             9/4/2015     Yes         1,507     Property Tax        Yes                                                                         IMT                      Photo             30                   F                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                   MARCHI MARINER REAL
                  LLC                          Circle Unit I-62                                                                                        Assessor's Document                         0.82               90.08           $135,750.56                                                                                                               Previous Owner               City or County Tax Records           11/19/2008                  1/29/2015                                           12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                   ESTATE INVESTMEN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  485   Omni XX   Mariner Village Investments, 5031 Mariner Garden   Stuart        FL      34997   [XX]             9/4/2015     Yes         1,507     Property Tax        Yes                                                                         IMT                      Photo             31, 32               F                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                   MARCHI MARINER REAL
                  LLC                          Circle Unit F-42                                                                                        Assessor's Document                         0.82               90.08           $135,750.56                                                                                                               Previous Owner               City or County Tax Records           11/19/2008                  11/7/2013                                           12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                   ESTATE INVESTMEN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
  486   Omni XX   Marino, Johathan           1236 NW 15th Place      Cape Coral    FL      33993   [XX]             9/4/2015     Yes         1,397     Property Tax              Yes                                                                   Taishan                  Photo             12                   L                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                       Assessor's Document                         0.80               87.88           $122,768.36                                                                                  ARROW RE SUB I LLC           Previous Owner               Tax Records + Title/Deed             8/20/2008                   10/7/2011                                           12800 University Drive, Suite 600                    om
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  487   Omni XX   Marozi, Gary               10440 SW Stephanie      Port St. Lucie FL     34986   [XX]             9/4/2015     Yes         1,603     Property Tax        Yes                                                                         Taishan                  Photo             2, 9                 J                                                                                                                                                           Pro Se                         N/A                                 772-486-1200     garymarozi@yahoo.com                            Pro se. Email is
                                             Way, Unit 4106                                                                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                                                                                                                              garymarozi@yahoo.com or 772-
                                                                                                                                                       with Square Footage                         0.82               90.08           $144,398.24                                                                                  GARY M MAROZI                Current Owner                City or County Tax Records           7/27/2006                Current Owner                                                                                                                                                486-1200



  488   Omni XX   Martin, Clarice            4816 Mendez Street      New Orleans LA        70126   [XX]             9/4/2015     No          1,175        Property Tax           Yes                                                                   Taihe                    Photo             12, 18               I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                   POLK HAROLD C
                                                                                                                                                       Assessor's Document                         0.86               94.47           $111,002.25                                                                                                               Previous Owner               City or County Tax Records           5/13/2011                   5/1/2015                                            2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                   POLK MAMIE H
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        650
  489   Omni XX   Martinez, Carlos           4004 14th St W          Lehigh Acres FL       33971   [XX]             9/4/2015     Yes         1,509        Property Tax           Yes                                                                   ProWall                  Photo             43, 44               G                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                                                                                                                                                                                                   MARTINEZ CARLOS &
                                                                                                                                                       Assessor's Document                         0.80               87.88           $132,610.92                                                                                                               Current Owner                City or County Tax Records           9/22/2011                Current Owner                                          27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                   JIMENEZ BERTHA
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
  490   Omni XX   Martinez, Mario I.         8031 W. 36th Avenue #2 Hialeah        FL      33018   [XX]             9/4/2015     Yes         1,356        Property Tax           Yes                                                                   Taishan                  Photo             8                    J           THE SEVEN TRUST LLC                                                                                                                             Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                       Assessor's Document                         0.81               88.98           $120,656.88                                                                                  TRS                          Previous Owner               City or County Tax Records           8/28/2012                  10/27/2016                                           27300 Riverview Center Blvd
                                                                                                                                                       with Square Footage                                                                                                                                                         THE SEVEN TRUST                                                                                                                                                                Bonita Springs, FL 34134
  491   Omni XX   Marvray, Andre             4020 Crossings Lane     Hoover        AL      35242   [XX],            9/4/2015     Yes         2,077        Property Tax           Yes                                                                   Taihe                    Photo             19                   I                                                                                                                                                           Collins & Horsley              W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                   [XXVIII]                                            Assessor's Document                                                                                                                                                         MARVAY ANDRE B &                                                                                                                                                               Collins Law Firm                                     .com
                                                                                                                                                                                                   0.84               92.27           $191,644.79                                                                                                               Current Owner                City or County Tax Records           5/14/2004                Current Owner
                                                                                                                                                       with Square Footage                                                                                                                                                         VIVIAN D                                                                                                                                                                       1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Hoover, AL 35226
  492   Omni XX   May, Linda                 905 Moonlite Drive      Odenville     AL      35120   [XX],            9/4/2015     Yes         2,084        Property Tax           Yes                                                                   Taihe                    Photo             20                   I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                   [XXVIII]                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                        2100 Southbridge Parkway, Suite
                                                                                                                                                                                                   0.84               92.27           $192,290.68                                                                                  MAY LINDA                    Current Owner                City or County Tax Records           8/10/2007                Current Owner
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Birmingham, AL 35209
  493   Omni XX   McCarty, Brian             2513 Newbern Avenue     Clearwater    FL      33761   [XX]             9/4/2015     Yes         1,740     Property Tax              Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                   CRAWFORD, RITCHARD
                                                                                                                                                       Assessor's Document                         0.82               90.08           $156,739.20                                                                                                               Previous Owner               City or County Tax Records           5/23/2002                   3/29/2013                                           12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                   CRAWFORD, TAMARA
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  494   Omni XX   McConnell, Donnie and      3808 Holland Court      Phenix City   AL      36867   [XX]             9/4/2015     Yes           0               N/A               N/A                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com                              See Steve Corbett
                  Corbett, Steve                                                                                                                                                                   0.84               92.27              $0.00                                                                                     CORBETT STEVEN W             Current Owner                City or County Tax Records            8/7/2014                Current Owner                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  650
  495   Omni XX   McConnell, Joanna          1239 Railroad Drive     Hayden        AL      35079   [XX],            9/4/2015     Yes         1,400      Appraisal Showing        Yes                                                                   Taihe                    Photo             20, 21               I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                   MC CONNELL, MICHAEL &
                                                                                                   [XXVIII]                                               Floor Plan and                           0.84               92.27           $129,178.00                                                                                                        Current Owner                       City or County Tax Records           5/29/2007                Current Owner                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                   JOANNA
                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                          650
  496   Omni XX   McCormick, Paul            16215 88th Road North   Loxahatchee   FL      33470   [XX]             9/4/2015     Yes         2,595      Appraisal Showing        Yes                                                                   Dragon Brand/ BNBMDB     Photo             22, 24, 26           A                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                          Floor Plan and                           0.82               90.08           $233,757.60                                                                                  MCCORMICK PAUL V             Current Owner                City or County Tax Records           8/16/2007                Current Owner                                          2100 Southbridge Parkway, Suite
                                                                                                                                                          Square Footage                                                                                                                                                                                                                                                                                                                                          650
  497   Omni XX   McDermott, Donald          1347 Lyonshire Drive    Wesley        FL      33543   [XX]             9/4/2015     Yes         1,191     Property Tax              Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                   VISWANATHAN
                                                                     Chapel                                                                            Assessor's Document                         0.83               91.18           $108,595.38                                                                                                               Previous Owner               City or County Tax Records           4/29/2005                   1/3/2013                                            12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                   HARIHARAN
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  498   Omni XX   McKoy, Tony                2046 Reserve Parkway    McDonough     GA      30253   [XX], [XXX]      9/4/2015     Yes         2,437         Property Tax          Yes                                                                   Venture Supply           Photo             39                   K                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                       Assessor's Document                         0.89               97.77           $238,265.49                                                                                  MCKOY TONY A                 Current Owner                City or County Tax Records           6/30/2006                Current Owner                                          2100 Southbridge Parkway, Suite
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        650
  499   Omni XX   McMillan, Deborah          11135 Ancient Futures   Tampa         FL      33647   [XX]             9/4/2015     Yes         3,408         Property Tax          Yes                                                                   C&K                      Photo             36                   B                                                                                                                                                           Roberts & Durkee PA Milstein   C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                   STERN PENNY
                                             Dr.                                                                                                       Assessor's Document                         0.83               91.18           $310,741.44                                                                                                               Previous Owner               City or County Tax Records           12/4/2008                     2014               Adelman LLP                    2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                   JAMISON DEREK
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        300
  500   Omni XX   Meacham, Richard           10319 Route Road        Lillian       AL      36549   [XX],            9/4/2015     Yes         3,560         Property Tax          Yes                                                                   Taihe                    Photo             20                   I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                   [XXVIII]                                            Assessor's Document                                                                                                                                                         FEDERAL NATIONAL                                                                                                                                                               2100 Southbridge Parkway, Suite
                                                                                                                                                                                                   0.84               92.27           $328,481.20                                                                                                       Previous Owner                       City or County Tax Records              2007                     4/15/2016
                                                                                                                                                       with Square Footage                                                                                                                                                         MORTGAGE ASSOCIATION                                                                                                                                                           650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Birmingham, AL 35209
  501   Omni XX   Meehan, Scott              2116 State St.          New Orleans LA        70118   [XX]             9/4/2015     Yes          986      Property Tax        Yes                                                                         Taihe                    Photo             14, 21               H, I                                                                                                                                                        Lemmon Law Firm                Andrew Lemmon, Esq.                 985-783-6789     andrew@lemmonlawfirm.c
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                        PO Box 904 (mailing address)                         om
                                                                                                                                                                                                   0.86               94.47            $93,147.42                                                                                  RAJO-ANDRADE MARCO A Previous Owner                       City or County Tax Records           9/18/2007                  10/19/2016
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        15058 River Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Hahnville, LA 70057
  502   Omni XX   Merrell, Brandi            19067 Fenton-Dedaux     Kiln          MS      39556   [XX], [XXXI]     9/4/2015     Yes         3,362        Property Tax           Yes                                                                   Taihe                    Photo             17                   I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                             Road                                                                                                      Assessor's Document                         0.84               92.27           $310,211.74                                                                                  MERRELL BRANDI               Current Owner                City or County Tax Records            Unknown                 Current Owner                                          2100 Southbridge Parkway, Suite
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        650
  503   Omni XX   Mesolella, Vincent         6051 Jonathan's Bay     Fort Myers    FL      33908   [XX]             9/4/2015     Yes         1,755        Property Tax           Yes                                                                   Taishan                  Photo             6, 12                J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                             Circle, Unit #601                                                                                         Assessor's Document                         0.80               87.88           $154,229.40                                                                                  MESOLELLA VINCENT JR         Current Owner                City or County Tax Records           7/24/2006                Current Owner                                          27300 Riverview Center Blvd
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Bonita Springs, FL 34134
  504   Omni XX   Messmer, Frank & Sharon    4048 65th Place East    Sarasota      FL      34243   [XX]             9/4/2015     Yes         2,111        Property Tax           Yes                                                                   Taishan                  Photo             7                    J                                                                                                                                                           Colson Hicks Eidson            Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                       Assessor's Document                         0.83               91.18           $192,480.98                                                                                  MESSMER FRANK E              Current Owner                City or County Tax Records           10/25/2006               Current Owner                                          255 Alhambra Circle, PH
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Coral Gables, FL 33134
  505   Omni XX   Miele, Lisa                938 SE Westminster      Stuart        FL      34997   [XX]             9/4/2015     Yes         2,244        Property Tax           Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                   GALASSI LISA A
                                             Place                                                                                                     Assessor's Document                         0.82               90.08           $202,139.52                                                                                                               Current Owner                City or County Tax Records           9/20/2007                Current Owner                                          12800 University Drive, Suite 600                    om
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Myers, FL 33907
  506   Omni XX   Miller, James              335 Olive Street        Slidell       LA      70458   [XX]             9/4/2015     Yes         1,205            Other              Yes                                                                   Taihe                    Photo             17                   I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                   HORNBERGER, WILLIAM F
                                                                                                                                                                                                   0.79               86.78           $104,569.90                                                                                                        Unable to Confirm Ownership         City or County Tax Records            Unknown                    Unknown                                             2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                   III ETUX
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  650
  507   Omni XX   Mills, Amanda              5519 Charlotte Drive    New Orleans LA        70122   [XX]             9/4/2015     Yes         2,538         Property Tax          Yes                                                                   Taishan/ Crescent City   Photo             12, 27               D, L                                                                                                                                                        Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                       Assessor's Document                         0.86               94.47           $239,764.86                                                                                  MILLS AMANDA E               Current Owner                City or County Tax Records           6/19/2009                Current Owner                                          2100 Southbridge Parkway, Suite
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        650
  508   Omni XX   Milykovic, Ralph and Nancy 338 Cipriani Way        North Venice FL       34275   [XX]             9/4/2015     Yes         1,901     Property Tax        Yes                                                                         Taishan                  Photo             9                    J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                   MILYKOVIC RALPH G
                                                                                                                                                       Assessor's Document                         0.83               91.18           $173,333.18                                                                                                               Current Owner                City or County Tax Records           9/14/2007                Current Owner                                          12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                   MILYKOVIC NANCY E
                                                                                                                                                       with Square Footage                                                                                                                                                                                                                                                                                                                                        Fort Lauderdale, FL 33301-3434
                                                                                                                          Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 16 of 28



Claimant Source      Claimant Name               Affected Property       City          State   Zip     Omni(s)        Date of Earliest PPF      Verified    Type of Verficiation      Counsel's      2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                      Counsel                                Counsel Address                      Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                                        2017 Cost Per SF   2017 Remediation                                                                                Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                             Prior Settlement
Identifier                                       Address                                                               Filed Taishan (Yes/No)   Square     Provided Uploaded to      Declaration       Residential                                                                                    Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                       [B = A x $109.85]       Damages                                                                                  May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                                  Payment(s)-
                                                                                                                           Omni                 Footage          Sharefile        Verifying Square   Location Factor                                                                                  Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                               [SF x B]                                                                                           Greer                                                                                                              Greer                                                                                                                                       FORTHCOMING
                                                                                                                                                                                      Footage             [A]
  509   Omni XX      Montalvo, Richard and       12480 NW 83 Court       Parkland      FL      33076   [XX]             9/4/2015     Yes         2,666     Property Tax          Yes                                                                          Dragon Brand       Photo                26                   A                                                                                                                                                            Krupnick Cambell                       Michael Ryan, Esq.                   (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                                                                                                                                                                                                       DELGADO,ANGELA L &
                     Cynthia                                                                                                                               Assessor's Document                            0.81               88.98           $237,220.68                                                                                                            Previous Owner                City or County Tax Records           12/27/2006                  8/19/2011                                                   12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                       WILLIAM
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Fort Lauderdale, FL 33301-3434
  510   Omni XX      Montgomery, Walter          1204 Bayou Pass Drive   Ruskin        FL      33570   [XX]             9/4/2015     Yes         1,624         Property Tax             Yes                                                                   Taishan            Photo                12                   L                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                           Assessor's Document                            0.83               91.18           $148,076.32                                                                               MONTGOMERY WALTER            Current Owner                 City or County Tax Records           1/30/2006                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  511   Omni XX     Mott, Marcia J. and Mark A. 2625 Prentiss Ave.       New Orleans LA        70122   [XX]             9/4/2015     Yes         3,150         Property Tax             Yes                                                                   DUN                Photo                42                   E                                                                                                                                                            Thornhill Law Firm, Fayard &           Tom Thornhill, Esq.                  800-989-2707     tom@thornhilllawfirm.com
                                                                                                                                                           Assessor's Document                                                                                                                                                         MOTT MARK A                                                                                                                                      Honeycutt APLC and N. Frank Elliot     Thornhill Law Firm
                                                                                                                                                                                                          0.86               94.47           $297,580.50                                                                                                            Current Owner                 City or County Tax Records            7/9/2008                Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                         MOTT MARCIA J                                                                                                                                    III, LLC                               1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Slidell, LA 70458
  512   Omni XX      Mottolese, Maureen          5213 Athens Way         Venice        FL      34293   [XX]             9/4/2015     Yes         1,965     Property Tax                 Yes                                                                   IMT                Photo                33                   F                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                           Assessor's Document                            0.83               91.18           $179,168.70                                                                               MOTTOLESE MAUREEN M          Current Owner                 City or County Tax Records           4/30/2007                Current Owner                                                  12800 University Drive, Suite 600                     om
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Fort Myers, FL 33907
  513   Omni XX      Muir, Carol                 420 Stratford Lane      Port St. Lucie FL     34983   [XX]             9/4/2015     Yes         2,088         Property Tax             Yes                                                                   Taishan            Photo                5                    J           VALERIE N SMITH                                                                                                                                  Parker Waichman                        Jerrold Parker, Esq.                 (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                           Assessor's Document                            0.82               90.08           $188,087.04                                                                               CAROL MUIR                   Current Owner                 City or County Tax Records            8/9/2005                Current Owner                                                  27300 Riverview Center Blvd
                                                                                                                                                           with Square Footage                                                                                                                                                         SHANON MUIR                                                                                                                                                                             Bonita Springs, FL 34134
  514   Omni XX      Mullen, Gwendolyn           2917 Moss Drive         Violet        LA      70092   [XX]             9/4/2015     Yes         1,748         Property Tax             Yes                                                                   Taihe              Photo                13, 17               I                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.          504-271-8422     storres@torres-law.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                 8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                          0.86               94.47           $165,133.56                                                                               MULLEN, GWENDOLYN C. Current Owner                         City or County Tax Records           7/23/2013                Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 303
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Chalmette, LA 70043
  515   Omni XX      Mulvehill, Clarence Van     Lot 33, Green Acres     Trafford      AL      35172   [XX],            9/4/2015     Yes         1,669        Property Tax              Yes                                                                   Taihe              Photo                17                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                 Lane                                                  [XXVIII]                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                                 2100 Southbridge Parkway, Suite
                                                                                                                                                                                                          0.84               92.27           $153,998.63                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Birmingham, AL 35209
  516   Omni XX     Murphy, Susan               2204 Jean Lafitte        Chalmette     LA      70043   [XX]             9/4/2015     Yes         2,154        Property Tax              Yes                                                                   Taihe              Photo                13, 17               I                                                                                                                                                            Herman, Herman & Katz                  Russ Herman, Esq.                    (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                 820 O'Keefe Avenue
                                                                                                                                                                                                          0.86               94.47           $203,488.38                                                                               MURPHY, SUSAN FULTON         Current Owner                 City or County Tax Records            7/3/2012                Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 New Orleans, LA 70113

  517   Omni XX      Nathan, Ramasamy            6060 Jonathans Bay      Ft. Myers     FL      33908   [XX]             9/4/2015     Yes         2,024        Property Tax              Yes                                                                   Taishan            Photo                6                    J                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                       JACOB KELLY RYAN &
                                                 Circle, #502                                                                                              Assessor's Document                            0.80               87.88           $177,869.12                                                                                                            Previous Owner                City or County Tax Records           6/16/2006                   2/20/2015                                                   2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                       JACOB KATHLEEN RENEE
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 650
  518   Omni XX     Ngo, Huy T. (Bruce)         9731 Reading Ave.        Garden Grove CA       92844   [XX], [XXIX]     9/4/2015     Yes         4,667        Property Tax              Yes                                                                   Crescent City      Photo                28                   D                                                                                                                                                            Burdman & Ward                         Scott Burdman, Esq.                  (888) 350-9080   sburdman@burdmanlaw.co
                                                                                                                                                           Assessor's Document                            1.14              125.23           $584,448.41                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                       6370 Lusk Blvd., Suite F203                           m
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 San Diego, CA 92121
  519   Omni XX      Nguyen, Kinh                8557 Pegasus Drive      Lehigh Acres FL       33971   [XX]             9/4/2015     Yes         3,019        Property Tax              Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                       NGUYEN KINH H +
                                                                                                                                                           Assessor's Document                            0.80               87.88           $265,309.72                                                                                                            Current Owner                 City or County Tax Records           6/30/2006                Current Owner           Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                       TRUONG CHRISTINA H/W
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 300
  520   Omni XX      Noohani, Tariq              8336 Windsor Bluff      Tampa         FL      33647   [XX]             9/4/2015     Yes         3,947        Property Tax              Yes                                                                   Taihe              Photo                17                   I                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.                (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                                                                                                                                                                                                       DEMETRIOU NEKTARIOS S
                                                 Drive                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                          Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                                                                          0.83               91.18           $359,887.46                                                                               SOTIROPOULOS          Previous Owner                       City or County Tax Records           12/27/2006                  9/23/2013
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 300
                                                                                                                                                                                                                                                                                                                                       PANAGIOTA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Coconut Grove, FL 33133
  521   Omni XX      Norman, Marc                29127 Hidden Lake Ct.   Magnolia      TX      77354   [XX],            9/4/2015     Yes         2,954        Property Tax              Yes                                                                   Taishan            Photo                12                   L                                                                                                                                                            Baron & Budd, P.C.                     Russell Budd, Esq.                   (214) 521-3605   rbudd@baronbudd.com
                                                                                                       [XXXII]                                             Assessor's Document                                                                                                                                                         PROGRESS RIESIDENTIAL                                                                                                                                                                   Baron & Budd
                                                                                                                                                                                                          0.80               87.88           $259,597.52                                                                                                            Previous Owner                City or County Tax Records            3/5/2010                   6/25/2013
                                                                                                                                                           with Square Footage                                                                                                                                                         2015-1 BORROWER LLC                                                                                                                                                                     3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219
  522   Omni XX      NuMan, Rafeeq and Joyce     2717-2719 Valence       New Orleans LA        70125   [XX]             9/4/2015     Yes         1,704        Property Tax              Yes                                                                   Taihe              Photo                17                   I                                                                                                                                                            The Lambert Firm                       Hugh Lambert, Esq.                   (504) 529-2931   hlambert@thelambertfirm.c
                                                 Street                                                                                                    Assessor's Document                                                                                                                                                                                                                                                                                                                                                 701 Magazine St,                                      om
                                                                                                                                                                                                          0.86               94.47           $160,976.88                                                                               SANBORN BRETT A              Previous Owner                City or County Tax Records           2/20/1980                  12/22/2011
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 New Orleans LA 70130

  523   Omni XX      Nunez, III, Martin          13940 Wales Street      New Orleans LA        70128   [XX]             9/4/2015     Yes          715      Builder's Floor Plan         Yes                                                                   Crescent City      Photo                27                   D                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.          504-271-8422     storres@torres-law.com
                                                                                                                                                                                                          0.86               94.47            $67,546.05                                                                               NUNEZ MARTIN J III           Current Owner                 City or County Tax Records           10/28/2002               Current Owner                                                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               303
  524   Omni XX      Nunez, III, Martin          13942 Wales Street      New Orleans LA        70128   [XX]             9/4/2015     Yes         1,062     Builder's Floor Plan         Yes                                                                   Crescent City      Photo                27                   D                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.          504-271-8422     storres@torres-law.com
                                                                                                                                                                                                          0.86               94.47           $100,327.14                                                                               NUNEZ MARTIN J III           Current Owner                 City or County Tax Records           10/28/2002               Current Owner                                                  8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               303
  525   Omni XX      Oceanique Development       4180 N. Highway A1A, Hutchinson       FL      34949   [XX]             9/4/2015     Yes           0               N/A                 N/A                                                                    Taishan            Photo                6                    J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.                (305) 476-7400   patrick@colson.com                              See Lincoln and America
                                                                                                                                                                                                                                                                                                                                       GLENN M MOYER (TR)
                     Comunity                    Unit 810-B           Island                                                                                                                              0.82               90.08              $0.00                                                                                                               Previous Owner                City or County Tax Records            8/7/2003                   2/16/2007                                                   255 Alhambra Circle, PH                                                                               Mendez on RP
                                                                                                                                                                                                                                                                                                                                       LOIS J MOYER (TR)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Coral Gables, FL 33134
  526   Omni XX     O'Connor, Chris and Zina    2273 S.W. 132 Way        Davie         FL      33325   [XX]             9/4/2015     Yes         1,878        Property Tax              Yes                                                                   Taihe              Photo                14, 18               H, I                                                                                                                                                         Allison Grant, P.A.                    Allison Grant, Esq.                  (561) 994-9646   agrant@allisongrantpa.com
                                                                                                                                                           Assessor's Document                                                                                                                                                         O'CONNOR,CHRISTOPHER                                                                                                                                                                    14 Southeast 4th Street
                                                                                                                                                                                                          0.81               88.98           $167,104.44                                                                                                            Current Owner                 City or County Tax Records           7/28/2005                Current Owner
                                                                                                                                                           with Square Footage                                                                                                                                                         D & ZINA                                                                                                                                                                                Boca Raton, Florida 33432

  527   Omni XX     Oglesby, Velvarae           93 Cloverdale Road       Atmore        AL      36502   [XX],            9/4/2015     Yes         1,150            Other                 Yes                                                                   Taihe              Photo                17                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                       [XXVIII]                                                                                                                                                                                                                                                                                                                                                                                                                2100 Southbridge Parkway, Suite
                                                                                                                                                                                                          0.84               92.27           $106,110.50                                                                               OGLESBY VELVARAE M           Current Owner                 City or County Tax Records            1/7/2014                Current Owner
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Birmingham, AL 35209
  528   Omni XX     Ojinaka, Chinyere           4754 Butler National     Wesley        FL      33543   [XX]             9/4/2015     Yes         2,928     Appraisal Showing            Yes                                                                   Taishan            Photo                1                    H                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.c
                                                Drive                    Chapel                                                                            Floor Plan and                                 0.83               91.18           $266,975.04                                                                               AVILES IVAN                  Previous Owner                City or County Tax Records           12/3/2007                  11/17/2015                                                   12800 University Drive, Suite 600                     om
                                                                                                                                                           Square Footage                                                                                                                                                                                                                                                                                                                                                      Fort Myers, FL 33907
  529   Omni XX      Omolu, Azeezat              20312 Chestnut Grove    Tampa         FL      33647   [XX]             9/4/2015     Yes         2,707     Property Tax                 Yes                                                                   Taishan            Photo                2, 9                 J                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                   (239) 433-6880   PAlbanis@ForThePeople.c
                                                 Drive                                                                                                     Assessor's Document                            0.83               91.18           $246,824.26                                                                               FASHOLA AZEEZAT              Current Owner                 City or County Tax Records           2/23/2007                Current Owner                                                  12800 University Drive, Suite 600                     om
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Fort Myers, FL 33907
  530   Omni XX      Overlook, LLC               700 S. Laurel Street    Richmond      VA      23220   [XX]             9/4/2015     Yes         1,384         Property Tax             Yes                                                                   Venture Supply     Photo                38                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                       HOWE JOHN F AND
                                                                                                                                                           Assessor's Document                            0.96              105.46           $145,956.64                                                                                                            Previous Owner                City or County Tax Records              2006                     7/18/2006                                                   580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                       PATRICIA A
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  531   Omni XX     Overlook, LLC               702 S. Laurel Street     Richmond      VA      23220   [XX]             9/4/2015     Yes         1,372         Property Tax             Yes                                                                   Venture Supply     Photo                38                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                       ANNIOS MELISSA M AND
                                                                                                                                                           Assessor's Document                            0.96              105.46           $144,691.12                                                                                                            Previous Owner                City or County Tax Records              2006                     7/31/2006                                                   580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                       TEACHEY MATTHEW L
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  532   Omni XX     Overlook, LLC               704 S. Laurel Street     Richmond      VA      23220   [XX]             9/4/2015     Yes         1,033         Property Tax             Yes                                                                   Venture Supply     Photo                38                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                       HOGGATT JOHN HUNTER
                                                                                                                                                           Assessor's Document                            0.96              105.46           $108,940.18                                                                                                            Previous Owner                City or County Tax Records              2006                     7/18/2006                                                   580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                       AND AMY E TAYLOR
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  533   Omni XX     Overlook, LLC               706 S. Laurel Street     Richmond      VA      23220   [XX]             9/4/2015     Yes         1,033         Property Tax             Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                           Assessor's Document                            0.96              105.46           $108,940.18                                                                               BUCKLEY CAROLYN S            Previous Owner                City or County Tax Records              2006                     7/31/2006                                                   580 East Main Street, Suite 310
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  534   Omni XX     Overlook, LLC               708 S. Laurel Street     Richmond      VA      23220   [XX]             9/4/2015     Yes         1,376         Property Tax             Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                                                                                                                                                       SEUFER WILLIAM C AND
                                                                                                                                                           Assessor's Document                            0.96              105.46           $145,112.96                                                                                                            Previous Owner                City or County Tax Records              2006                     7/18/2006                                                   580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                       PAUL M AND MARTHA C
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  535   Omni XX     Overlook, LLC               710 S. Laurel Street     Richmond      VA      23220   [XX]             9/4/2015     Yes         1,360         Property Tax             Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                           Assessor's Document                            0.96              105.46           $143,425.60                                                                               FERTIG WESLEY R              Previous Owner                City or County Tax Records              2006                     7/30/2009                                                   580 East Main Street, Suite 310
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  536   Omni XX     Overlook, LLC               714 S. Pine Street       Richmond      VA      23220   [XX]             9/4/2015     Yes         2,073         Property Tax             Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                           Assessor's Document                            0.96              105.46           $218,618.58                                                                               VM714 LLC                    Previous Owner                City or County Tax Records              2006                    12/30/2008                                                   580 East Main Street, Suite 310
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  537   Omni XX     Overlook, LLC               716 S. Pine Street       Richmond      VA      23220   [XX]             9/4/2015     Yes         1,686             Other                Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                                                                          0.96              105.46           $177,805.56                                                                               BAILEY MARSHALL S            Previous Owner                City or County Tax Records              2006                     7/27/2006                                                   580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Norfolk, VA 23510
  538   Omni XX     Overlook, LLC               803 Holly Street         Richmond      VA      23220   [XX]             9/4/2015     Yes         1,234        Property Tax              Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                           Assessor's Document                            0.96              105.46           $130,137.64                                                                               YUTH HEAN AND RAVY           Previous Owner                City or County Tax Records              2006                     8/10/2007                                                   580 East Main Street, Suite 310
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  539   Omni XX     Overlook, LLC               805 Holly Street         Richmond      VA      23220   [XX]             9/4/2015     Yes         1,212        Property Tax              Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                           Assessor's Document                            0.96              105.46           $127,817.52                                                                               LE DERRICK                   Previous Owner                City or County Tax Records              2006                     5/30/2007                                                   580 East Main Street, Suite 310
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  540   Omni XX     Overlook, LLC               807 Holly Street         Richmond      VA      23220   [XX]             9/4/2015     Yes         1,272        Property Tax              Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                           Assessor's Document                            0.96              105.46           $134,145.12                                                                               DOUGLAS KATHLEEN P           Previous Owner                City or County Tax Records              2006                     6/6/2008                                                    580 East Main Street, Suite 310
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  541   Omni XX     Overlook, LLC               809 Holly Street         Richmond      VA      23220   [XX]             9/4/2015     Yes         1,270        Property Tax              Yes                                                                   Venture Supply     Photo                39                   K                                                                                                                                                            Law Offices of Richard J. Serpe        Richard J. Serpe, Esq.               (757) 233-0009   rserpe@serpefirm.com
                                                                                                                                                           Assessor's Document                            0.96              105.46           $133,934.20                                                                               HARRELSON JENNIFER A         Previous Owner                City or County Tax Records              2006                     6/7/2011                                                    580 East Main Street, Suite 310
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Norfolk, VA 23510
  542   Omni XX     Palermo, Merle              501 Clarence Avenue      Pass Christian MS     39571   [XX], [XXXI]     9/4/2015     Yes         1,560            Other                 Yes                                                                   Taihe              Photo                17                   I                                                                                                                                                            Reeves & Mestayer                      Jim Reeves, Esq.                     (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                                                                                                                                                       PALERMO JOSEPH A &
                                                                                                                                                                                                          0.84               92.27           $143,941.20                                                                                                            Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                  160 Main St
                                                                                                                                                                                                                                                                                                                                       TESSERO MERLE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Biloxi, MS 39530
  543   Omni XX      Palmer, Ben & Kay           320 Pine Point          Eclectic      AL      36024   [XX],            9/4/2015     Yes         3,005            Other                 Yes                                                                   Venture Supply     Photo                38                   K                                                                                                                                                            Reeves & Mestayer                      Jim Reeves, Esq.                     (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                                                                                                                                                       PALMER BENJAMIN M &
                                                                                                       [XXVIII]                                                                                           0.83               91.18           $273,995.90                                                                                                            Current Owner                 City or County Tax Records           3/30/2007                Current Owner                                                  160 Main St
                                                                                                                                                                                                                                                                                                                                       KAY C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Biloxi, MS 39530
  544   Omni XX      Parmar, Shakuntla           1543 Highland Gate      Hoover        AL      35244   [XX],            9/4/2015     Yes         5,739      Appraisal Showing           Yes                                                                   Taihe              Photo                21                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                    (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                       PARMAR SHAKUNTLA & R
                                                 Point                                                 [XXVIII]                                              Floor Plan and                               0.84               92.27           $529,537.53                                                                                                    Current Owner                         City or County Tax Records            2/1/2009                Current Owner                                                  2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                       G
                                                                                                                                                             Square Footage                                                                                                                                                                                                                                                                                                                                                    650
  545   Omni XX     Patterson, Fay              93 Isaac Cove            Pontotoc      MS      38863   [XX], [XXXI]     9/4/2015     Yes         2,112            Other                 Yes                                                                   Taihe              Photo                17                   I                                                                                                                                                            Reeves & Mestayer                      Jim Reeves, Esq.                     (228) 374-5151   jrr2@rmlawcall.com
                                                                                                                                                                                                          0.75               82.39           $174,007.68                                                                               PATTERSON FAY F              Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                  160 Main St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Biloxi, MS 39530
  546   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura      FL      33160   [XX(I)]          6/30/2017    No          3533         Property Tax              Yes                                                                   Taishan            Photo                5                    J                                                                                                                                                            The Plaintiffs' Steering Committee     The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1001                                                                                                 Assessor's Document                                                                                                                                                                                                                                                                                                                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                          0.81               88.98           $314,366.34                                                                               INVFLO LLC                   Previous Owner                City or County Tax Records              2007                     8/13/2010
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               510 Walnut Street, Suite 500
  547   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura      FL      33160   [XX(I)]          6/30/2017    No          3082         Property Tax              Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee     The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1003                                                                                                 Assessor's Document                            0.81               88.98           $274,236.36                                                                               STANISLAV ZAVULUNOV          Previous Owner                City or County Tax Records              2007                     8/1/2007                                                    c/o Arnold Levin, Esq.
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Levin Sedran & Berman
  548   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura      FL      33160   [XX(I)]          6/30/2017    No          3464         Property Tax              Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee     The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1004                                                                                                 Assessor's Document                            0.81               88.98           $308,226.72                                                                               BCR US CORP                  Previous Owner                City or County Tax Records              2007                     8/1/2007                                                    c/o Arnold Levin, Esq.
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Levin Sedran & Berman
  549   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura      FL      33160   [XX(I)]          6/30/2017    No          2001         Property Tax              Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee     The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                                       BARUCH LIEBER & TOVA
                                                 unit 1005                                                                                                 Assessor's Document                            0.81               88.98           $178,048.98                         Condo Association                                                                  Previous Owner                City or County Tax Records              2007                     9/1/2007                                                    c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                       LIEBER
                                                                                                                                                           with Square Footage                                                                                                                                                                                                                                                                                                                                                 Levin Sedran & Berman
                                                                                                                  Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 17 of 28



Claimant Source      Claimant Name               Affected Property       City       State   Zip     Omni(s)   Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                      Counsel                              Counsel Address                      Counsel Phone    Counsel Email                            NOTES
                                                                                                                                                                                                               2017 Cost Per SF   2017 Remediation                                                                                Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                    Prior Settlement
Identifier                                       Address                                                       Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                              [B = A x $109.85]       Damages                                                                                  May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                         Payment(s)-
                                                                                                                   Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                      [SF x B]                                                                                           Greer                                                                                                              Greer                                                                                                                              FORTHCOMING
                                                                                                                                                                             Footage             [A]
  550   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524          Property Tax            Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1006                                                                                         Assessor's Document                           0.81               88.98           $313,565.52                                                                               DECA EAST LLC                Previous Owner                City or County Tax Records              2007                     8/1/2007                                                  c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  551   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069          Property Tax            Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1007                                                                                         Assessor's Document                                                                                                                                                        GREGORY GESUALDO &W                                                                                                                                                                   c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,079.62                                                                                                   Previous Owner                         City or County Tax Records              2007                     9/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        KATHY                                                                                                                                                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street Suite 500
  552   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              MIMEX REAL ESTATE LLC
                                                 unit 1009                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                               C/O SERBER & ASSOCIATES Previous Owner                     City or County Tax Records              2007                    10/12/2010
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                              PA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  553   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 10A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                         Condo Association                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  554   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1101                                                                                         Assessor's Document                                                                                                                                                        AAA INVESTMENT                                                                                                                                                                        c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $314,366.34                                                                                                            Previous Owner                City or County Tax Records              2007                     8/22/2011
                                                                                                                                                   with Square Footage                                                                                                                                                        RESOURCES                                                                                                                                                                             Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  555   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1102                                                                                         Assessor's Document                                                                                                                                                        GOLBAR CORP C/O SERBER                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $216,488.34                                                                                                      Previous Owner                      City or County Tax Records              2007                     5/31/2011
                                                                                                                                                   with Square Footage                                                                                                                                                        & ASSOCIATES P A                                                                                                                                                                      Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  556   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1103                                                                                         Assessor's Document                                                                                                                                                        BIZKAI LLC C/O GRECO                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $274,236.36                                                                                                            Previous Owner                City or County Tax Records              2007                     10/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        MANAGEMENT SVC                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  557   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1104                                                                                         Assessor's Document                                                                                                                                                        HORIZON LINE                                                                                                                                                                          c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $308,226.72                                                                                                            Previous Owner                City or County Tax Records              2007                     9/16/2011
                                                                                                                                                   with Square Footage                                                                                                                                                        PROPERTIES LLC                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  558   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1105                                                                                         Assessor's Document                                                                                                                                                        AVENTURA DOME RLTY                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $178,048.98                                                                                                            Previous Owner                City or County Tax Records              2007                     10/2/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        INVEST LLC                                                                                                                                                                            Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  559   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1106                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $313,565.52                                                                               CHIQUI INVESTMENTS LLC Previous Owner                      City or County Tax Records              2007                    10/19/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  560   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1107                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,079.62                                                                               PENINSULA 1107 S A DE C V Previous Owner                   City or County Tax Records              2007                     9/28/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  561   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J           JOSE ALBERTO GALEANO                                                                                                                             The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              RAMIREZ LE
                                                 unit 1108                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $216,488.34                                                                               MARIELA BORREGO DE           Previous Owner                City or County Tax Records              2007                    11/19/2010
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                              GALEANO LE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                              REM FRANCISCO JAVIER
  562   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1109                                                                                         Assessor's Document                                                                                                                                                        JOLIARE HOLDINGS LTD                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                                                            Previous Owner                City or County Tax Records              2007                     8/27/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        C/O PAULO MIRANDA P A                                                                                                                                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  563   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 11A (Elevator Bay)                                                                                                                                                                                                Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  564   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 11B (Elevator Bay)                                                                                                                                                                                                Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  565   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 11C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                            c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  566   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1201                                                                                         Assessor's Document                                                                                                                                                        CLARET 1201                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $314,366.34                                                                                                            Previous Owner                City or County Tax Records              2007                     12/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        CORPORATION                                                                                                                                                                           Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  567   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              FLAMBOYANT REAL
                                                 unit 1203                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $274,236.36                                                                               ESTATE                       Previous Owner                City or County Tax Records              2007                     10/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                              INVESTMENTS LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  568   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1204                                                                                         Assessor's Document                           0.81               88.98           $308,226.72                                                                               FENEL CORPORATION            Previous Owner                City or County Tax Records              2007                     5/6/2011                                                  c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  569   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1205                                                                                         Assessor's Document                           0.81               88.98           $178,048.98                                                                               YGGDRASIL SEED LLC           Previous Owner                City or County Tax Records              2007                     9/1/2007                                                  c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  570   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J           LIMERSA 4 CORP                                                                                                                                   The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1206                                                                                         Assessor's Document                           0.81               88.98           $313,565.52                                                                               C/O SERBER & ASSOCIATES Previous Owner                     City or County Tax Records              2007                     8/22/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                        PA                                                                                                                                                                                    Levin Sedran & Berman
  571   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1207                                                                                         Assessor's Document                           0.81               88.98           $273,079.62                                                                               EDDY ARMINIO RENGIFO         Previous Owner                City or County Tax Records              2007                     8/1/2007                                                  c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  572   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              PENINSULA II
                                                 unit 1209                                                                                         Assessor's Document                           0.81               88.98           $273,435.54                                                                                                            Previous Owner                City or County Tax Records              2007                     3/23/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              INTERNATIONAL INC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  573   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 12A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                         Condo Association                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  574   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 12B (Elevator Bay)                                                                                                                         0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  575   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J           ABRAHAM BENZAQUEN                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              GABIZON
                                                 unit 1401                                                                                         Assessor's Document                           0.81               88.98           $314,366.34                                                                                                            Previous Owner                City or County Tax Records              2007                    11/18/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              ANA LUISA MEIZER DE
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                              BENZAQUEN
  576   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1402                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                               PENINSULA 1402 LLC           Previous Owner                City or County Tax Records              2007                    11/27/2007                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  577   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1403                                                                                         Assessor's Document                           0.81               88.98           $274,236.36                                                                               GLORIA VILLANUEVA TRS Previous Owner                       City or County Tax Records              2007                     8/30/2010                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  578   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              EDUARDO KOFMAN
                                                 unit 1404                                                                                         Assessor's Document                           0.81               88.98           $308,226.72                                                                                                            Previous Owner                City or County Tax Records              2007                    10/31/2007                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              SANDRA KOFMAN
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  579   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1405                                                                                         Assessor's Document                           0.81               88.98           $178,048.98                                                                               ALPHA PRO US CORP            Previous Owner                City or County Tax Records              2007                     4/13/2009                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  580   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J           MARIO FERRADOSA                                                                                                                                  The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1406                                                                                         Assessor's Document                           0.81               88.98           $313,565.52                                                                               DALVA CRISTINA               Previous Owner                City or County Tax Records              2007                    12/28/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                        FERRADOSA                                                                                                                                                                             Levin Sedran & Berman
  581   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1407                                                                                         Assessor's Document                                                                                                                                                        SULTANTO                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,079.62                                                                                                    Previous Owner                        City or County Tax Records              2007                     11/2/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        DEVELOPMENTS LIMITED                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  582   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1408                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                               CECILIA FARRUGIA             Previous Owner                City or County Tax Records              2007                     1/5/2011                                                  c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  583   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1409                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                               PEN2 1409 LLC                Previous Owner                City or County Tax Records              2007                     9/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  584   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 14A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  585   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 14B (Elevator Bay)                                                                                                                         0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  586   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 14C (Elevator Bay)                                                                                                                         0.81               88.98            $27,405.84                         Condo Association                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  587   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1501                                                                                         Assessor's Document                           0.81               88.98           $314,366.34                                                                               ELR INTERNATIONAL CORP Previous Owner                      City or County Tax Records              2007                     12/3/2007                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                  Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 18 of 28



Claimant Source      Claimant Name               Affected Property       City       State   Zip     Omni(s)   Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                      Counsel                              Counsel Address                      Counsel Phone    Counsel Email                            NOTES
                                                                                                                                                                                                               2017 Cost Per SF   2017 Remediation                                                                                Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                    Prior Settlement
Identifier                                       Address                                                       Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                              [B = A x $109.85]       Damages                                                                                  May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                         Payment(s)-
                                                                                                                   Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                      [SF x B]                                                                                           Greer                                                                                                              Greer                                                                                                                              FORTHCOMING
                                                                                                                                                                             Footage             [A]
  588   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082          Property Tax            Yes                                                                   Taishan            Photo                2                    J           CARLO COCCIA                                                                                                                                     The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1503                                                                                         Assessor's Document                           0.81               88.98           $274,236.36                                                                               ADRIANA ESTER CAMBIO         Previous Owner                City or County Tax Records              2007                     4/20/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                        BONAZZI                                                                                                                                                                               Levin Sedran & Berman
  589   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464          Property Tax            Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1504                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $308,226.72                                                                               IRINA BAUMGERTNER            Previous Owner                City or County Tax Records              2007                     10/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  590   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              PENINSULA SNDS LLC
                                                 unit 1505                                                                                         Assessor's Document                           0.81               88.98           $178,048.98                                                                                                       Previous Owner                     City or County Tax Records              2007                     9/21/2010                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              C/O SERBER & ASSOCIATES
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  591   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1506                                                                                         Assessor's Document                           0.81               88.98           $313,565.52                                                                               AMY ZAKARIN                  Previous Owner                City or County Tax Records              2007                     9/27/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  592   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              DESIGN EXPRESS ORBA
                                                 unit 1507                                                                                         Assessor's Document                           0.81               88.98           $273,079.62                                                                                                            Previous Owner                City or County Tax Records              2007                    11/24/2010                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              LLC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  593   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1509                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                               PENINSULA 1509 LLC           Previous Owner                City or County Tax Records              2007                     2/4/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  594   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 15A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  595   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 15B (Elevator Bay)                                                                                                                         0.81               88.98            $32,477.70                         Condo Association                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  596   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 15C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                            c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  597   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              MARCAM INVESTMENT
                                                 unit 1601                                                                                         Assessor's Document                           0.81               88.98           $314,366.34                                                                                                            Previous Owner                City or County Tax Records              2007                    11/15/2007                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              LLC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  598   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              ANSEPI GOLD COAST
                                                 unit 1602                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                                                            Previous Owner                City or County Tax Records              2007                    12/17/2010                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              CORPORATION
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  599   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                6                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              TROY INTERNATIONAL
                                                 unit 1603                                                                                         Assessor's Document                           0.81               88.98           $274,236.36                                                                                                            Previous Owner                City or County Tax Records              2007                     8/4/2008                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              PROPERTIES INC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  600   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1604                                                                                         Assessor's Document                           0.81               88.98           $308,226.72                                                                               1600 PENN LLC                Previous Owner                City or County Tax Records              2007                     12/6/2007                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  601   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1605                                                                                         Assessor's Document                                                                                                                                                        PROFESSIONAL TAXES BY                                                                                                                                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $178,048.98                                                                                                     Previous Owner                       City or County Tax Records              2007                    10/15/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        RENAE LLC                                                                                                                                                                             Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  602   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1606                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $313,565.52                                                                               DSN INVESTMENT LLC           Previous Owner                City or County Tax Records              2007                     2/27/2008
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  603   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1607                                                                                         Assessor's Document                           0.81               88.98           $273,079.62                                                                               SHERRY CASTELLANOS           Previous Owner                City or County Tax Records              2007                     12/5/2007                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  604   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1608                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                               FIELDS & FIELDS LLC          Previous Owner                City or County Tax Records              2007                     6/3/2011                                                  c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  605   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1609                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                               MARINA SUN CORP              Previous Owner                City or County Tax Records              2007                     11/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  606   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 16A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  607   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 16B (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                            c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  608   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 16C (Elevator Bay)                                                                                                                                                                                                Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  609   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   IMT                Photo                32                   F                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1701                                                                                         Assessor's Document                                                                                                                                                        OCCELLI INVESTMENTS                                                                                                                                                                   c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $314,366.34                                                                                                            Previous Owner                City or County Tax Records              2007                     9/9/2011
                                                                                                                                                   with Square Footage                                                                                                                                                        LLC                                                                                                                                                                                   Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  610   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   IMT                Photo                32                   F                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 17A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  611   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   IMT                Photo                32                   F                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              IBRAHIM AVENTURA
                                                 unit 1802                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                                                            Previous Owner                City or County Tax Records              2007                    12/20/2007                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              PROPERTY LLC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  612   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   IMT                Photo                32                   F                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1804                                                                                         Assessor's Document                           0.81               88.98           $308,226.72                                                                               FOUR LITTLE CORP             Previous Owner                City or County Tax Records              2007                    11/22/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  613   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   IMT                Photo                32                   F                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1805                                                                                         Assessor's Document                           0.81               88.98           $178,048.98                                                                               PENINSULA CAS II LLC         Previous Owner                City or County Tax Records              2007                     4/13/2009                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  614   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   IMT                Photo                32                   F                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              ONE DIRECTION
                                                 unit 1806                                                                                         Assessor's Document                           0.81               88.98           $313,565.52                                                                                                            Previous Owner                City or County Tax Records              2007                     12/7/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              AVENTURA LLC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  615   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   IMT                Photo                32                   F                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1807                                                                                         Assessor's Document                           0.81               88.98           $273,079.62                                                                               PATAGONIA FISHING LLC        Previous Owner                City or County Tax Records              2007                     2/28/2011                                                 c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
  616   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   IMT                Photo                32                   F                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 1809                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                               LE KANG &W NING WANG Previous Owner                        City or County Tax Records              2007                     10/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  617   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 18B (Elevator Bay)                                                                                                                         0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  618   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 19A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                         Condo Association                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
  619   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 19B (Elevator Bay)                                                                                                                                                                                                Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  620   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 19C (Elevator Bay)                                                                                                                                                                                                Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  621   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2001                                                                                         Assessor's Document                                                                                                                                                        EDUARD ZAVULUNOV                                                                                                                                                                      c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $314,366.34                                                                                                            Previous Owner                City or County Tax Records              2007                    12/12/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        ALLA ZAVULUNOV                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  622   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2002                                                                                         Assessor's Document                                                                                                                                                        PARABAY ENTERPRISES                                                                                                                                                                   c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $216,488.34                                                                                                            Previous Owner                City or County Tax Records              2007                     4/3/2012
                                                                                                                                                   with Square Footage                                                                                                                                                        INC                                                                                                                                                                                   Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  623   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2003                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $274,236.36                                                                               JAY MITCHELL BAUMAN          Previous Owner                City or County Tax Records              2007                     10/6/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  624   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              LUCIA SALETE DA SILVA
                                                 unit 2004                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $308,226.72                                                                               MARCHETT              Previous Owner                       City or County Tax Records              2007                    10/19/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                              Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                              ELOI VITORIO MARCHETT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
  625   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2005                                                                                         Assessor's Document                                                                                                                                                        DELADUCKS                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $178,048.98                                                                                                            Previous Owner                City or County Tax Records              2007                     11/7/2007
                                                                                                                                                   with Square Footage                                                                                                                                                        INTERNATIONAL LLC                                                                                                                                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    510 Walnut Street, Suite 500
                                                                                                                  Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 19 of 28



Claimant Source      Claimant Name               Affected Property       City       State   Zip     Omni(s)   Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                          Counsel                              Counsel Address                      Counsel Phone    Counsel Email                            NOTES
                                                                                                                                                                                                               2017 Cost Per SF   2017 Remediation                                                                                Current Owner as of                                                                                               Sell Date if Applicable or                                                                                                                      Prior Settlement
Identifier                                       Address                                                       Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown    Purchase Date Per Brown
                                                                                                                                                                                                              [B = A x $109.85]       Damages                                                                                  May-August 2017 Per Brown                                                                                            Current Owner Per Brown                                                                                                                           Payment(s)-
                                                                                                                   Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                         Claimant Per Brown Greer               Greer                         Greer
                                                                                                                                                                                                                                      [SF x B]                                                                                           Greer                                                                                                                Greer                                                                                                                                FORTHCOMING
                                                                                                                                                                             Footage             [A]
  626   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069          Property Tax            Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2007                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,079.62                                                                               RUCUCA LLC                   Previous Owner                City or County Tax Records               2007                      2/9/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  627   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2008                                                                                         Assessor's Document                                                                                                                                                        FABIO LANDAZABAL                                                                                                                                                                          c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $216,488.34                                                                                                    Previous Owner                        City or County Tax Records               2007                     11/14/2011
                                                                                                                                                   with Square Footage                                                                                                                                                        MARIA CAROLINA UMANA                                                                                                                                                                      Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  628   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2009                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                               RAQUEL M BENLOLO             Previous Owner                City or County Tax Records               2007                      2/28/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  629   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2, 9                 J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 20B (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  630   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 20C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  631   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2101                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $314,366.34                                                                               ELIZABETH MEKLER             Previous Owner                City or County Tax Records               2007                      9/1/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  632   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2103                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $274,236.36                                                                               TOMGA LLC                    Previous Owner                City or County Tax Records               2007                      4/18/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  633   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2104                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $308,226.72                                                                               FLORIAVENT BEACH LLC         Previous Owner                City or County Tax Records               2007                     12/23/2008
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  634   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2105                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $178,048.98                                                                               VALINDA LAKE LTD             Previous Owner                City or County Tax Records               2007                     10/31/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  635   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2106                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $313,565.52                                                                               MALUMIA LLC                  Previous Owner                City or County Tax Records               2007                      9/26/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  636   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2107                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,079.62                                                                               2107 LLC                     Previous Owner                City or County Tax Records               2007                     12/12/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  637   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2109                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                               LOMA INVESTMENTS LLC         Previous Owner                City or County Tax Records               2007                      12/1/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  638   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 21A (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  639   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 21B (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  640   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 21C (Elevator Bay)                                                                                                                         0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                       c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
  641   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2201                                                                                         Assessor's Document                           0.81               88.98           $314,366.34                                                                               TERRAMAR OVERSEAS INC Previous Owner                       City or County Tax Records                          2007                    1/25/2011                                          c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  642   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              PENINSULA DE MEXICO
                                                 unit 2202                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                                                            Previous Owner                City or County Tax Records                          2007                    3/14/2011                                          c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              LLC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  643   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J           SERGEI SIMAKOV TRS                                                                                                                                   The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2203                                                                                         Assessor's Document                           0.81               88.98           $274,236.36                                                                               2203 PENISULA LAND           Previous Owner                City or County Tax Records                          2007                    4/18/2011                                          c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                        TRUST                                                                                                                                                                                     Levin Sedran & Berman
  644   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                              MD INVESTMENTS 2204
                                                 unit 2204                                                                                         Assessor's Document                           0.81               88.98           $308,226.72                                                                                                            Previous Owner                City or County Tax Records                          2007                   12/19/2011                                          c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                              LLC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  645   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2205                                                                                         Assessor's Document                           0.81               88.98           $178,048.98                                                                               ANTONIO SHEHIN               Previous Owner                City or County Tax Records                          2007                   10/29/2008                                          c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  646   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2206                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $313,565.52                                                                               UNION PLACE LLC              Previous Owner                City or County Tax Records                          2007                   12/13/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  647   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2207                                                                                         Assessor's Document                           0.81               88.98           $273,079.62                                                                               CERV UNITED LLC              Previous Owner                City or County Tax Records                          2007                       2/9/2011                                        c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  648   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2208                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                               PENINSULA 2208 LLC           Previous Owner                City or County Tax Records                          2007                   11/15/2011                                          c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  649   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2209                                                                                         Assessor's Document                           0.81               88.98           $273,435.54                                                                               PENINSULA II 2209 LLC        Previous Owner                City or County Tax Records     2007                                         11/1/2007                                          c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  650   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 22A (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  651   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2, 9                 J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 22B (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  652   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                9                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 22C (Elevator Bay)                                                                                                                         0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                       c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
  653   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2301                                                                                         Assessor's Document                           0.81               88.98           $314,366.34                                                                               TERRASOL OVERSEAS INC Previous Owner                       City or County Tax Records                          2007                       2/4/2011                                        c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  654   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2303                                                                                         Assessor's Document                           0.81               88.98           $274,236.36                                                                               MACEBRA INC                  Previous Owner                City or County Tax Records                          2007                   12/19/2007                                          c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  655   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                6                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2304                                                                                         Assessor's Document                           0.81               88.98           $308,226.72                                                                               PENINSULA SMS LLC            Previous Owner                City or County Tax Records                          2007                   12/12/2007                                          c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  656   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2305                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $178,048.98                                                                               PENINSULA MAS II LLC         Previous Owner                City or County Tax Records                          2007                    6/14/2010
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  657   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2306                                                                                         Assessor's Document                                                                                                                                                        LAI MING LAM &W KAM                                                                                                                                                                       c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $313,565.52                                                                                                          Previous Owner                  City or County Tax Records                          2007                       1/3/2008
                                                                                                                                                   with Square Footage                                                                                                                                                        FAI IP KUAN & FILBERT S IP                                                                                                                                                                Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  658   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2307                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                  c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,079.62                                                                               PAUL MEYEROFF                Previous Owner                City or County Tax Records                          2007                    12/7/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  659   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2309                                                                                         Assessor's Document                           0.81               88.98           $273,435.54                                                                               VOLKAN CORP                  Previous Owner                City or County Tax Records     2007                                        10/28/2010                                          c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                                  Levin Sedran & Berman
  660   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 23A (Elevator Bay)                                                                                                                                                                                                Condo Association                                                                                                                                                                                                                               c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
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  661   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 23B (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        510 Walnut Street, Suite 500
  662   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                                The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 23C (Elevator Bay)                                                                                                                         0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                       c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Levin Sedran & Berman
                                                                                                                  Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 20 of 28



Claimant Source      Claimant Name               Affected Property       City       State   Zip     Omni(s)   Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia   Markings # from      Product                                                                                                                                                        Counsel                              Counsel Address                      Counsel Phone    Counsel Email                            NOTES
                                                                                                                                                                                                               2017 Cost Per SF   2017 Remediation                                                                             Current Owner as of                                                                                               Sell Date if Applicable or                                                                                                                    Prior Settlement
Identifier                                       Address                                                       Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                 Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown    Purchase Date Per Brown
                                                                                                                                                                                                              [B = A x $109.85]       Damages                                                                               May-August 2017 Per Brown                                                                                            Current Owner Per Brown                                                                                                                         Payment(s)-
                                                                                                                   Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                               Catalog                                                         Claimant Per Brown Greer               Greer                         Greer
                                                                                                                                                                                                                                      [SF x B]                                                                                        Greer                                                                                                                Greer                                                                                                                              FORTHCOMING
                                                                                                                                                                             Footage             [A]
  663   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433          Property Tax            Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2402                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                            TJ BROC LLC                  Previous Owner                City or County Tax Records                          2007                    4/21/2011                                        c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
  664   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082          Property Tax            Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                           BLUE TOPAZ SEAS GROUP
                                                 unit 2403                                                                                         Assessor's Document                           0.81               88.98           $274,236.36                                                                                                  Previous Owner                       City or County Tax Records                          2007                    4/20/2011                                        c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                           LTD
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
  665   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464          Property Tax            Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2404                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $308,226.72                                                                            LA MAIELLA LLC               Previous Owner                City or County Tax Records                          2007                    3/23/2012
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
  666   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2405                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $178,048.98                                                                            CBH INVESTMENTS INC          Previous Owner                City or County Tax Records                          2007                    11/9/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
  667   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                           PENINSULA II UNIT 2406
                                                 unit 2406                                                                                         Assessor's Document                           0.81               88.98           $313,565.52                                                                                                         Previous Owner                City or County Tax Records                          2007                    1/20/2012                                        c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                           HOLDING LLC
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
  668   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                           ROBERTO MULLER
                                                 unit 2407                                                                                         Assessor's Document                           0.81               88.98           $273,079.62                                                                                                         Previous Owner                City or County Tax Records                          2007                   12/15/2010                                        c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                           DIANA MULLER
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
  669   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                           DUCKS INTERNATIONAL
                                                 unit 2408                                                                                         Assessor's Document                           0.81               88.98           $216,488.34                                                                                                         Previous Owner                City or County Tax Records                          2007                     3/7/2011                                        c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                           CORP
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
  670   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2409                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                            CIMTEC INVESTMENT S A        Previous Owner                City or County Tax Records     2007                                         3/29/2011
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
  671   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 24A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Levin Sedran & Berman
  672   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 24B (Elevator Bay)                                                                                                                         0.81               88.98            $32,477.70                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Levin Sedran & Berman
  673   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo             12                   L                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 24C (Elevator Bay)                                                                                                                         0.81               88.98            $27,405.84                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Levin Sedran & Berman
  674   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2501                                                                                         Assessor's Document                           0.81               88.98           $314,366.34                                                                            PENINSULA 2501 INC           Previous Owner                City or County Tax Records                          2007                     8/6/2010                                        c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
  675   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                                                                                                                                                                                                                                                                                           PENINSULA SSW LLC
                                                 unit 2503                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $274,236.36                                                                            C/O SERBER & ASSOCIATES Previous Owner                     City or County Tax Records                          2007                    8/18/2010
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                           PA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
  676   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo             2                    J           TIERRA BLANCA Y SANTA                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2504                                                                                         Assessor's Document                                                                                                                                                     BARBARA LLC                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $308,226.72                                                                                                    Previous Owner                     City or County Tax Records                          2007                   10/19/2007
                                                                                                                                                   with Square Footage                                                                                                                                                     C/O SERBER & ASSOCIATES                                                                                                                                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                           PA                                                                                                                                                                                      510 Walnut Street, Suite 500
  677   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2505                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $178,048.98                                                                            ILLANA BALILTY               Previous Owner                City or County Tax Records                          2007                   11/14/2007
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
  678   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2506                                                                                         Assessor's Document                           0.81               88.98           $313,565.52                                                                            MINDUSA CORP                 Previous Owner                City or County Tax Records                          2007                     3/2/2012                                        c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
  679   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2507                                                                                         Assessor's Document                           0.81               88.98           $273,079.62                                                                            PENINSULA 2507 LLC           Previous Owner                City or County Tax Records                          2007                     7/8/2011                                        c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                                                                                                                                                                                                                                                                                                                                             Levin Sedran & Berman
  680   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2509                                                                                         Assessor's Document                                                                                                                                                     LIFE WEALTH                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98           $273,435.54                                                                                                         Previous Owner                City or County Tax Records                          2007                     2/8/2011
                                                                                                                                                   with Square Footage                                                                                                                                                     MANAGEMENT CORP                                                                                                                                                                         Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
  681   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 25A (Elevator Bay)                                                                                                                         0.81               88.98            $27,138.90                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Levin Sedran & Berman
  682   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 25B (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
  683   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 25C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,405.84                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
  684   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2601                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                           JOSEPH CULA
                                                                                                                                                   with Square Footage                           0.81               88.98           $314,366.34                                                                                                         Previous Owner                City or County Tax Records                          2007                   10/29/2007                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                           VIVIAN CHOCRON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  685   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2602                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                           FERRARA INVESTMENTS
                                                                                                                                                   with Square Footage                           0.81               88.98           $216,488.34                                                                                                         Previous Owner                City or County Tax Records                          2007                    1/30/2012                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                           LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  686   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2603                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                           0.81               88.98           $274,236.36                                                                            SOLCHU LLC                   Previous Owner                City or County Tax Records                          2007                     3/7/2011                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  687   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2604                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                           0.81               88.98           $308,226.72                                                                            SOLCHU LLC                   Previous Owner                City or County Tax Records                          2007                    8/31/2011                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  688   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2605                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                           0.81               88.98           $178,048.98                                                                            2605 PENINSULA INC           Previous Owner                City or County Tax Records                          2007                     3/4/2009                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  689   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2606                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                           0.81               88.98           $313,565.52                                                                            LILOS REAL ESTATE CORP Previous Owner                      City or County Tax Records                          2007                    1/31/2012                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  690   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2607                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                           0.81               88.98           $273,079.62                                                                            PENINSULA 2607 LLC           Previous Owner                City or County Tax Records                          2007                     7/8/2011                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  691   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2608                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                           MARIA SOLEDAD KHAMSI
                                                                                                                                                   with Square Footage                           0.81               88.98           $216,488.34                                                                                                 Previous Owner                        City or County Tax Records                          2007                    1/14/2008                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                           RUBIO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  692   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2609                                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                   with Square Footage                           0.81               88.98           $273,435.54                                                                            TORRE PENINSULA LLC          Previous Owner                City or County Tax Records     2007                                         3/23/2012                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  693   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 26A (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,138.90                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  694   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 26B (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $32,477.70                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
  695   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo             2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 26C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                 0.81               88.98            $27,405.84                                                                            UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Philadelphia, PA 19106
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Claimant Source      Claimant Name               Affected Property        City       State   Zip     Omni(s)   Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                        Counsel                              Counsel Address                   Counsel Phone     Counsel Email                            NOTES
                                                                                                                                                                                                                2017 Cost Per SF   2017 Remediation                                                                                Current Owner as of                                                                                               Sell Date if Applicable or                                                                                                                  Prior Settlement
Identifier                                       Address                                                        Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown    Purchase Date Per Brown
                                                                                                                                                                                                               [B = A x $109.85]       Damages                                                                                  May-August 2017 Per Brown                                                                                            Current Owner Per Brown                                                                                                                       Payment(s)-
                                                                                                                    Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                         Claimant Per Brown Greer               Greer                         Greer
                                                                                                                                                                                                                                       [SF x B]                                                                                           Greer                                                                                                                Greer                                                                                                                            FORTHCOMING
                                                                                                                                                                              Footage             [A]
  696   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533          Property Tax            Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2701                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               ZACK FEINSILVER LE
                                                                                                                                                    with Square Footage                           0.81               88.98           $314,366.34                                                                                                            Previous Owner                City or County Tax Records                          2007                    1/11/2008                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               REM ZF PEN2 LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  697   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2703                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $274,236.36                                                                               JOSE PALOMEQUE               Previous Owner                City or County Tax Records                          2007                    1/16/2009                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  698   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2704                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               NORTH AMERICAN
                                                                                                                                                    with Square Footage                           0.81               88.98           $308,226.72                                                                                                            Previous Owner                City or County Tax Records                          2007                    1/12/2012                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               INVESTMENTS LTD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  699   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2705                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               LA CORBIERE REAL
                                                                                                                                                    with Square Footage                           0.81               88.98           $178,048.98                                                                                                      Previous Owner                      City or County Tax Records                          2007                   12/12/2007                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               ESTATE INVESTMENTS INC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  700   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2706                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               INCA ENTERPRISES
                                                                                                                                                    with Square Footage                           0.81               88.98           $313,565.52                                                                                                            Previous Owner                City or County Tax Records                          2007                    1/10/2012                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               LIMITED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  701   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2707                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               MARSOLYPAZ
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,079.62                                                                                                            Previous Owner                City or County Tax Records                          2007                    2/21/2011                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               INVESTMENTS LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  702   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2709                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,435.54                                                                               ALEXEY KARPOV                Previous Owner                City or County Tax Records     2007                                        10/20/2011                                        Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  703   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 27A (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                               c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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  704   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 27B (Elevator Bay)                                                                                                                                                                                                 Condo Association                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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  705   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 27C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                               c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  706   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                5                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2802                                                                                          Assessor's Document                                                                                                                                                        JOAO CARLOS DE                                                                                                                                                                          c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               OLIVEIRA
                                                                                                                                                    with Square Footage                           0.81               88.98           $216,488.34                                                                                                            Previous Owner                City or County Tax Records               2007                      3/2/2012                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               SOLANGE RODRIGUES DE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                               OLIVEIRA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  707   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                5                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2804                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $308,226.72                                                                               METUSA LLC                   Previous Owner                City or County Tax Records               2007                     10/21/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  708   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                5                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2806                                                                                          Assessor's Document                                                                                                                                                        GOLDA RETCHKIMAN TRS                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $313,565.52                                                                               GOLDA RETCHKIMAN     Previous Owner                        City or County Tax Records               2007                     10/17/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               REVOCABLE TR                                                                                                                                                                            510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  709   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                5                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 2809                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,435.54                                                                               EDDAL INC                    Previous Owner                City or County Tax Records               2007                      9/15/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  710   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo                12                   L                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 28A (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                               c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  711   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 28B (Elevator Bay)                                                                                                                                                                                                 Condo Association                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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  712   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 28C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                               c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  713   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 29B (Elevator Bay)                                                                                                                                                                                                 Condo Association                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  714   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 30C (Elevator Bay)                                                                                                                                                                                                 Condo Association                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  715   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,   Aventura    FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 31A (Elevator Bay)                                                                                                                                                                                                 Condo Association                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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  716   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 3A (Elevator Bay)                                                                                                                                                                                                  Condo Association                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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  717   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                6                    J           MARCELO RADOMYSLER                                                                                                                                 The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 405                                                                                           Assessor's Document                                                                                                                                                        VIVIAN FEHER                                                                                                                                                                            c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               RADOMYSLER
                                                                                                                                                    with Square Footage                           0.81               88.98           $178,048.98                                                                                                            Previous Owner                City or County Tax Records               2007                      8/1/2007                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               GABRIEL FEHER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                               RADOMYSLER
                                                                                                                                                                                                                                                                                                                               DAVID FEHER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Philadelphia, PA 19106
  718   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                12                   L                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 407                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               SALOME VILLEGAS
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,079.62                                                                                                            Previous Owner                City or County Tax Records               2007                      12/7/2012                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               RESTREPO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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  719   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 4A (Elevator Bay)                                                                                                                                                                                                  Condo Association                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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  720   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 4B (Elevator Bay)                                                                                                                                                                                                  Condo Association                                                                                                                                                                                                                             c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                  N/A                         N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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  721   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                              The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500   alevin@lfsblaw.com
                                                 unit 501                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               SERGIO KOKUBO
                                                                                                                                                    with Square Footage                           0.81               88.98           $314,366.34                                                                                                            Previous Owner                City or County Tax Records               2007                      9/1/2007                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               KARINE KOKUBO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       510 Walnut Street, Suite 500
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Claimant Source      Claimant Name               Affected Property        City       State   Zip     Omni(s)   Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)   Type of Indicia      Markings # from      Product                                                                                                                                                      Counsel                              Counsel Address                      Counsel Phone    Counsel Email                            NOTES
                                                                                                                                                                                                                2017 Cost Per SF   2017 Remediation                                                                                Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                    Prior Settlement
Identifier                                       Address                                                        Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                    Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                               [B = A x $109.85]       Damages                                                                                  May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                         Payment(s)-
                                                                                                                    Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                  Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                       [SF x B]                                                                                           Greer                                                                                                              Greer                                                                                                                              FORTHCOMING
                                                                                                                                                                              Footage             [A]
  722   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433          Property Tax            Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 502                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               MAYAG INVEST LLC
                                                                                                                                                    with Square Footage                           0.81               88.98           $216,488.34                                                                                                            Previous Owner                City or County Tax Records              2007                     6/23/2009                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               C/O LUMER REAL ESTATE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  723   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 503                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $274,236.36                                                                               EDMUR MARTINS RIBEIRO Previous Owner                       City or County Tax Records              2007                     2/17/2012                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  724   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 504                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $308,226.72                                                                               QUADRIGA HOLDINGS INC Previous Owner                       City or County Tax Records              2007                     10/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  725   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 505                                                                                           Assessor's Document                                                                                                                                                        MAYAG INVESTMENTS LLC                                                                                                                                                                 c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $178,048.98                                                                               C/O LUMER PROPERTY    Previous Owner                       City or County Tax Records              2007                     8/1/2007                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               MGMT                                                                                                                                                                                  510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  726   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 506                                                                                           Assessor's Document                                                                                                                                                        KR506P2 LLC                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $313,565.52                                                                               C/O INVERSIONES KALUCA Previous Owner                      City or County Tax Records              2007                     12/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               LLC                                                                                                                                                                                   510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  727   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 507                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               3G&B USA INVESTMENTS
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,079.62                                                                                                            Previous Owner                City or County Tax Records              2007                     9/1/2007                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
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  728   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 508                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               508 AVENTURA
                                                                                                                                                    with Square Footage                           0.81               88.98           $216,488.34                                                                                                            Previous Owner                City or County Tax Records              2007                     9/1/2007                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               INVESTMENT LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  729   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 509                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,435.54                                                                               ANTHONY CHAYO ACHAR Previous Owner                         City or County Tax Records              2007                     9/1/2007                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  730   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 5A (Elevator Bay)                                                                                                                                                                                                  Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  731   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 5B (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  732   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 5C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  733   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 601                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $314,366.34                                                                               FRANCINE HIRTH               Previous Owner                City or County Tax Records              2007                     4/22/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  734   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 603                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $274,236.36                                                                               DRIVE INVESTING LTD          Previous Owner                City or County Tax Records              2007                    10/21/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  735   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 604                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               INTERNATIONAL
                                                                                                                                                    with Square Footage                           0.81               88.98           $308,226.72                                                                                                            Previous Owner                City or County Tax Records              2007                     10/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               INVESTMENTS HK LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  736   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 605                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $178,048.98                                                                               GAL NOYMAN                   Previous Owner                City or County Tax Records              2007                     11/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  737   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 606                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $313,565.52                                                                               IRANA FINANCE INC            Previous Owner                City or County Tax Records              2007                     10/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  738   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 607                                                                                           Assessor's Document                                                                                                                                                        HB PENINSULA                                                                                                                                                                          c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,079.62                                                                               CORPORATION           Previous Owner                       City or County Tax Records              2007                     1/4/2012                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               C/O NELSON SLOSBERGAS                                                                                                                                                                 510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  739   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 609                                                                                           Assessor's Document                                                                                                                                                        MIRELOR J NELCHA                                                                                                                                                                      c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,435.54                                                                               GONZALEZ                     Previous Owner                City or County Tax Records              2007                     2/5/2010                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               SERAFINA R NELCHA                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  740   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500     alevin@lfsblaw.com
                                                 unit 6A (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,138.90                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  741   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan            Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 6B (Elevator Bay)                                                                                                                                                                                                  Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $32,477.70                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  742   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan                                 2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 6C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                  0.81               88.98            $27,405.84                                                                               UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  743   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan            Photo                9                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 701                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $314,366.34                                                                               ROSA E LOPEZ                 Previous Owner                City or County Tax Records              2007                     4/15/2009                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  744   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 703                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                               PENINSULA AVENTURA
                                                                                                                                                    with Square Footage                           0.81               88.98           $274,236.36                                                                                                            Previous Owner                City or County Tax Records              2007                    12/14/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                               LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
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  745   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 704                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $308,226.72                                                                               LSF FLORIDA LLC              Previous Owner                City or County Tax Records              2007                     11/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  746   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 705                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $178,048.98                                                                               KUBER 101 LLC                Previous Owner                City or County Tax Records              2007                     10/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
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  747   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura   FL      33160   [XX(I)]     6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan            Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee   (215) 592-1500   alevin@lfsblaw.com
                                                 unit 707                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                    with Square Footage                           0.81               88.98           $273,079.62                                                                               PENINSULA 707 LLC            Previous Owner                City or County Tax Records              2007                     9/15/2011                                                 Levin Sedran & Berman
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Claimant Source      Claimant Name               Affected Property        City          State   Zip     Omni(s)          Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia      Markings # from      Product                                                                                                                                                      Counsel                              Counsel Address                     Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                                          2017 Cost Per SF   2017 Remediation                                                                                      Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                          Prior Settlement
Identifier                                       Address                                                                  Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                          Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                         [B = A x $109.85]       Damages                                                                                        May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                               Payment(s)-
                                                                                                                              Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                        Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                                 [SF x B]                                                                                                 Greer                                                                                                              Greer                                                                                                                                    FORTHCOMING
                                                                                                                                                                                        Footage             [A]
  748   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          2433          Property Tax            Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 708                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                               LEON ROY HAUSMANN
                                                                                                                                                              with Square Footage                           0.81               88.98           $216,488.34                                                                                                                  Previous Owner                City or County Tax Records              2007                     12/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                               JESSICA HAUSMANN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  749   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 709                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                               SAMI SHIRO &W JOANNA
                                                                                                                                                              with Square Footage                           0.81               88.98           $273,435.54                                                                                                                  Previous Owner                City or County Tax Records              2007                     8/1/2008                                                  Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                               BAIGELMAN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  750   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 7A (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                            0.81               88.98            $27,138.90                                                                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  751   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 7C (Elevator Bay)                                                                                                                                                                                                                                                                                                                                                                                                                                                              c/o Arnold Levin, Esq.
                                                                                                                                                                                                            0.81               88.98            $27,405.84                                                                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  752   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          3533         Property Tax             Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 901                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                               CITY & BAY INVESTMENTS
                                                                                                                                                              with Square Footage                           0.81               88.98           $314,366.34                                                                                                            Previous Owner                      City or County Tax Records              2007                     1/31/2008                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                               LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  753   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 902                                                                                                     Assessor's Document                                                                                                                                                              JAILSON PEREIRA                                                                                                                                                                       c/o Arnold Levin, Esq.
                                                                                                                                                              with Square Footage                           0.81               88.98           $216,488.34                                                                                     PATRICIA MUSA DE             Previous Owner                City or County Tax Records              2007                     3/21/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                               MORAIS                                                                                                                                                                                510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  754   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          3082         Property Tax             Yes                                                                   Taishan                  Photo                12                   L                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 903                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                               G R NEGOCIOS
                                                                                                                                                              with Square Footage                           0.81               88.98           $274,236.36                                                                                                                  Previous Owner                City or County Tax Records              2007                     9/30/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                               INTERNATIONAL LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  755   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          3464         Property Tax             Yes                                                                   Taishan                  Photo                5                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 904                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                              with Square Footage                           0.81               88.98           $308,226.72                                                                                     ESTEBAN REYES                Previous Owner                City or County Tax Records              2007                     5/10/2010                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  756   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          2001         Property Tax             Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 905                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                                                                                                                                                                                                               NOVAK PENINSULA II
                                                                                                                                                              with Square Footage                           0.81               88.98           $178,048.98                                                                                                                  Previous Owner                City or County Tax Records              2007                     8/16/2011                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                               CORP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  757   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          3524         Property Tax             Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 906                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                              with Square Footage                           0.81               88.98           $313,565.52                                                                                     JUSTIN FUHRMANN              Previous Owner                City or County Tax Records              2007                     10/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  758   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          3069         Property Tax             Yes                                                                   Taishan                  Photo                6                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 907                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                              with Square Footage                           0.81               88.98           $273,079.62                                                                                     PEN 907 LLC                  Previous Owner                City or County Tax Records              2007                     10/1/2007                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  759   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          2433         Property Tax             Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 908                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                              with Square Footage                           0.81               88.98           $216,488.34                                                                                     NICOL EZER LLC               Previous Owner                City or County Tax Records              2007                     1/11/2010                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  760   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No          3073         Property Tax             Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 909                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                                                                    c/o Arnold Levin, Esq.
                                                                                                                                                              with Square Footage                           0.81               88.98           $273,435.54                                                                                     ALINES PROPERTIES LLC        Previous Owner                City or County Tax Records              2007                    10/29/2010                                                 Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  761   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No           305      Builder's Floor Plan        Yes                                                                   Taishan                  Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 9A (Elevator Bay)                                                                                                                                                                                                                  Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                            0.81               88.98            $27,138.90                                                                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  762   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No           365      Builder's Floor Plan        Yes                                                                   Taishan                  Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 9B (Elevator Bay)                                                                                                                                                                                                                  Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                            0.81               88.98            $32,477.70                                                                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  763   Omni XX(I) Peninsula II Developers, Inc. 3301 NE 183rd Street,    Aventura      FL      33160   [XX(I)]            6/30/2017    No           308      Builder's Floor Plan        Yes                                                                   Taishan                  Affidavit from VP of J                    J                                                                                                                                                            The Plaintiffs' Steering Committee   The Plaintiffs' Steering Committee (215) 592-1500    alevin@lfsblaw.com
                                                 unit 9C (Elevator Bay)                                                                                                                                                                                                                  Condo Association                                                                                                                                                                                                                           c/o Arnold Levin, Esq.
                                                                                                                                                                                                            0.81               88.98            $27,405.84                                                                                     UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                     Levin Sedran & Berman
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     510 Walnut Street, Suite 500
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Philadelphia, PA 19106
  764   Omni XX      Pensco Trust Company        4134 Bismarck Palm       Tampa         FL      33610   [XX]               9/4/2015     Yes         1,240        Property Tax             Yes                                                                   Taishan                  Photo                1                    H                                                                                                                                                            Allison Grant, P.A.                  Allison Grant, Esq.                (561) 994-9646    agrant@allisongrantpa.com
                     f/b/o/ McAfee, Samuel W.    Drive                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                                    14 Southeast 4th Street
                                                                                                                                                                                                                                                                                                                                               SHAREEF AKBAR
                                                                                                                                                              with Square Footage                           0.83               91.18           $113,063.20                                                                                                          Previous Owner                        City or County Tax Records           6/23/2011                  10/12/2016                                                 Boca Raton, Florida 33432
                                                                                                                                                                                                                                                                                                                                               SHAIK SHARMILA BEGUM


  765   Omni XX      Perkins, Monica and Jerry   160 Turkey Trail Road    Odenville     AL      35120   [XX],              9/4/2015     Yes         1,452        Property Tax             Yes                                                                   Taihe                    Photo                17                   I                                                                                                                                                            Doyle Law Firm                       Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                        [XXVIII]                                              Assessor's Document                                                                                                                                                                                                                                                                                                                                                    2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                               PERKINS JERRY III &
                                                                                                                                                              with Square Footage                           0.84               92.27           $133,976.04                                                                                                                  Current Owner                 City or County Tax Records           10/26/2006               Current Owner                                                650
                                                                                                                                                                                                                                                                                                                                               MONICA RAYFORD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  766   Omni XX      Peters, Gerald              4904 SW 22nd Place       Cape Coral    FL      33904   [XX]               9/4/2015     Yes         3,794        Property Tax             Yes                                                                   Taishan                  Photo                2                    J                                                                                                                                                            Parker Waichman                      Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                              Assessor's Document                                                                                                                                                                                                                                                                                                                                                    27300 Riverview Center Blvd
                                                                                                                                                              with Square Footage                           0.80               87.88           $333,416.72                                                                                     JOHNSON BRIAN                Previous Owner                Tax Records + Title/Deed             4/23/2004                   12/6/2016                                                 Bonita Springs, FL 34134



  767   Omni XX      Phillips fka Chidarikire,   1351 Lyonshire Drive     Wesley        FL      33543   [XX]               9/4/2015     Yes         1,191     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo                37                   C                                                                                                                                                            Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                     Martha                                               Chapel                                                                              Assessor's Document                                                                                                                                                              RUIZ MARY L &                                                                                                                                                                         12800 University Drive, Suite 600                    om
                                                                                                                                                              with Square Footage                           0.83               91.18           $108,595.38                                                                                     CEPEDA ADRIAN R              Previous Owner                City or County Tax Records           10/2/2007                  10/29/2014                                                 Fort Myers, FL 33907



  768   Omni XX      Phillips, Patricia          2025 Acadia Greens Dr. Sun City        FL      33573   [XX]               9/4/2015     Yes         1,429     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo                37                   C                                                                                                                                                            Barrios, Kingsdorf & Casteix                                             (504) 523-3300   DBarrios@bkc-law.com
                                                                                                                                                              Assessor's Document
                                                                                                                                                                                                                                                                                                                                               REISMAN SALLY A
                                                                                                                                                              with Square Footage                           0.83               91.18           $130,296.22                                                                                                                  Previous Owner                City or County Tax Records           12/11/2001                  1/8/2016                                                  Dawn M. Barrios, Esq.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     701 Poydras Street, Suite 3650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70166
  769   Omni XX      Pierre-Gilles, Mickel &     1482 SW Medina           Port St. Lucie FL     34953   [XX]               9/4/2015     Yes         2,584     Property Tax                Yes                                                                   Taishan                  Photo                12                   L                                                                                                                                                            Morgan & Morgan                      Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                     Anseline                    Avenue                                                                                                       Assessor's Document                                                                                                                                                              OWNERSHIP                                                                                                                                                                             12800 University Drive, Suite 600                    om
                                                                                                                                                              with Square Footage                           0.82               90.08           $232,766.72                                                                                                                  Previous Owner                City or County Tax Records           3/21/2003                   6/12/2009                                                 Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                               PNC BANK NATIONAL
                                                                                                                                                                                                                                                                                                                                               ASSOCIATION

  770   Omni XX      Planas, Jane                2249 SW Elmwood          Port St. Lucie FL     34953   [XX]               9/4/2015     Yes         2,268            Other                Yes                                                                   BNBMDB                   Photo                25                   A                                                                                                                                                            Allison Grant, P.A. Baron & Budd,    Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                 Ave.                                                                                                                                                                                                                                                                                                                                                                                                                                           P.C.                                 Baron & Budd
                                                                                                                                                                                                                                                                                                                                               MARK B HORTON
                                                                                                                                                                                                            0.82               90.08           $204,301.44                                                                                                                  Previous Owner                City or County Tax Records           6/26/2006                   7/14/2014                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                               ALICE M HORTON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Dallas, TX 75219

  771   Omni XX      Platter, Holly              19808 Sea Rider Way      Lutz          FL      33559   [XX]               9/4/2015     Yes         5,595        Property Tax             Yes                                                                   Taihe                    Photo                14, 18               H, I                                                                                                                                                         Parker Waichman                      Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                              Assessor's Document                                                                                                                                                                                                                                                                                                                                                    27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                               PLATTER EUGENE B
                                                                                                                                                              with Square Footage                           0.83               91.18           $510,152.10                                                                                                                  Current Owner                 City or County Tax Records           4/14/2008                Current Owner                                                Bonita Springs, FL 34134
                                                                                                                                                                                                                                                                                                                                               PLATTER HOLLY B


  772   Omni XX      Preservation Alliance of    2205-07 St. Roch         New Orleans LA        70117   [IX], [XV],        5/5/2011     Yes           0              N/A                  N/A                                                                   Crescent City            Photo                27                   D                                                                                                                                                            Simon, Peragine, Smith & Redfearn,   Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com                         See Melvina Hazeur on RP
                     New Orleans, Inc., d/b/a    Avenue                                                 [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                          LLP                                  1100 Poydras St., 30th Floor
                                                                                                                                                                                                                                                                                                                                               HEALY LOGAN M
                     Preservation Resource                                                              [XX]                                                                                                0.86               94.47              $0.00                                                                                                                     Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                               KING SAMANTHA E
                     Center of New Orleans

  773   Omni XX      Preservation Alliance of    2521 St. Roch Avenue     New Orleans LA        70117   [IX], [XV],        5/5/2011     Yes           0              N/A                  N/A                                                                   Crescent City            Photo                27                   D                                                                                                                                                            Simon, Peragine, Smith & Redfearn,   Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com                         See Shawn Harris on RP
                     New Orleans, Inc., d/b/a                                                           [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                          LLP                                  1100 Poydras St., 30th Floor
                     Preservation Resource                                                              [XX]                                                                                                0.86               94.47              $0.00                                                                                        HARRIS SHAWN                 Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                   New Orleans, LA 70163
                     Center of New Orleans
                                                                                                                         Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 24 of 28



Claimant Source   Claimant Name              Affected Property        City          State   Zip     Omni(s)          Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia     Markings # from      Product                                                                                                                                                      Counsel                                Counsel Address                     Counsel Phone    Counsel Email                                  NOTES
                                                                                                                                                                                                                      2017 Cost Per SF   2017 Remediation                                                                                     Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                           Prior Settlement
Identifier                                   Address                                                                  Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                         Taishan Product ID   Bucket(s)                                  Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                     [B = A x $109.85]       Damages                                                                                       May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                                Payment(s)-
                                                                                                                          Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                       Catalog                                                         Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                             [SF x B]                                                                                                Greer                                                                                                              Greer                                                                                                                                     FORTHCOMING
                                                                                                                                                                                    Footage             [A]
  774   Omni XX   Preservation Alliance of   3035 General Taylor      New Orleans LA        70125   [IX], [XV],        5/5/2011     Yes           0               N/A                 N/A                                                                   Crescent City            Photo               27                   D                                                                                                                                                            Simon, Peragine, Smith & Redfearn,     Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com                        See Harold Robinson on RP
                  New Orleans, Inc., d/b/a                                                          [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                         LLP                                    1100 Poydras St., 30th Floor
                  Preservation Resource                                                             [XX]                                                                                                0.86               94.47              $0.00                                                                                       ROBINSON HAROLD L JR         Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     New Orleans, LA 70163
                  Center of New Orleans

  775   Omni XX   Preservation Alliance of   3320 Delachaise Street   New Orleans LA        70125   [IX], [XV],        5/5/2011     Yes           0               N/A                  N/A                                                                  Crescent City            Photo               27                   D                                                                                                                                                            Simon, Peragine, Smith & Redfearn,     Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com                        See Lloyd Lazard on RP
                  New Orleans, Inc., d/b/a                                                          [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                         LLP                                    1100 Poydras St., 30th Floor
                  Preservation Resource                                                             [XX]                                                                                                0.86               94.47              $0.00                                                                                       LAZARD LLOYD E               Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     New Orleans, LA 70163
                  Center of New Orleans

  776   Omni XX   Preservation Alliance of   3815-17 Delachaise       New Orleans LA        70125   [IX], [XV],        5/5/2011     Yes           0               N/A                  N/A                                                                  Crescent City            Photo               27                   D                                                                                                                                                            Simon, Peragine, Smith & Redfearn,     Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com                        See John Gross on RP
                  New Orleans, Inc., d/b/a                                                          [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                         LLP                                    1100 Poydras St., 30th Floor
                  Preservation Resource                                                             [XX]                                                                                                0.86               94.47              $0.00                                                                                       COTTINGHAM CAROLINE A Unable to Confirm Ownership          City or County Tax Records            Unknown                    Unknown                                                     New Orleans, LA 70163
                  Center of New Orleans

  777   Omni XX   Preservation Alliance of   5319 N. Rampart Street   New Orleans LA        70117   [IX], [XV],        5/5/2011     Yes           0               N/A                  N/A                                                                  Crescent City            Photo               27                   D                                                                                                                                                            Simon, Peragine, Smith & Redfearn,     Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com                        See Henry and Verline Carter on
                  New Orleans, Inc., d/b/a                                                          [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                         LLP                                    1100 Poydras St., 30th Floor                                                                        RP
                                                                                                                                                                                                                                                                                                                                          CARTER HENRY
                  Preservation Resource                                                             [XX]                                                                                                0.86               94.47              $0.00                                                                                                                    Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                          CARTER VERLINE H
                  Center of New Orleans

  778   Omni XX   Preservation Alliance of   629 Forstall Street      New Orleans LA        70117   [IX], [XV],        5/5/2011     Yes           0               N/A                  N/A                                                                  Crescent City            Photo               27                   D                                                                                                                                                            Simon, Peragine, Smith & Redfearn,     Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com                        See Clarice Butler on Ex 10/79
                  New Orleans, Inc., d/b/a                                                          [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                         LLP                                    1100 Poydras St., 30th Floor
                  Preservation Resource                                                             [XX]                                                                                                0.86               94.47              $0.00                                                                                       BUTLER CLARICE M             Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     New Orleans, LA 70163
                  Center of New Orleans

  779   Omni XX   Preservation Alliance of   820 Deslonde Street      New Orleans LA        70117   [IX], [XV],        5/5/2011     Yes           0               N/A                  N/A                                                                  Crescent City            Photo               27                   D                                                                                                                                                            Simon, Peragine, Smith & Redfearn,     Robert Redfearn, Jr.                (504) 569-2030   redfearnjr@spsr-law.com                        See John and Evangeline White
                  New Orleans, Inc., d/b/a                                                          [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                         LLP                                    1100 Poydras St., 30th Floor                                                                        on RP
                                                                                                                                                                                                                                                                                                                                          WHITE JOHN
                  Preservation Resource                                                             [XX]                                                                                                0.86               94.47              $0.00                                                                                                                    Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     New Orleans, LA 70163
                                                                                                                                                                                                                                                                                                                                          WHITE EVANGELINE
                  Center of New Orleans

  780   Omni XX   Prime Homes at Portofino   7043 Ambrosia Lane,      Naples        FL      34119   [XX]               9/4/2015     Yes         1,828         Benchmark                Yes                                                                  Taishan                  Photo               2                    J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                  Falls                      Unit 201                                                                                                      Inspection Report                                                                                                                                                                                                                                                                                                                                                      255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                          PRIME HOMES AT
                                                                                                                                                          Using Zillow.com for                          0.80               87.88           $160,644.64                                                                                                                 Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                  Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                          PORTOFINO FALLS
                                                                                                                                                            Square Footage

  781   Omni XX   Prime Homes at Portofino   7043 Ambrosia Lane,      Naples        FL      34119   [XX]               9/4/2015     Yes         1,890         Benchmark                Yes                                                                  Taishan                  Photo               2                    J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                  Falls                      Unit 202                                                                                                      Inspection Report                                                                                                                                                                                                                                                                                                                                                      255 Alhambra Circle, PH
                                                                                                                                                          Using Zillow.com for                          0.80               87.88           $166,093.20                                                                                    SHALOM, YEHIEL SAR           Previous Owner                City or County Tax Records            Unknown                    2/6/2007                                                    Coral Gables, FL 33134
                                                                                                                                                            Square Footage

  782   Omni XX   Prime Homes at Portofino   7054 Ambrosia Lane,      Naples        FL      34119   [XX]               9/4/2015     Yes         1,828         Benchmark                Yes                                                                  Taishan                  Photo               12                   L                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                  Falls                      Unit 3301                                                                                                     Inspection Report                                                                                                                                                                                                                                                                                                                                                      255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                          PRIME HOMES AT
                                                                                                                                                          Using Zillow.com for                          0.80               87.88           $160,644.64                                                                                                                 Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                  Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                          PORTOFINO FALLS
                                                                                                                                                            Square Footage

  783   Omni XX   Prime Homes at Portofino   7054 Ambrosia Lane,      Naples        FL      34119   [XX]               9/4/2015     Yes         1,500         Benchmark                Yes                                                                  C&K                      Photo               36                   B                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                  Falls                      Unit 3302                                                                                                     Inspection Report                                                                                                                                                                                                                                                                                                                                                      255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                          PRIME HOMES AT
                                                                                                                                                          Using Zillow.com for                          0.80               87.88           $131,820.00                                                                                                                 Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                  Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                          PORTOFINO FALLS
                                                                                                                                                            Square Footage

  784   Omni XX   Prime Homes at Portofino   7060 Venice Way, Unit    Naples        FL      34119   [XX]               9/4/2015     Yes         1,890         Benchmark                Yes                                                                  Taishan                  Photo               2, 7                 J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                  Falls                      3102                                                                                                          Inspection Report                                                                                                                                                                                                                                                                                                                                                      255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                          PRIME HOMES AT
                                                                                                                                                          Using Zillow.com for                          0.80               87.88           $166,093.20                                                                                                                 Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                  Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                          PORTOFINO FALLS
                                                                                                                                                            Square Footage

  785   Omni XX   Prime Homes at Portofino   7060 Venice Way, Unit    Naples        FL      34119   [XX]               9/4/2015     Yes         1,679         Benchmark                Yes                                                                  Taishan                  Photo               2, 7, 9              J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                  Falls                      3103                                                                                                          Inspection Report                                                                                                                                                                                                                                                                                                                                                      255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                          PRIME HOMES AT
                                                                                                                                                          Using Zillow.com for                          0.80               87.88           $147,550.52                                                                                                                 Current Owner                 City or County Tax Records            Unknown                 Current Owner                                                  Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                          PORTOFINO FALLS
                                                                                                                                                            Square Footage

  786   Omni XX   Promenade 1-212, LLC       10560 SW Stephanie       Port St. Lucie FL     34987   [III], [XX]        10/7/2009    Yes           0               N/A                  N/A                                                                  Taishan                  Photo               2                    J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                             See Promenade at Tradition
                                             Way, #212                                                                                                                                                                                                                                                                                                                                                                                                                                                                            255 Alhambra Circle, PH                                                                             Community Association, Inc.
                                                                                                                                                                                                        0.82               90.08              $0.00                                                                                       PROMENADE 1-212 LLC          Current Owner                 City or County Tax Records           12/21/2006               Current Owner                                                  Coral Gables, FL 33134



  787   Omni XX   Promenade 4-104, LLC       10440 SW Stephanie       Port St. Lucie FL     34987   [III], [XX]        10/7/2009    Yes           0               N/A                  N/A                                                                  Taishan                  Photo               2                    J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                             See Promenade at Tradition
                                             Way, #104                                                                                                                                                                                                                                                                                                                                                                                                                                                                            255 Alhambra Circle, PH                                                                             Community Association, Inc.
                                                                                                                                                                                                        0.82               90.08              $0.00                                                                                       PROMENADE 4-104 LLC          Current Owner                 City or County Tax Records           12/21/2006               Current Owner                                                  Coral Gables, FL 33134



  788   Omni XX   Promenade 4-204, LLC       10440 SW Stephanie       Port St. Lucie FL     34987   [III], [XX]        10/7/2009    Yes           0               N/A                  N/A                                                                  Taishan                  Photo               2                    J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                             See Promenade at Tradition
                                             Way, #204                                                                                                                                                                                                                                                                                                                                                                                                                                                                            255 Alhambra Circle, PH                                                                             Community Association, Inc.
                                                                                                                                                                                                        0.82               90.08              $0.00                                                                                       PROMENADE 4-204 LLC          Current Owner                 City or County Tax Records           12/21/2006               Current Owner                                                  Coral Gables, FL 33134



  789   Omni XX   Promenade 6-208, LLC       10360 SW Stephanie       Port St. Lucie FL     34987   [III], [XX]        10/7/2009    Yes           0               N/A                  N/A                                                                  Taishan                  Photo               6                    J                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com                             See Promenade at Tradition
                                             Way, #208                                                                                                                                                                                                                                                                                                                                                                                                                                                                            255 Alhambra Circle, PH                                                                             Community Association, Inc.
                                                                                                                                                                                                        0.82               90.08              $0.00                                                                                       PROMENADE 6-208 LLC          Current Owner                 City or County Tax Records           12/21/2006               Current Owner                                                  Coral Gables, FL 33134



  790   Omni XX   Quan, Cindy; Quan, Hoa;    14132 Boony Lane         Garden Grove CA       92843   [XX], [XXIX]       9/4/2015     Yes         4,205             Other                Yes                                                                  Crescent City            Photo               28, 29               D                                                                                                                                                            Burdman & Ward                         Scott Burdman, Esq.                 (888) 350-9080   sburdman@burdmanlaw.co
                  Le Quon Lang, Nhan                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              6370 Lusk Blvd., Suite F203                          m
                                                                                                                                                                                                        1.14              125.23           $526,592.15                                                                                    UNKNOWN                      Records Not Available                                                 N/A                        N/A                                                       San Diego, CA 92121



  791   Omni XX   Quattromini, Liliana &     6034 SW 160th Ave        Miami         FL      33193   [XX]               9/4/2015     Yes         2,595        Property Tax              Yes                                                                  Taishan                  Photo               2, 9                 J                                                                                                                                                            Reich & Binstock                       Dennis Reich, Esq.                  (713) 352-7883   DReich@reichandbinstock.
                  Alvarez, Elias                                                                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                     4265 San Felipe, Suite 1000                          com
                                                                                                                                                                                                                                                                                                                                          ELIAS ALVAREZ
                                                                                                                                                          with Square Footage                           0.81               88.98           $230,903.10                                                                                                                 Current Owner                 City or County Tax Records           8/26/2009                Current Owner                                                  Houston, TX 77027
                                                                                                                                                                                                                                                                                                                                          LILIANA QUATTROMINI


  792   Omni XX   Rayborn, Kenneth           15693 Fiddlesticks Blvd. Ft. Myers     FL      33912   [XX]               9/4/2015     Yes         3,671        Property Tax              Yes                                                                  ProWall                  Photo               43                   G                                                                                                                                                            Parker Waichman                        Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                          Assessor's Document                                                                                                                                                             RAYBORN KENNETH H TR                                                                                                                                                                    27300 Riverview Center Blvd
                                                                                                                                                          with Square Footage                           0.80               87.88           $322,607.48                                                                                    FOR KENNETH H RAYBORN Current Owner                        City or County Tax Records           5/29/2008                Current Owner                                                  Bonita Springs, FL 34134
                                                                                                                                                                                                                                                                                                                                          TRUST


  793   Omni XX   RCR Holdings II, LLC       1660 Renaissance         Boynton       FL      33426   [XX]               9/4/2015     Yes         1,240     Builder's Floor Plan   Yes                                                                        Taishan                  Inspection Report   N/A                  L                                                                                                                                                            Mrachek, Fitzgerald, Rose, Konopka,    Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                             Commons #2425            Beach                                                                                                                                                                                                                                                                                                                                                                                                                Thomas & Weiss, P.A.                   505 S. Flagler Drive, Suite 600
                                                                                                                                                                                                        0.82               90.08           $111,699.20                                                                                    RCR HOLDINGS II LLC          Current Owner                 City or County Tax Records           6/30/2005                Current Owner                                                  West Palm Beach, FL 33401



  794   Omni XX   RCR Holdings II, LLC       1660 Renaissance         Boynton       FL      33426   [XX]               9/4/2015     Yes         1,240     Builder's Floor Plan   Yes                                                                        Taishan                  Photo               12                   L                                                                                                                                                            Mrachek, Fitzgerald, Rose, Konopka,    Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                             Commons #2625            Beach                                                                                                                                                                                                                                                                                                                                                                                                                Thomas & Weiss, P.A.                   505 S. Flagler Drive, Suite 600
                                                                                                                                                                                                        0.82               90.08           $111,699.20                                                                                    RCR HOLDINGS II LLC          Current Owner                 City or County Tax Records           6/30/2005                Current Owner                                                  West Palm Beach, FL 33401



  795   Omni XX   RCR Holdings II, LLC       1690 Renaissance         Boynton       FL      33426   [XX]               9/4/2015     Yes         1,119     Builder's Floor Plan   Yes                                                                        Taishan                  Photo               2                    J                                                                                                                                                            Mrachek, Fitzgerald, Rose, Konopka,    Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                             Commons #1421            Beach                                                                                                                                                                                                                                                                                                                                                                                                                Thomas & Weiss, P.A.                   505 S. Flagler Drive, Suite 600
                                                                                                                                                                                                        0.82               90.08           $100,799.52                                                                                    RCR HOLDINGS II LLC          Current Owner                 City or County Tax Records           6/30/2005                Current Owner                                                  West Palm Beach, FL 33401



  796   Omni XX   RCR Holdings II, LLC       1690 Renaissance         Boynton       FL      33426   [XX]               9/4/2015     Yes         1,240     Builder's Floor Plan   Yes                                                                        Taishan                  Photo               12                   L                                                                                                                                                            Mrachek, Fitzgerald, Rose, Konopka,    Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                             Commons #1506            Beach                                                                                                                                                                                                                                                                                                                                                                                                                Thomas & Weiss, P.A.                   505 S. Flagler Drive, Suite 600
                                                                                                                                                                                                        0.82               90.08           $111,699.20                                                                                    RCR HOLDINGS II LLC          Current Owner                 City or County Tax Records           6/30/2005                Current Owner                                                  West Palm Beach, FL 33401



  797   Omni XX   RCR Holdings II, LLC       1690 Renaissance         Boynton       FL      33426   [XX]               9/4/2015     Yes         1,240     Builder's Floor Plan   Yes                                                                        Taishan                  Inspection Report   12                   L                                                                                                                                                            Mrachek, Fitzgerald, Rose, Konopka,    Gregory Weiss, Esq.                 (561) 355-6993   gweiss@mrachek-law.com
                                             Commons #1507            Beach                                                                                                                                                                                                                                                                                                                                                                                                                Thomas & Weiss, P.A.                   505 S. Flagler Drive, Suite 600
                                                                                                                                                                                                        0.82               90.08           $111,699.20                                                                                    RCR HOLDINGS II LLC          Current Owner                 City or County Tax Records           6/30/2005                Current Owner                                                  West Palm Beach, FL 33401



  798   Omni XX   Read, Christopher &        1327 Lyonshire Drive     Wesley        FL      33543   [XX]               9/4/2015     Yes         1,254     Property Tax                 Yes                                                                  Chinese Manufacturer 2   Photo               37                   C           JIMENEZ FAMILY REV                                                                                                                               Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                  Kimberly                                            Chapel                                                                              Assessor's Document                                                                                                                                                             TRUST                                                                                                                                                                                   12800 University Drive, Suite 600                    om
                                                                                                                                                          with Square Footage                           0.83               91.18           $114,339.72                                                                                    JIMENEZ FELIX G & KAROL Previous Owner                     City or County Tax Records           4/18/2007                   5/24/2013                                                   Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                          M TTEE


  799   Omni XX   Real Investments of New    2824 Lloyds Ave.         Chalmette     LA      70043   [XX]               9/4/2015     Yes         1,030             Other                Yes                                                                  Taihe                    Photo               19                   I                                                                                                                                                            Law Offices of Sidney D. Torres, III   Sidney D. Torres, III, Esq.         504-271-8422     storres@torres-law.com
                  Orleans, LLC                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    8301 W. Judge Perez Drive, Suite
                                                                                                                                                                                                        0.86               94.47            $97,304.10                                                                                    BENEDIC, JEFFREY D.          Previous Owner                City or County Tax Records           4/25/2007                   4/3/2012                                                    303
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Chalmette, LA 70043
                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 25 of 28



Claimant Source   Claimant Name               Affected Property        City         State   Zip     Omni(s)        Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia   Markings # from      Product                                                                                                                                                     Counsel                        Counsel Address                     Counsel Phone    Counsel Email                                    NOTES
                                                                                                                                                                                                                    2017 Cost Per SF   2017 Remediation                                                                                   Current Owner as of                                                                                            Sell Date if Applicable or                                                                                                                     Prior Settlement
Identifier                                    Address                                                               Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                       Taishan Product ID   Bucket(s)                                 Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                   [B = A x $109.85]       Damages                                                                                     May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                                          Payment(s)-
                                                                                                                        Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                     Catalog                                                        Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                           [SF x B]                                                                                              Greer                                                                                                             Greer                                                                                                                               FORTHCOMING
                                                                                                                                                                                  Footage             [A]
  800   Omni XX   Richardson, Ronnie          3001-3 Daniel Drive      VIolet       LA      70092   [XX]             9/4/2015     Yes         1,725         Property Tax            Yes                                                                   Taihe                    Photo             18                   I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                        with Square Footage                           0.86               94.47           $162,960.75                                                                                  RICHARDSON, RONNIE           Current Owner                City or County Tax Records           12/16/1992               Current Owner                                          650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  801   Omni XX   Riddle, Jeanette            4659 Lancelot Drive      New Orleans LA       70127   [XX]             9/4/2015     Yes         1,011        Property Tax              Yes                                                                  Taihe                    Photo             17, 20               I                                                                                                                                                           Collins & Horsley              W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          Collins Law Firm                                     .com
                                                                                                                                                                                                                                                                                                                                      INGRAM BRUCE A
                                                                                                                                                        with Square Footage                           0.86               94.47            $95,509.17                                                                                                               Previous Owner               City or County Tax Records           6/17/1997                  10/24/2014                                           1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                      INGRAM JODY L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Hoover, AL 35226

  802   Omni XX   Rigsby, Pamela              1890 Coconut Palm        North Port   FL      34288   [XX]             9/4/2015     Yes         1,590        Property Tax              Yes                                                                  Taishan                  Photo             2                    J                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                              Circle                                                                                                    Assessor's Document                                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                      PAGE IRENE
                                                                                                                                                        with Square Footage                           0.83               91.18           $144,976.20                                                                                                               Current Owner                City or County Tax Records            9/5/2006                Current Owner                                          650
                                                                                                                                                                                                                                                                                                                                      RIGSBY PAMELA L (TTEE)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  803   Omni XX   Roberts, Charles & Judith   4121 Constantine Loop    Wesley       FL      33543   [XX]             9/4/2015     Yes         1,528     Property Tax                 Yes                                                                  IMT                      Photo             33                   F                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                       Chapel                                                                           Assessor's Document                                                                                                                                                           ROBERTS CHARLES                                                                                                                                                                12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      RICHARD &
                                                                                                                                                        with Square Footage                           0.83               91.18           $139,323.04                                                                                                               Current Owner                City or County Tax Records           9/21/2007                Current Owner                                          Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                      JUDY DEESE


  804   Omni XX   Rodko, Olaff                2905 E. 19th St.         Lehigh Acres FL      33972   [XX]             9/4/2015     Yes         1,461        Property Tax              Yes                                                                  Taishan                  Photo             2                    J                                                                                                                                                           Herman, Herman & Katz          Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          820 O'Keefe Avenue
                                                                                                                                                        with Square Footage                           0.80               87.88           $128,392.68                                                                                  RODKO OLAFF + DIANE          Current Owner                City or County Tax Records           1/21/2009                Current Owner                                          New Orleans, LA 70113



  805   Omni XX   Roettele, Hue               103 Edward Avenue        Pass Christian MS    39571   [XX], [XXXI]     9/4/2015     Yes         2,076        Property Tax              Yes                                                                  Taihe                    Photo             21                   I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                        with Square Footage                           0.84               92.27           $191,552.52                                                                                  ROETTELE HUE LE              Current Owner                City or County Tax Records            Unknown                 Current Owner                                          650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  806   Omni XX   Roettele, Hue               6147 Beatline Road       Pass Christian MS    39560   [XX], [XXXI]     9/4/2015     Yes         2,497     Builder's Floor Plan         Yes                                                                  Taihe                    Photo             20                   I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                                                                      0.84               92.27           $230,398.19                                                                                  ROETTELE HUE L               Current Owner                City or County Tax Records            Unknown                 Current Owner                                          650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  807   Omni XX   Rojas, Eugenio and          11211 N.W. 84th Street   Doral        FL      33178   [XX]             9/4/2015     Yes         2,047            Other                 Yes                                                                  Taishan                  Photo             12                   L                                                                                                                                                           Baron & Budd, P.C.             Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                  Marulanda, Liliana                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Baron & Budd
                                                                                                                                                                                                                                                                                                                                      EUGENIO ROJAS &W
                                                                                                                                                                                                      0.81               88.98           $182,142.06                                                                                                               Current Owner                City or County Tax Records           12/28/2006               Current Owner                                          3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                      LILIANA MARULANDA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Dallas, TX 75219

  808   Omni XX   Rojhani, Ira and Sherri     8269 NW 124 Terrace      Parkland     FL      33076   [XX]             9/4/2015     Yes         2,865     Appraisal Showing      Yes                                                                        Taishan                  Photo             2                    J                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                        Floor Plan and                                                                                                                                                                                                                                                                                                                                               12 SE 7th St #801
                                                                                                                                                                                                                                                                                                                                      PAULINELLI,NATHALIA
                                                                                                                                                        Square Footage                                0.81               88.98           $254,927.70                                                                                                               Previous Owner               City or County Tax Records           5/24/2007                   5/23/2011                                           Fort Lauderdale, FL 33301-3434
                                                                                                                                                                                                                                                                                                                                      WILKIE,MACGREGOR J


  809   Omni XX   Rosario, Ricardo            7157 Dorian Street       New Orleans LA       70126   [XX]             9/4/2015     Yes         1,260        Property Tax              Yes                                                                  Crescent City            Photo             27                   D                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                        with Square Footage                           0.86               94.47           $119,032.20                                                                                  ROSARIO RICARDO C            Current Owner                City or County Tax Records           3/24/2015                Current Owner                                          650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  810   Omni XX   Rose, Gerald and Santa A.   1654 Emerald Dunes       Sun City     FL      33573   [XX]             9/4/2015     Yes         1,966        Property Tax              No                                                                   C&K                      Photo             34                   B                                                                                                                                                           Steckler, LLP                  Bruce Steckler, Esq.                (972) 387-4040   Bruce@stecklerlaw.com                            BKC confirmed
                                              Drive                    Center                                                                           Assessor's Document                                                                                                                                                           ROSE GERALD ROLAND                                                                                                                                                             12720 Hillcrest Road, Suite 1045
                                                                                                                                                                                                                                                                                                                                      TRUSTEE
                                                                                                                                                        with Square Footage                           0.83               91.18           $179,259.88                                                                                                               Current Owner                City or County Tax Records           8/27/2007                Current Owner                                          Dallas, TX 75230
                                                                                                                                                                                                                                                                                                                                      ROSE SANTA ANDRE
                                                                                                                                                                                                                                                                                                                                      TRUSTEE

  811   Omni XX   Ross, Terrance and Rhonda 316 Woodvine Avenue        Metairie     LA      70005   [XX]             9/4/2015     Yes         3,522      Appraisal Showing           Yes                                                                  Taihe                    Photo             21                   I                                                                                                                                                           O'Bryon & Schnabel             Kevin O'Bryon, Esq.                 (504) 799-4200   kob@obryonlaw.com
                                                                                                                                                          Floor Plan and                                                                                                                                                                                                                                                                                                                                             1010 Common Street, Suite 1950
                                                                                                                                                                                                                                                                                                                                      ROSS,TERRENCE M &
                                                                                                                                                          Square Footage                              0.86               94.47           $332,723.34                                                                                                               Current Owner                Tax Records + Title/Deed              Unknown                 Current Owner                                          New Orleans, LA 70112
                                                                                                                                                                                                                                                                                                                                      RHONDA


  812   Omni XX   Roundtree, Alisa            4429 NW 33rd Court       Miami        FL      33142   [XX]             9/4/2015     Yes         1,224        Property Tax              Yes                                                                  Taishan                  Photo             8                    J                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                        with Square Footage                           0.81               88.98           $108,911.52                                                                                  ALISA JEAN ROUNDTREE         Current Owner                City or County Tax Records            2/1/2004                Current Owner                                          Bonita Springs, FL 34134



  813   Omni XX   Rust, Pieter                1726 SW Trafalgar Pkwy Cape Coral     FL      33991   [XX]             9/4/2015     Yes         2,152        Property Tax              Yes                                                                  Taishan                  Photo             12                   L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                      HPA BORROWER 2016-1
                                                                                                                                                        with Square Footage                           0.80               87.88           $189,117.76                                                                                                               Previous Owner               Tax Records + Title/Deed             10/12/2009                  4/14/2015                                           Bonita Springs, FL 34134
                                                                                                                                                                                                                                                                                                                                      LLC


  814   Omni XX   Ryan, Frank and Lisa        8010 NW 126 Terrace      Parkland     FL      33076   [XX]             9/4/2015     Yes         3,500     Benchmark            Yes                                                                          BNBM                     Photo             22                   A                                                                                                                                                           Krupnick Cambell               Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                        Inspection Report                                                                                                                                                                                                                                                                                                                                            12 SE 7th St #801
                                                                                                                                                        Using Zillow.com for                          0.81               88.98           $311,430.00                                                                                  MORA,LUZ                     Previous Owner               City or County Tax Records           7/30/2007                   8/6/2015                                            Fort Lauderdale, FL 33301-3434
                                                                                                                                                        Square Footage

  815   Omni XX   Sampedro, Manuel            14860 SW 160 Street      Miami        FL      33187   [XX]             9/4/2015     Yes         2,408        Property Tax              Yes                                                                  Dragon Brand             Photo             26                   A                                                                                                                                                           Roberts & Durkee PA Milstein   C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                           Adelman LLP                    2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                      ANUEL & ESTRELLA
                                                                                                                                                        with Square Footage                           0.81               88.98           $214,263.84                                                                                                               Current Owner                City or County Tax Records            2/1/2007                Current Owner                                          300
                                                                                                                                                                                                                                                                                                                                      SAMPEDRO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Coconut Grove, FL 33133

  816   Omni XX   Sanders, Boone, Trustee for 2212 NE 35th Terracem Cape Coral      FL      33909   [XX]             9/4/2015     Yes         1,785     Property Tax                 Yes                                                                  Taishan                  Photo             2                    J                                                                                                                                                           Barrios, Kingsdorf & Casteix                                       (504) 523-3300   DBarrios@bkc-law.com
                  Sammy A. Sanders                                                                                                                      Assessor's Document                                                                                                                                                           SANDERS BOONE T TR
                  Revocable Living Trust                                                                                                                with Square Footage                           0.80               87.88           $156,865.80                                                                                  FOR SAMMY A ASNDERS          Current Owner                Tax Records + Title/Deed             8/17/2011                Current Owner                                          Dawn M. Barrios, Esq.
                                                                                                                                                                                                                                                                                                                                      TRUST                                                                                                                                                                          701 Poydras Street, Suite 3650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70166
  817   Omni XX   Santana , Silvana           8709 Pegasus Drive       Lehigh Acres FL      33971   [XX]             9/4/2015     Yes         2,982        Property Tax              Yes                                                                  Taishan                  Photo             12                   L                                                                                                                                                           Parker Waichman                Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                        Assessor's Document                                                                                                                                                           DE SOUZA FERNANDO F +                                                                                                                                                          27300 Riverview Center Blvd
                                                                                                                                                        with Square Footage                           0.80               87.88           $262,058.16                                                                                  DE SOUZA KELLYANE            Previous Owner               City or County Tax Records            8/6/2009                   4/3/2012                                            Bonita Springs, FL 34134
                                                                                                                                                                                                                                                                                                                                      BEZERRA H/W


  818   Omni XX   Santiago, Ty                3065 Pale Moon Place     McDonough    GA      30253   [XX], [XXX]      9/4/2015     Yes         1,670        Property Tax              Yes                                                                  Venture Supply           Photo             39                   K                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                        with Square Footage                           0.89               97.77           $163,275.90                                                                                  NAJARIAN HOLDINGS LLC Previous Owner                      City or County Tax Records           12/22/2006                  3/21/2015                                           650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  819   Omni XX   Sausse, Bertrand & Cynthia 2900 Meadow Dr.           Violet       LA      70092   [XX]             9/4/2015     Yes         1,778        Property Tax              Yes                                                                  Taihe                    Photo             15                   I                                                                                                                                                           The Lambert Firm               Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          701 Magazine St,                                     om
                                                                                                                                                                                                                                                                                                                                      SAUSSE, CYNTHIA
                                                                                                                                                        with Square Footage                           0.86               94.47           $167,967.66                                                                                                               Current Owner                City or County Tax Records            1/7/2000                Current Owner                                          New Orleans LA 70130
                                                                                                                                                                                                                                                                                                                                      WALKER


  820   Omni XX   Scalco, Robert              99 Hilton Drive          Sylacuga     AL      35151   [XX],            9/4/2015     Yes         3,304        Property Tax              Yes                                                                  Taihe                    Photo             19                   I                                                                                                                                                           Collins & Horsley              W. Brian Collins, Esquire           (205) 529-4988   thecollinslawoffices@gmail
                                                                                                    [XXVIII]                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                          Collins Law Firm                                     .com
                                                                                                                                                        with Square Footage                           0.84               92.27           $304,860.08                                                                                  SCALCO ROBERT V              Current Owner                City or County Tax Records           1/19/2007                Current Owner                                          1461 Shades Crest Road
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Hoover, AL 35226

  821   Omni XX   Scharett, Daniel & Elizabeth 2719 Flagami Lane       North Port   FL      34286   [XX]             9/4/2015     Yes         1,656     Builder's Floor Plan         Yes                                                                  Taishan                  Photo             12                   L                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      SCHARETT DANIEL L
                                                                                                                                                                                                      0.83               91.18           $150,994.08                                                                                                               Current Owner                City or County Tax Records           4/21/2008                Current Owner                                          Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                      SCHARETT ELIZABETH


  822   Omni XX   Scott, Anna                 583 Cottonwood Rd.       Sebastian    FL      32958   [XX]             9/4/2015     Yes         2,105     Property Tax                 Yes                                                                  Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      SCOTT, JAMES W AND
                                                                                                                                                        with Square Footage                           0.84               92.27           $194,228.35                                                                                                               Current Owner                City or County Tax Records            3/1/2001                Current Owner                                          Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                      ANNA M


  823   Omni XX   Seeburg, David              1773 Funderburg Bend     Pell City    AL      35128   [XX],            9/4/2015     Yes         2,078        Property Tax              Yes                                                                  Taihe                    Photo             19, 20               I                                                                                                                                                           Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                              Road                                                  [XXVIII]                                            Assessor's Document                                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                        with Square Footage                           0.84               92.27           $191,737.06                                                                                  SEEBERG DAVID ROBERT         Current Owner                City or County Tax Records           2/15/2012                Current Owner                                          650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  824   Omni XX   Seel, Ronald                99 Coe Road              Belleair     FL      33756   [XX]             9/4/2015     Yes         3,613        Property Tax              Yes                                                                  Taihe                    Photo             14, 21               H, I                                                                                                                                                        Doyle Law Firm                 Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                          2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                      SEEL, RONALD
                                                                                                                                                        with Square Footage                           0.82               90.08           $325,459.04                                                                                                               Current Owner                City or County Tax Records           4/18/2013                Current Owner                                          650
                                                                                                                                                                                                                                                                                                                                      SEEL, KAREN W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Birmingham, AL 35209

  825   Omni XX   Sharret, Brenda             3625 Baudin Street       New Orleans LA       70119   [XX]             9/4/2015     Yes          900             Other                 Yes                                                                  Crescent City            Photo             27                   D                                                                                                                                                           Gainsburgh Benjamin            Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2800 Energy Centre
                                                                                                                                                                                                      0.86               94.47            $85,023.00                                                                                  SHARRET BRENDA J             Current Owner                City or County Tax Records           8/24/1994                Current Owner                                          1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     New Orleans, LA 70163
                                                                                                                          Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 26 of 28



Claimant Source   Claimant Name              Affected Property       City            State   Zip     Omni(s)          Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia     Markings # from      Product                                                                                                                                                     Counsel                             Counsel Address                     Counsel Phone    Counsel Email                                 NOTES
                                                                                                                                                                                                                       2017 Cost Per SF   2017 Remediation                                                                                     Current Owner as of                                                                                            Sell Date if Applicable or                                                                                                                       Prior Settlement
Identifier                                   Address                                                                   Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                         Taishan Product ID   Bucket(s)                                 Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                      [B = A x $109.85]       Damages                                                                                       May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                                            Payment(s)-
                                                                                                                           Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                       Catalog                                                        Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                              [SF x B]                                                                                                Greer                                                                                                             Greer                                                                                                                                 FORTHCOMING
                                                                                                                                                                                     Footage             [A]
  826   Omni XX   Sharret, Brenda            3627 Baudin Street      New Orleans LA          70119   [XX]               9/4/2015     Yes          900             Other                Yes                                                                   Crescent City            Photo               27                   D                                                                                                                                                           Gainsburgh Benjamin                 Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2800 Energy Centre
                                                                                                                                                                                                         0.86               94.47            $85,023.00                                                                                    SHARRET BRENDA J             Current Owner                City or County Tax Records           8/24/1994                Current Owner                                               1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70163

  827   Omni XX   Sheridan Beach Club        519 E. Sheridan St., Unit Dania Beach   FL      33004   [IX], [XV],        5/5/2011     Yes         1,150            Other                 Yes                                                                  Taishan                  Photo               12                   L                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                  Condominium Association    302                                                     [XVI], [XVII],                                                                                                                                                                                                                                                                                                                                                                        P.C.                                Baron & Budd
                  #3, Inc.                                                                           [XX]                                                                                                0.81               88.98           $102,327.00                                                                                    FRISONE,VINCENT              Previous Owner               City or County Tax Records            Unknown                    2/14/2013                                                3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219

  828   Omni XX   Shimek, Jennifer           2612 W. Morrison        Tamps           FL      33629   [XX]               9/4/2015     Yes         3,168        Property Tax              Yes                                                                  Taishan                  Photo               12                   L                                                                                                                                                           Parker Waichman                     Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                             Avenue                                                                                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                           SHIMEK RICHARD D
                                                                                                                                                           with Square Footage                           0.83               91.18           $288,858.24                                                                                                                 Current Owner                City or County Tax Records            7/7/2006                Current Owner                                               Bonita Springs, FL 34134
                                                                                                                                                                                                                                                                                                                                           SHIMEK JENNIFER A


  829   Omni XX   Short, Craig and Sabrina   206 - 208 Third St.     Chalmette       LA      70043   [XX]               9/4/2015     Yes         1,584        Property Tax              Yes                                                                  Taihe                    Photo               20                   I                                                                                                                                                           Herman, Herman & Katz               Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                 820 O'Keefe Avenue
                                                                                                                                                           with Square Footage                           0.86               94.47           $149,640.48                                                                                    SHORT, CRAIG RONALD          Current Owner                City or County Tax Records           3/20/2007                Current Owner                                               New Orleans, LA 70113



  830   Omni XX   Shortt, Heather            141 Andrew Court        Forsyth         GA      31029   [XX], [XXX]        9/4/2015     Yes         1,832        Property Tax              Yes                                                                  Venture Supply           Photo               38                   K                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                 2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                           SHORTT HEATHER N &
                                                                                                                                                           with Square Footage                           0.80               87.88           $160,996.16                                                                                                                 Current Owner                City or County Tax Records           5/16/2008                Current Owner                                               650
                                                                                                                                                                                                                                                                                                                                           TIFFANY D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Birmingham, AL 35209

  831   Omni XX   Siegrist, Kevin W.         11185 Stonecreek Street Wellington      FL      33449   [XX]               9/4/2015     Yes         3,002     Builder's Floor Plan         Yes                                                                  Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                           Morgan & Morgan                     Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               12800 University Drive, Suite 600                    om
                                                                                                                                                                                                         0.82               90.08           $270,420.16                                                                                    SIEGRIST KEVIN               Current Owner                City or County Tax Records           11/13/2007               Current Owner                                               Fort Myers, FL 33907



  832   Omni XX   Sliva, Sandra              3408 Galloping Bend     Auburn          GA      30011   [XX]               9/4/2015     Yes         2,946        Property Tax              Yes                                                                  Venture Supply           Photo               39                   K                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                             Way                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                 2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                           SILVA JAVIER & SILVA
                                                                                                                                                           with Square Footage                           0.89               97.77           $288,030.42                                                                                                                 Current Owner                City or County Tax Records           8/28/2006                Current Owner                                               650
                                                                                                                                                                                                                                                                                                                                           SANDRA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Birmingham, AL 35209

  833   Omni XX   Smietana, Mark             8106 NW 111 Terrace     Parkland        FL      33076   [XX]               9/4/2015     Yes         3,989     Appraisal Showing      Yes                                                                        Taishan                  Inspection Report   N/A                  L                                                                                                                                                           Krupnick Cambell                    Michael Ryan, Esq.                  (954) 763-8181   mryan@krupnicklaw.com
                                                                                                                                                           Floor Plan and                                                                                                                                                                  COOPER,SHARON BERGER                                                                                                                                                                12 SE 7th St #801
                                                                                                                                                           Square Footage                                0.81               88.98           $354,941.22                                                                                    H/E                   Previous Owner                      City or County Tax Records           12/28/2006                  1/12/2011                                                Fort Lauderdale, FL 33301-3434
                                                                                                                                                                                                                                                                                                                                           BERGER,CAROL & MORRIS


  834   Omni XX   Smith, Sabrina             4575 Hickerson Drive    New Orleans LA          70127   [XX]               9/4/2015     Yes         1,950        Property Tax              Yes                                                                  Taihe                    Photo               17                   I                                                                                                                                                           Parker Waichman                     Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                 27300 Riverview Center Blvd
                                                                                                                                                           with Square Footage                           0.86               94.47           $184,216.50                                                                                    JOHNSON SABRINA M            Current Owner                City or County Tax Records            4/8/2015                Current Owner                                               Bonita Springs, FL 34134



  835   Omni XX   South Hampton Holding,     3355 S. Military Hwy    Chesapeake      VA      23323   [XX]               9/4/2015     Yes        44,804        Property Tax              Yes                                                                  Venture Supply           Delivery Invoice    N/A                  K                                                                                                                                                           Law Offices of Richard J. Serpe     Richard J. Serpe, Esq.              (757) 233-0009   rserpe@serpefirm.com
                  LLC                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                 580 East Main Street, Suite 310
                                                                                                                                                                                                                                                                                                                                           SOUTH HAMPTON
                                                                                                                                                           with Square Footage                           0.94              103.26          $4,626,461.04                                                                                                                Current Owner                City or County Tax Records           2/29/2008                Current Owner                                               Norfolk, VA 23510
                                                                                                                                                                                                                                                                                                                                           HOLDINGS LLC


  836   Omni XX   Spain, Megan               5 Dogwood Circle        Pelham          AL      35124   [XX],              9/4/2015     Yes         1,242      Appraisal Showing           Yes                                                                  Taihe                    Photo               17                   I                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                     [XXVIII]                                                Floor Plan and                                                                                                                                                                                                                                                                                                                                                    2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                           SPAIN GREGORY C &
                                                                                                                                                             Square Footage                              0.84               92.27           $114,599.34                                                                                                                 Current Owner                Tax Records + Title/Deed             11/27/2007               Current Owner                                               650
                                                                                                                                                                                                                                                                                                                                           MANZI MEGAN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Birmingham, AL 35209

  837   Omni XX   Spires, Scott              3106 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          924         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $83,233.92                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219

  838   Omni XX   Spires, Scott              3108 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          924         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $83,233.92                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219

  839   Omni XX   Spires, Scott              3110 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          924         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $83,233.92                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Dallas, TX 75219

  840   Omni XX   Spires, Scott              3112 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          924         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $83,233.92                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           LLC
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  841   Omni XX   Spires, Scott              3113 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes         1,056        Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $95,124.48                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           LLC
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  842   Omni XX   Spires, Scott              3114 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes         1,056        Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $95,124.48                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  843   Omni XX   Spires, Scott              3115 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes         1,056        Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $95,124.48                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  844   Omni XX   Spires, Scott              3116 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes         1,056        Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $95,124.48                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  845   Omni XX   Spires, Scott              3117 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          924         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $83,233.92                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  846   Omni XX   Spires, Scott              3118 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          924         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $83,233.92                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  847   Omni XX   Spires, Scott              3119 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          924         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $83,233.92                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  848   Omni XX   Spires, Scott              3120 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          924         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $83,233.92                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  849   Omni XX   Spires, Scott              3121 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          985         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $88,728.80                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                           LLC
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  850   Omni XX   Spires, Scott              3122 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          985         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $88,728.80                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  851   Omni XX   Spires, Scott              3123 Bethany Lane       Waycross        GA      31501   [XX], [XXX]        9/4/2015     Yes          985         Property Tax              Yes                                                                  Taishan/ Taihe           Photo               19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                             P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                           BLACKWATER PARTNERS
                                                                                                                                                           with Square Footage                           0.82               90.08            $88,728.80                                                                                                        Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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                                                                                                                      Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 27 of 28



Claimant Source   Claimant Name               Affected Property        City         State   Zip     Omni(s)       Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia   Markings # from      Product                                                                                                                                                     Counsel                             Counsel Address                     Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                                   2017 Cost Per SF   2017 Remediation                                                                                   Current Owner as of                                                                                            Sell Date if Applicable or                                                                                                                         Prior Settlement
Identifier                                    Address                                                              Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                       Taishan Product ID   Bucket(s)                                 Ownership Status of Named   Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                  [B = A x $109.85]       Damages                                                                                     May-August 2017 Per Brown                                                                                         Current Owner Per Brown                                                                                                                              Payment(s)-
                                                                                                                       Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                     Catalog                                                        Claimant Per Brown Greer               Greer                        Greer
                                                                                                                                                                                                                                          [SF x B]                                                                                              Greer                                                                                                             Greer                                                                                                                                   FORTHCOMING
                                                                                                                                                                                 Footage             [A]
  852   Omni XX   Spires, Scott               3124 Bethany Lane        Waycross     GA      31501   [XX], [XXX]     9/4/2015     Yes          985          Property Tax            Yes                                                                   Taishan/ Taihe           Photo             19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                           P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                     BLACKWATER PARTNERS
                                                                                                                                                       with Square Footage                           0.82               90.08            $88,728.80                                                                                                      Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  853   Omni XX   Spires, Scott               3125 Bethany Lane        Waycross     GA      31501   [XX], [XXX]     9/4/2015     Yes          924         Property Tax             Yes                                                                   Taishan/ Taihe           Photo             19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                           P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                     BLACKWATER PARTNERS
                                                                                                                                                       with Square Footage                           0.82               90.08            $83,233.92                                                                                                      Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                     LLC
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  854   Omni XX   Spires, Scott               3126 Bethany Lane        Waycross     GA      31501   [XX], [XXX]     9/4/2015     Yes          924         Property Tax             Yes                                                                   Taishan/ Taihe           Photo             19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                           P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                     BLACKWATER PARTNERS
                                                                                                                                                       with Square Footage                           0.82               90.08            $83,233.92                                                                                                      Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                     LLC
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  855   Omni XX   Spires, Scott               3127 Bethany Lane        Waycross     GA      31501   [XX], [XXX]     9/4/2015     Yes          924         Property Tax             Yes                                                                   Taishan/ Taihe           Photo             19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                           P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                     BLACKWATER PARTNERS
                                                                                                                                                       with Square Footage                           0.82               90.08            $83,233.92                                                                                                      Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                     LLC
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  856   Omni XX   Spires, Scott               3128 Bethany Lane        Waycross     GA      31501   [XX], [XXX]     9/4/2015     Yes          924         Property Tax             Yes                                                                   Taishan/ Taihe           Photo             19, 20               I                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                           P.C.                                Baron & Budd
                                                                                                                                                                                                                                                                                                                                     BLACKWATER PARTNERS
                                                                                                                                                       with Square Footage                           0.82               90.08            $83,233.92                                                                                                      Previous Owner                        City or County Tax Records           4/30/1998                   6/3/2016                                                 3102 Oak Lawn Ave., Ste. 1100
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  857   Omni XX   Sprayberry, Christopher and 2607 N.W. 11th Street    Cape Coral   FL      33993   [XX]            9/4/2015     Yes         2,027        Property Tax             Yes                                                                   Taishan                  Photo             6                    J                                                                                                                                                           Allison Grant, P.A.                 Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                  Shaw-Sprayberry, Amanda                                                                                                              Assessor's Document                                                                                                                                                                                                                                                                                                                                               14 Southeast 4th Street
                                                                                                                                                                                                                                                                                                                                     ARCHDEACON BRUCE E +
                                                                                                                                                       with Square Footage                           0.80               87.88           $178,132.76                                                                                                               Previous Owner               Tax Records + Title/Deed              4/3/2009                   4/25/2016                                                Boca Raton, Florida 33432
                                                                                                                                                                                                                                                                                                                                     HITES JUNE A


  858   Omni XX   Srivastava, Ravi & Shweta   11542 Hammocks Glade Riverview        FL      33569   [XX]            9/4/2015     Yes         1,519     Builder's Floor Plan        Yes                                                                   Taishan                  Photo             6                    J                                                                                                                                                           Morgan & Morgan                     Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                              Dr.                                                                                                                                                                                                                                                                                    EMILCAR PATRICIA                                                                                                                                                                    12800 University Drive, Suite 600                    om
                                                                                                                                                                                                     0.83               91.18           $138,502.42                                                                                  PRESCOTT CARLOS              Previous Owner               City or County Tax Records           6/23/2006                   4/23/2013                                                Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                     GARCIA


  859   Omni XX   Steele, Timothy             3 Martin Circle          Foley        AL      36535   [XX],           9/4/2015     Yes         2,081        Property Tax             Yes                                                                   Taishan                  Photo             12                   L                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                    [XXVIII]                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                               2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                     STEELE, TIMOTHY ETAL
                                                                                                                                                       with Square Footage                           0.84               92.27           $192,013.87                                                                                                               Current Owner                City or County Tax Records           12/28/2006               Current Owner                                               650
                                                                                                                                                                                                                                                                                                                                     STEELE, PATRICIA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Birmingham, AL 35209

  860   Omni XX   Sterling, Cheryl            6711 East Hermes Street New Orleans LA        70126   [XX]            9/4/2015     Yes         1,993        Property Tax             Yes                                                                   Taihe                    Photo             20                   I                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                               2100 Southbridge Parkway, Suite
                                                                                                                                                       with Square Footage                           0.86               94.47           $188,278.71                                                                                  STERLING CHERYL E            Current Owner                City or County Tax Records           3/14/2005                Current Owner                                               650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Birmingham, AL 35209

  861   Omni XX   Sterling, Megan             3425 Acorn Drive         Violet       LA      70092   [XX]            9/4/2015     Yes         1,441        Property Tax             Yes                                                                   Taihe                    Photo             17                   I                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                               2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                     STERLING, MEGAN
                                                                                                                                                       with Square Footage                           0.86               94.47           $136,131.27                                                                                                               Current Owner                City or County Tax Records           4/13/2009                Current Owner                                               650
                                                                                                                                                                                                                                                                                                                                     MULLET
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Birmingham, AL 35209

  862   Omni XX   Stribling, Linda            3500 Palmisano Blvd.     Chalmette    LA      70043   [XX]            9/4/2015     Yes         3,770        Property Tax             Yes                                                                   Crescent City            Photo             27                   D                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                               2100 Southbridge Parkway, Suite
                                                                                                                                                       with Square Footage                           0.86               94.47           $356,151.90                                                                                  MAI, PHUONG DIEM             Previous Owner               City or County Tax Records           11/26/2007                 12/10/2015                                                650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Birmingham, AL 35209

  863   Omni XX   Stuker, Richard             5989 Grand Loop Road     Sugar Hill   GA      30518   [XX], [XXX]     9/4/2015     Yes         3,192        Property Tax             Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                               2100 Southbridge Parkway, Suite
                                                                                                                                                                                                                                                                                                                                     STUKER RICHARD W &
                                                                                                                                                       with Square Footage                           0.82               90.08           $287,535.36                                                                                                               Current Owner                City or County Tax Records           4/12/2002                Current Owner                                               650
                                                                                                                                                                                                                                                                                                                                     KATHRYN J
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Birmingham, AL 35209

  864   Omni XX   Sunseri, Sal and Victoria   5714 Memphis St.         New Orleans LA       70124   [XX]            9/4/2015     Yes         4,788        Property Tax             No                                                                    Taihe                    Photo             17, 19               I                                                                                                                                                           Steckler, LLP                       Bruce Steckler, Esq.                (972) 387-4040   Bruce@stecklerlaw.com                           BKC confirmed sq ft
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                               12720 Hillcrest Road, Suite 1045
                                                                                                                                                       with Square Footage                           0.86               94.47           $452,322.36                                                                                  SUNSERI VICKY G              Current Owner                City or County Tax Records            7/7/1993                Current Owner                                               Dallas, TX 75230



  865   Omni XX   Suzewits, Kathryn           12476 Country White      Tampa        FL      33635   [XX]            9/4/2015     Yes         1,146     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                     Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                              Circle                                                                                                   Assessor's Document                                                                                                                                                                                                                                                                                                                                               12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                     YAVUZ MURAT
                                                                                                                                                       with Square Footage                           0.83               91.18           $104,492.28                                                                                                               Previous Owner               City or County Tax Records           6/24/2002                   1/23/2014                                                Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                     YAVUZ SULE


  866   Omni XX   Tamajon, Luis               4704 SW 166 Crt          Miami        FL      33185   [XX]            9/4/2015     Yes         1,623        Property Tax             Yes                                                                   Taishan                  Photo             8                    J                                                                                                                                                           Roberts & Durkee PA Milstein        C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                           Adelman LLP                         2665 South Bayshore Drive Suite
                                                                                                                                                       with Square Footage                           0.81               88.98           $144,414.54                                                                                  DALGIS ANDRES                Previous Owner               City or County Tax Records           10/27/2006                  7/1/2015                                                 300
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Coconut Grove, FL 33133

  867   Omni XX   Tedeman, Mary Jo            11001 Gulf Reflections   Ft. Myers    FL      33908   [XX]            9/4/2015     Yes         1,416        Property Tax             Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                           Roberts & Durkee PA Milstein        C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                              Dr., #402                                                                                                Assessor's Document                                                                                                                                                                                                                                                                                                           Adelman LLP                         2665 South Bayshore Drive Suite
                                                                                                                                                       with Square Footage                           0.80               87.88           $124,438.08                                                                                  JACKSON TED                  Previous Owner               City or County Tax Records           1/25/2007                   12/9/2011                                                300
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Coconut Grove, FL 33133

  868   Omni XX   Throgmartin, Don            175 Shadroe Cove Cir     Cape Coral   FL      33991   [XX]            9/4/2015     Yes           0              N/A                  N/A                                                                   Taishan                  Photo             2                    J                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                             See Blue Water Coach Homes
                                              Unit 1103                                                                                                                                                                                                                                                                              ZELLER ELINOR JO ANN TR                                                                                                                         P.C.                                Baron & Budd                                                                                         Condominium Association
                                                                                                                                                                                                     0.80               87.88              $0.00                                                                                     FOR E JO ANN ZELLER     Previous Owner                    Title/Deed                            4/27/2010                  6/1/2014                                                 3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                     TRUST                                                                                                                                                                               Dallas, TX 75219

  869   Omni XX   Throgmartin, Don            221 Shadroe Cove         Cape Coral   FL      33991   [XX]            9/4/2015     Yes           0              N/A                  N/A                                                                   Taishan                  Photo             12                   L                                                                                                                                                           Allison Grant, P.A. Baron & Budd,   Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com                             See Blue Water Coach Homes
                                              Circle, Unit 1304                                                                                                                                                                                                                                                                      ZAREMHA YVONNE E TR                                                                                                                             P.C.                                Baron & Budd                                                                                         Condominium Association
                                                                                                                                                                                                     0.80               87.88              $0.00                                                                                     FOR YVONNE E ZAREMHA Previous Owner                       Title/Deed                            1/5/2004                   4/14/2015                                                3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                     TRUST                                                                                                                                                                               Dallas, TX 75219

  870   Omni XX   Tice, Jerri                 1971 Buttahatchee Drive Hamilton      AL      35570   [XX],           9/4/2015     Yes         3,432        Property Tax             Yes                                                                   Taihe                    Photo             17, 18               I                                                                                                                                                           Doyle Law Firm                      Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                    [XXVIII]                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                               2100 Southbridge Parkway, Suite
                                                                                                                                                       with Square Footage                           0.84               92.27           $316,670.64                                                                                  TICE RODNEY & JERRI          Current Owner                Tax Records + Title/Deed             1/19/2007                Current Owner                                               650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Birmingham, AL 35209

  871   Omni XX   Tiernan, John L. & Virginia 4326 Garden Blvd.        Cape Coral   FL      33909   [XX]            9/4/2015     Yes         1,472     Property Tax                Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                           Morgan & Morgan                     Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                  Lee                                                                                                                                  Assessor's Document                                                                                                                                                                                                                                                                                                                                               12800 University Drive, Suite 600                    om
                                                                                                                                                       with Square Footage                           0.80               87.88           $129,359.36                                                                                  TIERNAN VIRGINIA             Current Owner                Title/Deed                           2/10/2009                Current Owner                                               Fort Myers, FL 33907



  872   Omni XX   Tobias, Norma               2571 Newbern Avenue      Clearwater   FL      33761   [XX]            9/4/2015     Yes         1,740     Property Tax                Yes                                                                   Chinese Manufacturer 2   Photo             37                   C                                                                                                                                                           Morgan & Morgan                     Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                               12800 University Drive, Suite 600                    om
                                                                                                                                                       with Square Footage                           0.82               90.08           $156,739.20                                                                                  T S C C C LLC                Previous Owner               City or County Tax Records            9/6/2005                  12/17/2015                                                Fort Myers, FL 33907



  873   Omni XX   Torrejon, Juan              12256 SW 82nd St.        Miami        FL      33183   [XX]            9/4/2015     Yes         3,010            Other                Yes                                                                   Taishan                  Photo             2                    J                                                                                                                                                           Herman, Herman & Katz               Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                     JUAN TORREJON &W
                                                                                                                                                                                                     0.81               88.98           $267,829.80                                                                                                               Current Owner                City or County Tax Records           8/28/2006                Current Owner                                               New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                     GRACIELA VILLALOBOS


  874   Omni XX   Toughlian, Edward and       10530 Palm Cove          Tampa        FL      33647   [XX]            9/4/2015     Yes         3,914        Property Tax             Yes                                                                   C&K                      Photo             34                   B                                                                                                                                                           Allison Grant, P.A.                 Allison Grant, Esq.                 (561) 994-9646   agrant@allisongrantpa.com
                  DeMulder, Jeanne            Avenue                                                                                                   Assessor's Document                                                                                                                                                                                                                                                                                                                                               14 Southeast 4th Street
                                                                                                                                                                                                                                                                                                                                     TOUGHLIAN EDWARD
                                                                                                                                                       with Square Footage                           0.83               91.18           $356,878.52                                                                                                               Current Owner                City or County Tax Records           6/10/2008                Current Owner                                               Boca Raton, Florida 33432
                                                                                                                                                                                                                                                                                                                                     DEMULDER JEANNE


  875   Omni XX   Tran, Kha                   9811 Andover Drive       New Orleans LA       70127   [XX]            9/4/2015     Yes         1,889        Property Tax             Yes                                                                   Taihe                    Photo             17                   I                                                                                                                                                           Herman, Herman & Katz               Russ Herman, Esq.                   (504) 581-4892   rherman@hhklawfirm.com
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                               820 O'Keefe Avenue
                                                                                                                                                                                                                                                                                                                                     TILLETT SHERMAN M
                                                                                                                                                       with Square Footage                           0.86               94.47           $178,453.83                                                                                                               Previous Owner               City or County Tax Records           1/12/2010                  11/18/2016                                                New Orleans, LA 70113
                                                                                                                                                                                                                                                                                                                                     MISKELL JOHANNA K


  876   Omni XX   Treevis Investments, LLC    204 W. Judge Perez       Chalmette    LA      70043   [XX]            9/4/2015     Yes           0              N/A                  N/A                                                                   Taihe                    Photo             17                   I                                                                                                                                                           Willis & Buckley                    William Buckley, Esq.               (504) 488-6301   bill@willisbuckley.com                          See Scott McDougal on RP
                  (sold property)             Drive                                                                                                                                                                                                                                                                                                                                                                                                                                                                      3723 Canal Street
                                                                                                                                                                                                                                                                                                                                     ASAP BUILDING SUPPLIES,
                                                                                                                                                                                                     0.86               94.47              $0.00                                                                                                             Previous Owner                    City or County Tax Records           4/30/2012                   5/3/2012                                                 New Orleans, LA 70119
                                                                                                                                                                                                                                                                                                                                     LLC


  877   Omni XX   Tschantz, John & DeAnn      4736 Crayton Court       Naples       FL      34103   [XX]            9/4/2015     Yes         3,033     Property Tax                Yes                                                                   Taishan                  Photo             7                    J                                                                                                                                                           Morgan & Morgan                     Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                       Assessor's Document                                                                                                                                                                                                                                                                                                                                               12800 University Drive, Suite 600                    om
                                                                                                                                                       with Square Footage                           0.80               87.88           $266,540.04                                                                                  CRAYTON CT LLC               Previous Owner               City or County Tax Records            8/6/2004                   6/1/2016                                                 Fort Myers, FL 33907
                                                                                                                     Case 2:09-md-02047-EEF-MBN Document 20912-2 Filed 08/22/17 Page 28 of 28



Claimant Source   Claimant Name               Affected Property        City           State   Zip     Omni(s)    Date of Earliest PPF      Verified    Type of Verficiation    Counsel's       2017 RS Means                                            Product Brand(s)         Type of Indicia     Markings # from      Product                                                                                                                                                      Counsel                                Counsel Address                     Counsel Phone    Counsel Email                                   NOTES
                                                                                                                                                                                                                  2017 Cost Per SF   2017 Remediation                                                                                     Current Owner as of                                                                                             Sell Date if Applicable or                                                                                                                            Prior Settlement
Identifier                                    Address                                                             Filed Taishan (Yes/No)   Square     Provided Uploaded to    Declaration        Residential                                                                                         Taishan Product ID   Bucket(s)                                 Ownership Status of Named    Proof of Ownership Per Brown   Purchase Date Per Brown
                                                                                                                                                                                                                 [B = A x $109.85]       Damages                                                                                       May-August 2017 Per Brown                                                                                          Current Owner Per Brown                                                                                                                                 Payment(s)-
                                                                                                                      Omni                 Footage          Sharefile       Verifying Square   Location Factor                                                                                       Catalog                                                        Claimant Per Brown Greer                Greer                        Greer
                                                                                                                                                                                                                                         [SF x B]                                                                                                Greer                                                                                                              Greer                                                                                                                                      FORTHCOMING
                                                                                                                                                                                Footage             [A]
  878   Omni XX   Tucker, Phil                3011Clouet Street        New Orleans LA         70126   [XX]         9/4/2015     Yes         1,028         Property Tax            Yes                                                                   Taihe                    Photo               17                   I                                                                                                                                                            Gainsburgh Benjamin                    Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2800 Energy Centre
                                                                                                                                                      with Square Footage                           0.86               94.47            $97,115.16                                                                                    HOWARD HAMILTON A            Unable to Confirm Ownership   City or County Tax Records            Unknown                    Unknown                                                     1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70163

  879   Omni XX   Turkell-White, Barbara      1660 Renaissance         Boynton        FL      33426   [XX]         9/4/2015     Yes         1,240        Property Tax              Yes                                                                  Taishan                  Photo               12                   L                                                                                                                                                            Baron & Budd, P.C.                     Russell Budd, Esq.                  (214) 521-3605   rbudd@baronbudd.com
                                              Commons Blvd., Apt.      Beach                                                                          Assessor's Document                                                                                                                                                                                                                                                                                                                                                     Baron & Budd
                                                                                                                                                                                                                                                                                                                                      TURKELL WHITE BARBARA
                                              2207C                                                                                                   with Square Footage                           0.82               90.08           $111,699.20                                                                                                          Current Owner                        City or County Tax Records           3/12/2007                Current Owner                                                  3102 Oak Lawn Ave., Ste. 1100
                                                                                                                                                                                                                                                                                                                                      ANN & WHITE PAT W
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Dallas, TX 75219

  880   Omni XX   Varughese, Joseph and       16596 82nd Road N.       Loxahatchee    FL      33470   [XX]         9/4/2015     Yes         3,423     Property Tax                 Yes                                                                  IMT                      Inspection Report   N/A                  F                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                  MaryKutty                                                                                                                           Assessor's Document                                                                                                                                                                                                                                                                                                                                                     12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      LAMUR EMMANUEL
                                                                                                                                                      with Square Footage                           0.82               90.08           $308,343.84                                                                                                                 Previous Owner                City or County Tax Records           6/25/2004                   5/22/2015                                                   Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                      ANDREW


  881   Omni XX   Vazquez, Hernan             1690 Renaissance         Boynton        FL      33426   [XX]         9/4/2015     Yes           0               N/A                  N/A                                                                  Taishan                  Photo               2                    J                                                                                                                                                            Parker Waichman                        Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com                            See Carlos and Margarita Molina
                                              Commons Unit #1308       Beach                                                                                                                                                                                                                                                                                                                                                                                                                                                  27300 Riverview Center Blvd
                                                                                                                                                                                                    0.82               90.08              $0.00                                                                                       VAZQUEZ HERNAN P             Current Owner                 City or County Tax Records           7/20/2012                Current Owner                                                  Bonita Springs, FL 34134



  882   Omni XX   Velez, Humberto             604 Plumosa Avenue       Lehigh Acres FL        33972   [XX]         9/4/2015     Yes         2,973     Property Tax                 Yes                                                                  Taishan                  Photo               12                   L                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      CASTILLA BERTHA M +
                                                                                                                                                      with Square Footage                           0.80               87.88           $261,267.24                                                                                                                 Current Owner                 City or County Tax Records           12/28/2005               Current Owner                                                  Fort Myers, FL 33907
                                                                                                                                                                                                                                                                                                                                      VELEZ HUMBERTO T/C


  883   Omni XX   Vickers, Karin              2259 SE 19 Avenue        Homestead      FL      33035   [XX]         9/4/2015     Yes         3,898         Benchmark                Yes                                                                  Taishan                  Photo               12                   L                                                                                                                                                            Colson Hicks Eidson                    Patrick Montoya, Esq.               (305) 476-7400   patrick@colson.com
                                                                                                                                                       Inspection Report                                                                                                                                                                                                                                                                                                                                                      255 Alhambra Circle, PH
                                                                                                                                                                                                                                                                                                                                      TRIPLE 7 HOMESTEAD
                                                                                                                                                      Using Zillow.com for                          0.81               88.98           $346,844.04                                                                                                                 Previous Owner                City or County Tax Records           9/20/2006                   12/6/2013                                                   Coral Gables, FL 33134
                                                                                                                                                                                                                                                                                                                                      PROPERTY LLC
                                                                                                                                                        Square Footage

  884   Omni XX   Vlahakis, George P.         20067 Larino Loop        Estero         FL      33928   [XX]         9/4/2015     Yes         2,512        Property Tax              Yes                                                                  Taishan                  Photo               2                    J                                                                                                                                                            Thornhill Law Firm, Fayard &           Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                              Honeycutt APLC and N. Frank Elliot     Thornhill Law Firm
                                                                                                                                                      with Square Footage                           0.80               87.88           $220,754.56                                                                                    VLAHAKIS GEORGE P            Current Owner                 City or County Tax Records           1/17/2013                Current Owner           III, LLC                               1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Slidell, LA 70458

  885   Omni XX   Walker, James B.            11848 Arlington          Spanish Fort   AL      36527   [XX],        9/4/2015     Yes         2,264        Property Tax              Yes                                                                  Taihe                    Photo               17                   I                                                                                                                                                            Daniell, Upton & Perry, PC, Jonathon   Jonathan Law                        (251) 625-0046   JRL@dupm.com
                                              Boulevard                                               [XXVIII]                                        Assessor's Document                                                                                                                                                                                                                                                                                                              R. Law, Esq.,                          30421 State Highway 181
                                                                                                                                                      with Square Footage                           0.84               92.27           $208,899.28                                                                                    WALKER, JAMES B              Current Owner                 City or County Tax Records           11/15/2007               Current Owner                                                  Daphne, Alabama 36527



  886   Omni XX   Washington, Eva and         4636 Donna Drive         New Orleans LA         70127   [XX]         9/4/2015     Yes         1,540        Property Tax              Yes                                                                  Crescent City            Photo               27                   D                                                                                                                                                            The Lambert Firm                       Hugh Lambert, Esq.                  (504) 529-2931   hlambert@thelambertfirm.c
                  Edward                                                                                                                              Assessor's Document                                                                                                                                                                                                                                                                                                                                                     701 Magazine St,                                     om
                                                                                                                                                      with Square Footage                           0.86               94.47           $145,483.80                                                                                    WASHINGTON EVA G             Current Owner                 City or County Tax Records           12/15/1995               Current Owner                                                  New Orleans LA 70130



  887   Omni XX   Washington, Lacresha        5714 Cameron Blvd.       New Orleans LA         70122   [XX]         9/4/2015     Yes          888         Property Tax              Yes                                                                  Crescent City            Photo               27                   D                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                           0.86               94.47            $83,889.36                                                                                    WASHINGTON LACRESHA L Current Owner                        City or County Tax Records           10/29/2013               Current Owner                                                  650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Birmingham, AL 35209

  888   Omni XX   Wasson, Paul                1620 Chesapeake Dr.      Odessa         FL      33556   [XX]         9/4/2015     Yes         1,792        Property Tax              Yes                                                                  Taishan                  Photo               7                    J           DEUTSCHE BANK                                                                                                                                    Lucas Magazine                         Martin Macyszyn, Esq.               (727) 849-5353   martin@lgmlawgroup.com
                                                                                                                                                      Assessor's Document                                                                                                                                                             NATIONAL TRUST                                                                                                                                                                          Liberty Professional Building
                                                                                                                                                                                                                                                                                                                                      TRUST COMPANY
                                                                                                                                                      with Square Footage                           0.83               91.18           $163,394.56                                                                                                                 Previous Owner                City or County Tax Records           4/25/1997                   7/2/2015                                                    8606 Government Drive
                                                                                                                                                                                                                                                                                                                                      TRUSTEE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Port Richey, FL 34654
                                                                                                                                                                                                                                                                                                                                      C/O OCWEN LOAN
                                                                                                                                                                                                                                                                                                                                      SERVICING LLC
  889   Omni XX   Wease, Brandon              11110 Ancient Futures    Tampa          FL      33647   [XX]         9/4/2015     Yes         2,119        Property Tax              Yes                                                                  C&K                      Photo               34                   B                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                              Dr.                                                                                                     Assessor's Document                                                                                                                                                                                                                                                                                                              Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                                                                                                                                                                                                      COLLADO CARLOS
                                                                                                                                                      with Square Footage                           0.83               91.18           $193,210.42                                                                                                                 Previous Owner                City or County Tax Records           11/21/2007                  4/8/2013                                                    300
                                                                                                                                                                                                                                                                                                                                      COLLADO LINDA
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Coconut Grove, FL 33133

  890   Omni XX   Weinberg, Henry             8535 Club Estate Drive   Lake Worth     FL      33467   [XX]         9/4/2015     Yes         4,172        Property Tax              Yes                                                                  Taishan                  Photo               6                    J                                                                                                                                                            Parker Waichman                        Jerrold Parker, Esq.                (239) 390-1000   jerry@yourlawyer.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     27300 Riverview Center Blvd
                                                                                                                                                                                                                                                                                                                                      PHUNG KELLY
                                                                                                                                                      with Square Footage                           0.82               90.08           $375,813.76                                                                                                                 Previous Owner                City or County Tax Records           7/30/2007                   8/27/2014                                                   Bonita Springs, FL 34134
                                                                                                                                                                                                                                                                                                                                      VU NGOC D &


  891   Omni XX   Wells, Patricia             4701 Marque Drive        New Orleans LA         70127   [XX]         9/4/2015     Yes         1,892        Property Tax              Yes                                                                  Taihe                    Photo               17                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                           0.86               94.47           $178,737.24                                                                                    WELLS PATRICIA               Current Owner                 City or County Tax Records           10/6/2008                Current Owner                                                  650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Birmingham, AL 35209

  892   Omni XX   Werthman, Paul              1725 SW 17 Pl.           Cape Coral     FL      33991   [XX]         9/4/2015     Yes         2,034        Property Tax              Yes                                                                  Taishan                  Photo               7                    J                                                                                                                                                            Roberts & Durkee PA Milstein           C. David Durkee, Esq.               (305) 442-1700   durkee@rdlawnet.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                              Adelman LLP                            2665 South Bayshore Drive Suite
                                                                                                                                                      with Square Footage                           0.80               87.88           $178,747.92                                                                                    PILZ JOSEF                   Previous Owner                Title/Deed                            2/25/2009                  9/17/2013                                                   300
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Coconut Grove, FL 33133

  893   Omni XX   West, Teresa                1446 Beardens Farm       Woodstock      AL      35188   [XX],        9/4/2015     Yes         3,982        Property Tax              Yes                                                                  Taihe                    Photo               19                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                              Road                                                    [XXVIII]                                        Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                           0.84               92.27           $367,419.14                                                                                    WEST BOBBY W & TERRI L Current Owner                       City or County Tax Records           10/5/2000                Current Owner                                                  650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Birmingham, AL 35209

  894   Omni XX   Wheeler, Netsy and          4912 Chrysler Street     New Orleans LA         70127   [XX]         9/4/2015     Yes         1,452        Property Tax              Yes                                                                  Taihe                    Photo               15                   I                                                                                                                                                            Gainsburgh Benjamin                    Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Celestine, Relinda                                                                                                                  Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2800 Energy Centre
                                                                                                                                                                                                                                                                                                                                      WHEELER NETSY J
                                                                                                                                                      with Square Footage                           0.86               94.47           $137,170.44                                                                                                                 Current Owner                 City or County Tax Records            8/9/1978                Current Owner                                                  1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                      CELESTINE RELINDA C
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              New Orleans, LA 70163

  895   Omni XX   Williams, Debra Williams,   8600 Scottsdale Drive    New Orleans LA         70128   [XX]         9/4/2015     Yes         1,535        Property Tax              Yes                                                                  Taihe                    Photo               17                   I                                                                                                                                                            Gainsburgh Benjamin                    Gerald Meunier, Esq.                (504) 522-2304   gmeunier@gainsben.com
                  Lawrence M., Jr.                                                                                                                    Assessor's Document                                                                                                                                                             WILLIAMS DEBRA O                                                                                                                                                                        2800 Energy Centre
                                                                                                                                                      with Square Footage                           0.86               94.47           $145,011.45                                                                                    WILLIAMS LAWRENCE M          Current Owner                 City or County Tax Records           11/30/2006               Current Owner                                                  1100 Poydras Street
                                                                                                                                                                                                                                                                                                                                      JR                                                                                                                                                                                      New Orleans, LA 70163

  896   Omni XX   Williams, Marten            2428 Magnolia Street     New Orleans LA         70113   [XX]         9/4/2015     Yes         1,820        Property Tax              Yes                                                                  Crescent City            Photo               27                   D                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                                                                      Assessor's Document                                                                                                                                                                                                                                                                                                                                                     2100 Southbridge Parkway, Suite
                                                                                                                                                      with Square Footage                           0.86               94.47           $171,935.40                                                                                    WILLIAMS MARTEN              Current Owner                 City or County Tax Records           8/17/2010                Current Owner                                                  650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Birmingham, AL 35209

  897   Omni XX   Winkins, Richard E. &       1311 Lyonshire Drive     Wesley         FL      33543   [XX]         9/4/2015     Yes         1,191     Property Tax                 Yes                                                                  Chinese Manufacturer 2   Photo               37                   C                                                                                                                                                            Morgan & Morgan                        Pete Albanis, Esq.                  (239) 433-6880   PAlbanis@ForThePeople.c
                  Florence T.                                          Chapel                                                                         Assessor's Document                                                                                                                                                                                                                                                                                                                                                     12800 University Drive, Suite 600                    om
                                                                                                                                                                                                                                                                                                                                      JOHNSON AMANDA L
                                                                                                                                                      with Square Footage                           0.83               91.18           $108,595.38                                                                                                                 Previous Owner                City or County Tax Records            6/1/2004                   3/7/2014                                                    Fort Myers, FL 33907



  898   Omni XX   Wolfe, Lisa and Barry       62 County Road 3943      Arley          AL      35541   [XX],        9/4/2015     Yes         4,990     Builder's Floor Plan         Yes                                                                  Taihe                    Photo               20, 17, 13, 16       I                                                                                                                                                            Pittman, Dutton & Hellums              Booth Samuels, Esq.                 (205) 322-8880   BoothS@pittmandutton.co
                                                                                                      [XXVIII]                                                                                                                                                                                                                                                                                                                                                                                                                2001 Park Pl #1100                                   m
                                                                                                                                                                                                    0.84               92.27           $460,427.30                                                                                    TRAMMELL LISA K              Current Owner                 Tax Records + Title/Deed             7/13/1998                Current Owner                                                  Birmingham, AL 35203



  899   Omni XX   Woodruff, David             1745 East Main Street    Albertville    AL      35952   [XX],        9/4/2015     Yes         1,478      Appraisal Showing           Yes                                                                  Taihe                    Photo               21                   I                                                                                                                                                            Doyle Law Firm                         Jimmy Doyle, Esq.                   (205) 533-9500   jimmy@doylefirm.com
                                                                                                      [XXVIII]                                          Floor Plan and                                                                                                                                                                                                                                                                                                                                                        2100 Southbridge Parkway, Suite
                                                                                                                                                        Square Footage                              0.82               90.08           $133,138.24                                                                                    WOODRUFF, DAVID T            Current Owner                 City or County Tax Records            3/3/2011                Current Owner                                                  650
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Birmingham, AL 35209

  900   Omni XX   Wright Homes, LLC (Barry 4925 Elysian Fields         New Orleans LA         70122   [XX]         9/4/2015     Yes         2,310      Appraisal Showing           Yes                                                                  Crescent City            Photo               27                   D                                                                                                                                                            Thornhill Law Firm, Fayard &           Tom Thornhill, Esq.                 800-989-2707     tom@thornhilllawfirm.com
                  Wright)                                                                                                                               Floor Plan and                                                                                                                                                                                                                                                                                                                 Honeycutt APLC and N. Frank Elliot     Thornhill Law Firm
                                                                                                                                                        Square Footage                              0.86               94.47           $218,225.70                                                                                    SPARACINO MICHAEL J          Previous Owner                City or County Tax Records            1/7/2013                   8/9/2013             III, LLC                               1308 9th St
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Slidell, LA 70458

  901   Omni XX   Yorsch, Frederick           3404-3406 Shangri        Chalmette      LA      70043   [XX]         9/4/2015     Yes         2,037     Appraisal Showing      Yes                                                                        Crescent City            Photo               27                   D                                                                                                                                                            Lemmon Law Firm                        Andrew Lemmon, Esq.                 985-783-6789     andrew@lemmonlawfirm.c
                                                                                                                                                      Floor Plan and                                                                                                                                                                                                                                                                                                                                                          PO Box 904 (mailing address)                         om
                                                                                                                                                                                                                                                                                                                                      YORSCH DEVELOPMENT
                                                                                                                                                      Square Footage                                0.86               94.47           $192,435.39                                                                                                                 Previous Owner                City or County Tax Records           2/25/2011                   3/22/2011                                                   15058 River Road
                                                                                                                                                                                                                                                                                                                                      GROUP, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Hahnville, LA 70057
